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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEW JERSEY

                                                                  )
                                                                  )
   BRISTOL-MYERS SQUIBB COMPANY,                                  )
                                                                  )
                                         Plaintiff,               )
                                                                  )   Civil Action No. 3:10-cv-05810
                              v.                                  )   (MLC)(LHG)
                                                                  )
   APOTEX, INC., and                                              )
   APOTEX CORP.,                                                  )
                                                                  )
                                         Defendants.              )
                                                                  )


                            DECLARATION OF JERRY ATWOOD
             IN SUPPORT OF PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF

              I, Jerry L. Atwood, hereby declare the following:

              I have been asked by Bristol Myers-Squibb’s (“BMS”) counsel to prepare an expert

   declaration addressing the meaning of ten (10) terms in the asserted claims of BMS’s U.S. Patent

   No. 7,491,725 (“the ’725 patent”) (attached herein as Ex. A), which I understand are in dispute.

   In rendering my opinions, I have reviewed, inter alia, the ’725 patent and its prosecution history,

   Apotex’s proposed claim constructions, and the Summary of Proposed Testimony of Guatam

   Desiraju (Joint Claim Construction and Hearing Statement, Ex. F (Dkt. 51) (hereinafter

   “Desiraju Summary”)).

        I.    QUALIFICATIONS1

              1.       Since 1994 to the present, I have been employed as Professor and Chairman of the

   Department of Chemistry at the University of Missouri-Columbia. From 1968 to 1994, I was

   employed by the University of Alabama, where I successively held the titles of Assistant


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       Attached herein as Exhibit B is my curriculum vitae.

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   Professor, Associate Professor, and University Research Professor. I earned my Ph.D. degree in

   Chemistry from the University of Illinois in 1968.

          2.      From 1985 to 1998, I was Editor of the Journal of Chemical Crystallography. In

   1999, I was named Consulting Editor for the Journal of Chemical Crystallography. From 1992

   until 2000, I was Editor of Supramolecular Chemistry. From 1985 to 1993, I was Regional

   Editor for the Journal of Coordination Chemistry. I have been a Co-Editor-in-Chief of the New

   Journal of Chemistry since 2005. I am a Co-Editor of the Inclusion Compounds book series

   (five volumes), Comprehensive Supramolecular Chemistry (ten volumes), and the Encyclopedia

   of Supramolecular Chemistry (2 volumes). I currently serve on the editorial boards of Crystal

   Growth & Design, Chemical Communications, the Journal of Coordination Chemistry, the New

   Journal of Chemistry, and Supramolecular Chemistry.

          3.      I currently run an active research laboratory of four postdoctoral fellows, eight

   graduate students, and four undergraduate students. I have published more than 670 articles in

   refereed journals, most of which focus on the fields of crystal growth, crystal engineering,

   polymorphism, organic chemistry and polymer chemistry.

    II.   BACKGROUND INFORMATION

          4.      The following tutorial is provided as general scientific information to assist the

   Court. There may be exceptions or caveats to the scientific statements made here, but I provide

   the general concepts only to be concise.

          a.      Polymorphs

          5.      A compound is a substance made by joining together atoms of different chemical

   elements (such as carbon, oxygen or hydrogen for example) in a specific ratio and connectivity,

   resulting in a specific chemical structure. The different atoms are connected by chemical bonds.



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   A compound has properties that are different from those possessed by the elements that comprise

   it. The smallest fundamental unit of a compound that retains the compound’s properties is a

   molecule.

          6.      Some compounds can adopt crystalline forms. A crystal consists of repeating

   units made up of a regularly ordered arrangement of molecules or ions in three dimensional

   space. These units are referred to as unit cells. There are seven different unit cell shapes:

   triclinic, monoclinic, orthorhombic, tetragonal, hexagonal, trigonal and cubic.

          7.      An example of a crystalline compound is table salt, NaCl. Table salt is a

   compound comprised of sodium (Na+) ions and chloride (Cl-) ions. A regularly ordered

   arrangement of these ions in three dimensional space results in a cubic lattice.




   Sodium ions are shown as small spheres and chloride ions are shown as large spheres.

          8.      It is possible for a compound to crystallize into more than one distinct crystalline

   form. These distinct crystalline forms are referred to as polymorphs. Polymorphs of a particular

   compound have identical chemical structures, but the arrangement of the molecules of the

   compound in three dimensional space, i.e., the crystal structure, is different, resulting in different

   physical properties.

          9.      Examples of polymorphs are graphite and diamond. Both are made up of carbon

   atoms, but the arrangement of the atoms in three dimensional space is different, resulting in very

   different properties. Graphite is opaque and has a dull metallic sheen, while diamonds are



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   transparent and brilliant. Another difference is that graphite is one of the softest natural

   substances whereas diamond is the hardest.




       Graphite - a staggered arrangement of stacked Diamond - tetrahedrally bonded carbon atoms
       hexagonal layers


           10.     Some substances can trap solvent while undergoing crystallization in a definite

   ratio as an integral part of the crystal structure, resulting in a crystalline solvate. When the

   solvent is water, the polymorph is referred to as a hydrate. If a single water molecule is trapped

   for every single molecule of a substance, it is known as a monohydrate.

           11.     Once obtained, polymorphs can be characterized by a variety of different

   techniques. As discussed in more detail below, one of these techniques is X-ray powder

   diffraction (“XRPD”), which provides information about the spacing between the planes of

   atoms in a crystal lattice. Another one of these techniques is differential scanning calorimetry

   (“DSC”), which provides information about the thermal behavior of a substance, such as loss of

   solvent, phase transitions, and/or the melting point of a crystal. Another technique is

   thermogravimetric analysis (“TGA”), which provides information about the amount of solvent or

   water a crystalline solvate or hydrate contains, respectively.

           12.     Different polymorphs of a given molecule can display significantly different

   properties, such as different stabilities, different dissolution profiles, and different bioavailability.

   These different properties can be of great significance in the pharmaceutical industry. For


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   example, these differences can affect the manufacturability, performance, and quality of the drug

   product.

          13.     An understanding of the different polymorphs of a particular pharmaceutical is

   important because information about how the polymorphs interconvert, and about their

   advantages over each other, may affect the properties of the final drug product. Thus, for a

   manufacturer to be able to control its drug manufacturing methods and have confidence in the

   end product of those methods, the manufacturer must have an understanding of whether

   polymorphs exist and the characteristics of the polymorphs if they do exist.

          b.      X-ray Powder Diffraction

          14.     A crystalline solid is one in which the molecules or atoms are uniformly arranged.

   This arrangement of molecules is called a “crystal lattice.” This uniform arrangement gives rise

   to a unit cell, which is the simplest repeating three-dimensional portion of the crystal structure.

   The crystal lattice is therefore built up by stacking the unit cell in three dimensions. The size,

   shape, and contents of each unit cell within a crystal are identical. For example, diamond is a

   crystalline form of carbon and consists of an ordered arrangement of carbon atoms.

          15.     X-ray powder diffraction data can be used to distinguish different polymorphs of

   a crystalline compound. X-ray powder diffraction is a method of characterizing solid substances

   in which a sample is bombarded with X-rays and the diffraction of the X-rays is recorded by a

   detector. A crystalline compound diffracts X-rays according to the arrangement of molecules in

   the crystal structure. Because crystalline solids are built in an ordered way, the same motifs

   repeat throughout the crystal in the three dimensions, which creates the lattice. These lattices

   exhibit “planes” in 3-D space. Different planes can occur in a particular crystal structure.




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          16.     An X-ray powder diffraction pattern plots the intensity of an X-ray beam

   diffracted by the crystal lattice versus the angle of diffraction of the X-rays, usually represented

   with a measurement value of 2θ. Below is an example of an X-ray diffraction pattern where the

   X-axis plots the 2θ values and the Y-axis plots the intensity of the diffracted X-ray beam.




          17.     When preparing a sample for X-ray powder diffraction, the material of interest is

   generally ground into a fine crystalline powder. When X-rays of a particular wavelength are

   directed at the powder, an observable pattern is produced. This is because the X-rays are

   electromagnetic waves that interact with the planes of the lattice in a distinct manner. For

   purposes of illustration, the three-dimensional planes can be represented in two-dimensional

   space, wherein the lines represent planes. The wavelength of the X-rays that are used in such an

   experiment is of a length that is similar to the distance between the planes within the crystal,

   represented by the letter “d.” The X-ray beam reflects off the crystallographic plane, and the

   angle of reflection is the same as the angle of incidence.



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   A lattice plane is a plane which intersects atoms of a unit cell across the whole three‐dimensional lattice.
   The perpendicular separation between each plane is called the d‐spacing.


           18.     The result of an XRPD experiment is a pattern that can be used to identify a

   particular crystal structure or polymorph. This is possible because all possible lattice planes for

   the diffraction of X-rays are present in the powder sample of the crystalline powder sample. For

   every d-spacing between lattice planes, a device, called a diffractometer, plots the intensity of the

   diffracted X-rays versus the angle of incidence, usually represented as 2θ. The intensity of the

   diffracted X-rays relates to the arrangement of the molecules in the lattice, and is often provided

   as relative intensity, in which the various peaks are divided by the intensity of the maximum

   peak. Because different polymorphs have different lattice structures, and therefore different

   lattice “planes,” different polymorphs have a different set of 2θ values compared to related

   polymorphs. This is what allows the X-ray diffraction pattern to act as an identifier for a given

   crystal form of a particular compound. It is possible for different crystals or polymorphs to have

   one or more peaks in common, because they might have different planes that have a similar d-

   spacing. However, it does not mean that the polymorphs share these particular planes.

   Therefore, the selection of multiple peaks from an XRPD pattern can be used to identify and



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   distinguish the crystalline form of a compound from other crystalline forms of the same

   compound (polymorphs).

          19.     The method by which the XRPD analysis is performed can create some variations

   in the results. For example, the number of detected peaks and their intensities depend on the size

   of the sample, the scanning speed used in the diffractometer, the degree to which the sample was

   ground, and the crystallinity of the sample. Differences can also arise due to the type of

   equipment used to make the measurement, the care taken in making the measurement, and the

   number of samples measured. Because of these variations, substances are normally

   characterized by a number of the major or more intense peaks. However, the intensity of the

   peaks can vary among samples, so the intensities are not particularly informative in identifying a

   sample. (See I. Ivanisevic, R.B. McClurg, and P.J. Schields, Uses of X-Ray Powder Diffraction

   In the Pharmaceutical Industry, in Pharmaceutical Sciences Encyclopedia: Drug Discovery,

   Development, and Manufacturing 1, 6 (S.C. Gad ed., 2010) (“When comparing XRPD data of

   crystalline samples, one notes any differences in peak positions . . . which correspond to

   structural differences between the samples. Intensities are generally not relied upon for

   qualitative analysis due to previously mentioned instrument and sample artifacts. . . .”) (attached

   herein as Ex. C); A.R. West, Basic Solid State Chemistry 142-43 (2nd ed. 1999) (“Intensities are

   more difficult to measure quantitatively and often vary from sample to sample especially if

   preferred orientation is present.”) (attached herein as Ex. D).)

          20.     In addition, the relative peak intensities can vary depending on the orientation of

   the sample. Severe preferential crystalline particle orientation can be induced by the particle

   size, leading to skewed X-ray powder diffraction data with regard to the intensities of the peaks.

   Preferred orientation is especially a problem with polymorphs that have needle-like or plate-like



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   crystals. (See Ex. D, West, at 139.) Even if the preferred orientation of the sample is accounted

   for, the relative intensities can vary. For example, as described in The United States

   Pharmacopoeia 1844 (23rd Rev. 1995) (attached herein as Ex. E), the “relative intensities

   between sample and reference may vary up to 20 percent.” Moreover, this potential variance is

   on a peak-by-peak basis.

          21.     Although XRPD can provide a lot of information about the structure of a

   polymorph, another technique, single crystal X-ray diffraction, is the only technique that can

   provide the space group or symmetry of the crystal, together with the position of all the atoms in

   the unit cell. Single crystal X-ray diffraction is a technique where a beam of X-rays strikes a

   single crystal as the crystal is gradually rotated, producing diffracted beams. The experimental

   procedure and data collection are very similar to that of XRPD.

          c.      Differential Scanning Calorimetry

          22.     DSC is a method that uses heat to measure the physical properties of a crystal

   polymorph. This can either be used to measure the melting point of a crystalline solid, to

   measure phase changes, which occur at the temperature at which one polymorphic form converts

   into another form, or to measure the desolvation or the removal of any solvent present in the

   crystalline solid. In a DSC experiment, a test sample and a reference sample are placed on two

   separate trays in a calorimeter, and heat flow to or from each of the samples is measured as the

   temperature of the samples is increased. For example, the melting of a crystalline sample

   requires an input of energy at the melting point. This is seen as an endothermic peak in the plot

   of heat flow versus temperature.

          23.     The melting point of a crystal requires the input of energy, but a phase change,

   such as the conversion between two polymorphic structures, can either take up or give off



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   energy, or both. Dehydration of a crystalline hydrate requires the input of energy, giving rise to

   an endothermic peak

          24.     Certain factors can affect DSC peaks. For example, impurities or excipients can

   affect DSC peaks. (See, e.g., B.S. Furniss et al., Vogel’s Textbook of Practical Organic

   Chemistry 236 (5th ed. 1989) (“The presence of small quantities of miscible, or partially

   miscible, impurities will usually produce a marked increase in the melting point range and cause

   the commencement of melting to occur at a temperature lower than the melting point of the pure

   substance. The melting point is therefore a valuable criterion of purity for an organic

   compound.”) (attached herein as Ex. F); see also The United States Pharmacopeia, Thermal

   Analysis, 2394 (27th Rev. 2004) (attached herein as Ex. G).) Likewise, particle size may also

   affect DSC peaks. (See, e.g., V. Ventkateswarlu & K. Manjunath, Preparation, characterization

   and in vitro release kinetics of clozapine solid lipid nanoparticles, 627 J. CONTROLLED RELEASE

   634 (2004) (attached herein as Ex. H).)

          d.      Thermogravimetric Analysis (TGA)

          25.     TGA is a technique particularly suited for the measurement of the amount of

   solvent a solvate contains and/or the amount of water a hydrate contains. In the TGA

   experiment, the weight of a sample is monitored as the temperature of the sample is increased

   under a flow of nitrogen. The plot of weight of the sample versus temperature provides the

   percentage of water in a hydrate, and may provide an assessment of whether the water is surface-

   bound or more strongly held water of crystallization. See The United States Pharmacopeia,

   Thermal Analysis, 2394, 2395 (27th Rev. 2004) (attached herein as Ex. G).)

          26.     Based on the weight loss obtained from the TGA and the corresponding transition

   temperature range of the DSC, the stoichiometry, i.e., theoretical ratio, of bound water or solvent



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   to the “dry” form can be determined. Given the many experimental variables, the actual weight

   loss determined by TGA will rarely result in the exact stoichiometry.

   III.        CLAIM CONSTRUCTION ANALYSIS

               27.     The ’725 patent relates to crystalline forms of dasatinib. The art disclosed in this

   patent relates to solid-state chemistry and the design of a solid or crystalline form of an active

   pharmaceutical ingredient that is stable yet readily bioavailable. The person of ordinary skill in

   the art would be a medicinal or synthetic chemist with an advanced degree in solid-state

   chemistry with considerable study in pharmacology and crystal engineering. The person of

   ordinary skill would either work with a person with an advanced degree in molecular biology

   with education or experience in the field of cellular signal transduction or would have such

   training himself.

          A.         “Crystalline monohydrate of the compound of formula (IV)


                                                ”

               28.     This phrase appears in claims 1, 3 and 12 of the ‘725 patent.

               29.     Claim 1 of the ‘725 patent recites:

                       “Crystalline    monohydrate       of    the    compound         of   formula    (IV)



                                                              (IV)
                       which is characterized by an x-ray powder diffraction pattern substantially in
                       accordance with that shown in FIG. 1.”

               30.     Claim 3 of the ’725 patents recites:

                       “Crystalline monohydrate of the compound of formula (IV)




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                                                              (IV)

                  which is characterized by an x-ray powder diffraction pattern (CuΚα γ =1.5418 Å
                  at a temperature of about 23° C.) comprising four or more 2θ values selected from
                  the group consisting of: 18.0±0.2, 18.4±0.2, 19.2±0.2, 19.6±0.2, 21.2±0.2,
                  24.5±0.2, 25.9±0.2, and 28.0±0.2.”

            31.   Claim 12 of the ’725 patent recites:

                  “Crystalline monohydrate of the compound of formula (IV)




                                                             (IV)

                  which is characterized by a differential scanning calorimetry having a broad peak
                  between approximately 95° C and 130° C, which corresponds to the loss of one
                  water of hydration on thermogravitmetric analysis.”

            32.   One of ordinary skill in the art would understand the term “[c]rystalline

   monohydrate of the compound of formula (IV)




                                                           (IV)”

   to have its ordinary meaning, i.e., the monohydrate of the compound of formula (IV) in a

   crystalline form. (See The American Heritage Dictionary for the English Language 1137 (4th Ed.

   2000) (defining “monohydrate” as “[a] compound, such as calcium chloride monohydrate,

   CaCl2.H2O, that contains one molecule of water”) (attached herein as Ex. I) (BMS01380886-

   888).)




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       B.          “which is characterized by an X-ray powder diffraction pattern substantially
                     in accordance with that shown in FIG. 1”

             33.     This phrase appears in claim 1. (See supra ¶ 28)

             34.     One of ordinary skill in the art would understand the term “which is characterized

   by an x-ray powder diffraction pattern substantially in accordance with that shown in FIG. 1” to

   mean that which is characterized by an x-ray powder diffraction (“XRPD”) pattern that is

   substantially identical to that shown in FIG. 1 taking into account variations due to measurement

   errors dependent upon the measurement conditions employed, but not taking into account the

   exact order of intensity of the peaks. Further, the ability to ascertain substantial identities of X-

   ray diffraction patterns is within the purview of one of ordinary skill in the art.

             35.     This construction is supported by, inter alia, the following statements in the ’725

   patent:

                     One of ordinary skill in the art will appreciate that an X-ray
                     diffraction pattern may be obtained with a measurement error
                     that is dependent upon the measurement conditions employed. In
                     particular, it is generally known that intensities in a X-ray
                     diffraction pattern may fluctuate depending upon measurement
                     conditions employed. It should be further understood that relative
                     intensities may also vary depending upon experimental
                     conditions and, accordingly, the exact order of intensity should
                     not be taken into account. Additionally, a measurement error of
                     diffraction angle for a conventional X-ray diffraction pattern is
                     typically about 5% or less, and such degree of measurement error
                     should be taken into account as pertaining to the aforementioned
                     diffraction angles. Consequently, it is to be understood that the
                     crystal forms of the instant invention are not limited to the crystal
                     forms that provide X-ray diffraction patterns completely identical
                     to the X-ray diffraction patterns depicted in the accompanying
                     Figures disclosed herein. Any crystal forms that provide X-ray
                     diffraction patterns substantially identical to those disclosed in
                     the accompanying Figures fall within the scope of the present
                     invention. The ability to ascertain substantial identities of X-ray
                     diffraction patterns is within the purview of one of ordinary skill
                     in the art. (Ex. A, ’725 patent, col. 41, l. 58 - col. 42, l. 13.)
                     (Emphasis added).


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               36.     Thus, the ’725 patent specifically states that the exact order of intensity of the

   peaks should not be taken into account in determining whether an XRPD pattern is substantially

   in accordance with that shown in FIG. 1. (Ex. A, ’725 patent, col. 41, l. 58 - col. 42, l. 13.)

   Further, a person of ordinary skill in the art knows that the peak intensities from an XRPD

   pattern are variable because they are dependent on the characteristics of a given sample and

   experimental conditions; thus no two XRPD patterns will have the same peak intensities. (See

   supra, ¶¶ 18, 19.)

          C.         “which is characterized by differential scanning calorimetry thermogram
                       and a thermogravimetric analysis substantially in accordance with that
                       shown in FIG. 2”

               37.     This phrase appears in claim 2 of the ’725 patents which recites:

                       “The compound of claim 1, which is characterized by a differential
                       scanning calorimetry thermogram and a thermogravimetric
                       analysis substantially in accordance with that shown in FIG. 2.”

               38.     One of ordinary skill in the art would understand the term “which is characterized

   by a differential scanning calorimetry thermogram and a thermogravimetric analysis

   substantially in accordance with that shown in FIG. 2.” to mean that which is characterized by

   differential scanning calorimetry thermogram and thermogravimetric analysis patterns that are

   substantially identical to those shown in FIG. 2, having one peak at approximately 287° C and

   one broad peak between approximately 95° C and approximately 130° C. Further, the ability to

   ascertain substantial identities of the patterns is within the purview of one of ordinary skill in the

   art.

               39.     This construction is supported by the specification:

                       The monohydrate of the compound of formula (IV) is represented
                       by the DSC as shown in FIG. 2. The DSC is characterized by a
                       broad peak between approximately 95° C and 130° C. This peak is
                       broad and variable and corresponds to the loss of one water of
                       hydration as seen in the TGA graph. The DSC also has a
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                    characteristic peak at approximately 287° C. which corresponds to
                    the melt of the dehydrated form of the compound of formula IV.
                    (Ex. A, ’725 patent, col. 45, ll. 15-22.)

           40.      When peak values are measured, the apex of the peak is what is reported as the

   peak value. The broad peak between approximately 95° C and approximately 130° C represents

   the loss of one water of hydration. The peak at approximately 287° C is associated with the

   melting point of the dehydrated (i.e., loss of water) form of the compound of formula (IV). A

   person of ordinary skill in the art would understand to take into account variations due to

   measurement errors dependent upon the measurement conditions employed when reading the

   DSC and TGA patterns.

           41.      Apotex’s expert, Dr. Desiraju2 claims that the “differential scanning calorimetry

   experiment is not described in sufficient detail because variations such as the instrument or

   sample configuration (e.g., open or closed pans) or how many times the sample has been tested

   (e.g., first or second run) can alter the nature of the transitions observed, the positions at which

   transitions are observed, and the sharpness of said transitions, rendering the claim term

   indefinite.” (See Desiraju Summary, at ¶ 3”). I disagree. The ’725 patent discloses in detail the

   experimental conditions that were used to conduct the DSC analysis, e.g., the experiment was

   performed in an open aluminum DSC pan, rate of heating was 10°C per minute in the

   temperature range between 25° and 350 C. (See Ex. A, ’725 patent, col. 43, ll. 1-22.) Further,

   DSC is typically treated as a destructive technique, so a second run is often not possible since the

   sample is destroyed in the “first” run.

           42.      Desiraju also claims that “‘peak’ is not a term of art appropriate for use in

   reference to differential scanning calorimetry data given that the sample transitions observed by

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     Since I have seen only a summary of the proposed testimony from Dr. Gautam Desiraju, I am addressing only
   certain arguments raised therein to the extent they are understandable. I reserve the right to address all of the
   arguments raised by Dr. Desiraju in any declaration he will submit to the Court.

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   this technique have events, which correlate with changes in the sample.” (See Desiraju

   Summary, at ¶ 4.) This is incorrect. The term “peaks” is used throughout the art to refer to the

   enthalpic change resulting from a thermal event. (See, e.g., H.G. Brittain, Methods for the

   Characterization of Polymorphs and Solvates in Polymorphism in Pharmaceutical Solids, ed.

   Harry G. Brittain, 227, 252-53 (1999) (“The area under a DSC peak. . . . “) (attached herein as

   Ex. J); Y. Kim and R.W. Rousseau, Characterization and Solid-State Transformations of the

   Pseudopolymorphic Forms of Sodium Naproxen, CRYSTAL GROWTH & DESIGN, 4, 1211, 1213-14

   (2004) (“peaks,” “DSC peak”) (attached herein as Ex. K); Z. Dominguez et al., Molecular

   Compasses and Gyroscopes with Polar Rotors: Synthesis and Characterization of Crystalline

   Forms, J. AM. CHEM. SOC., 125, 8827, 8835 (2003) (“the DSC thermograms . . . showed a broad

   endothermic peak”) (attached herein as Ex. L); The United States Pharmacopeia, Thermal

   Analysis, 2394, 2395 (27th Rev. 2004) (“DSC Melting Peak Shape”) (attached herein as Ex. G).)



       D.         “which is characterized by an x-ray powder diffraction pattern (CuΚα γ
                  =1.5418 Å at a temperature of about 23° C.) comprising four or more 2θ values
                  selected from the group consisting of: 18.0±0.2, 18.4±0.2, 19.2±0.2, 19.6±0.2,
                  21.2±0.2, 24.5±0.2, 25.9±0.2, and 28.0±0.2.”

            43.     This phrase appears in claim 3. (See supra ¶ 29)

            44.     One of ordinary skill in the art would understand the claim term “which is

   characterized by an x-ray powder diffraction pattern (CuΚα γ =1.5418 Å at a temperature of

   about 23° C.) comprising four or more 2θ values selected from the group consisting of: 18.0±0.2,

   18.4±0.2, 19.2±0.2, 19.6±0.2, 21.2±0.2, 24.5±0.2, 25.9±0.2, and 28.0±0.2.” to mean that which

   is characterized by an x-ray powder diffraction pattern taken with CuΚα λ =1.5418 Å at a

   temperature of about 23° C, having at least four 2θ values, selected from the group consisting of:

   18.0±0.2, 18.4±0.2, 19.2±0.2, 19.6±0.2, 21.2±0.2, 24.5±0.2, 25.9±0.2, and 28.0±0.2. One having


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   ordinary skill in the art would understand that “CuΚα γ” is “CuΚα λ.” This is supported by the

   specification. (See, e.g., Ex. A, ’725 patent, col. 25, ll. 14-21.) Further, a certificate correction

   was filed on May 11, 2010 correcting the typographical error. (Attached herein as Ex. M)

   (BMS01364004-05).

       E.         “characterized by unit cell parameters approximately equal to the following:
                    Cell dimensions: a(Å)=13.8632(7); b(Å)=9.3307(3); c(Å)=38.390(2);
                    Volume=4965.9(4) Å3
                    Space group Pbca
                    Molecules/unit cell 8
                    Density (calculated) (g/cm3) 1.354”

            45.     This phrase appears in claim 5 of the ’725 patent which recites:

                    “The compound of claim 3, characterized by unit cell parameters
                    approximately equal to the following:

                    Cell dimensions:
                    a(Å)=13.8632(7);
                    b(Å)=9.3307(3);
                    c(Å)=38.390(2);
                    Volume=4965.9(4) Å3
                    Space group Pbca
                    Molecules/unit cell 8
                    Density (calculated) (g/cm3) 1.354.”

            46.     The above phrase is well-understood by those of ordinary skill in the art. The

   concept of characterizing compounds by unit cell parameters is well understood by one of

   ordinary skill. (See supra ¶¶ 13, 20.)

       F.         “The compound of claim 1” or “The compound of claim 3” or “A process for
                    preparing the compound of claim 3” or “The compound of claim 9” or “The
                    compound of claim 12”

            47.     The phrase “[t]he compound of claim 1,” “[t]he compound of claim 3,” or “[a]

   process for preparing the compound of claim 3,” “[t]he compound of claim 9,” or “[t]he

   compound of claim 12” appears in claim 2, 4, 5, 6, 8, 9, 10, 11, 13, 14, 15 and 16 of the ’725

   patent. As detailed in paragraphs 47-50 below, one of ordinary skill in the art would understand


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   that the “compound” in these phrases refers to the crystalline monohydrate of the compound of

   formula (IV).

           48.     The specification makes clear that the compound being “characterized” in claims

   2, 5, 9, 10, and 11 refers to the crystalline monohydrate of the compound of formula (IV). (See,

   e.g., Ex. A, ’725 patent, col. 4, ll. 62-67; col. 25, ll. 5-40; col. 44, ll. 53-60; col. 45, ll. 15-28.)

   For example, the ’725 patent states:

                   “[T]he monohydrate form of the compound of Formula (IV) is
                   characterized by an x-ray powder diffraction pattern substantially
                   in accordance with that shown in Fig. 1.” (Ex. A, ’725 patent, col.
                   25, ll. 6-9.)

                   “[T]he monohydrate form of the compound of Formula (IV) is
                   characterized by differential calorimetry thermogram and a
                   thermogravimetric analysis substantially in accordance with that
                   shown in Fig. 2.” (Ex. A, ’725 patent, col. 25, ll. 10-13.)

                   “[T]he monohydrate form of the compound of Formula (IV) is
                   characterized by unit cell parameters approximately equal to the
                   following:” (Ex. A, ’725 patent, col. 25, ll. 28-31.)

                   “The monohydrate of the compound of formula (IV) is represented
                   by the DSC shown in Fig. 2.” (Ex. A, ’725 patent, col. 45, ll. 15-
                   16.)

                   “The TGA for the monohydrate of the compound of Formula (IV)
                   is shown in Fig. 2 along with the DSC.” (Ex. A, ’725 patent, col.
                   45, ll. 23-25.)

           49.     The specification also states that the compound in the pharmaceutical composition

   of claims 4 and 13-14 is a crystalline monohydrate of the compound of formula (IV). For

   example, the specification states that “the present invention describes a pharmaceutical

   composition comprising a therapeutically effective amount of at least one of the crystalline forms

   of the compound of Formula (IV) . . . .” (Ex. A, ’725 patent, col. 26, ll. 31-35.) The crystalline




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   monohydrate of the compound of formula (IV) is one of the crystalline forms of the invention.

   (Ex. A, ’725 patent, col. 24, ll. 57-66.)

             50.     The specification discloses that the compound being prepared in the process of

   claim 6 is the crystalline monohydrate of the compound of formula (IV). For example, the

   specification states “[a]n example of the crystallization procedure to obtain the crystalline

   monohydrate form is shown here.” (Ex. A, ’725 patent, col. 43, ll. 39-40.)

             51.     Finally the specification makes clear that the substantially pure compound of

   claims 8, 15, and 16 refers to the crystalline monohydrate of the compound of formula (IV). For

   example the specification states:

                     “[T]he monohydrate form is in substantially pure form.” (Ex. A,
                     ’725 patent, col. 25, ll. 1-2.)

                     “[T]he monohydrate form is in substantially pure form, wherein
                     substantially pure is greater than 90 percent pure.” (Ex. A, ’725
                     patent, col. 25, ll. 3-5.)

        G.         “being further characterized by a differential scanning calorimetry having a
                     broad peak between approximately 95° C and 130° C”

             52.     This phrase appears in claim 9 of the ’725 patent which recites:

                     “The compound of claim 3 being further characterized by a
                     differential scanning calorimetry having a broad peak between
                     approximately 95° C and 13° C, which corresponds to the loss of
                     one water of hydration on thermogravitmetric analysis.”

             53.     One of ordinary skill in the art would understand the term “being further

   characterized by a differential scanning calorimetry having a broad peak between approximately

   95° C and 13° C” as meaning being further characterized by a differential scanning calorimetry

   having a broad peak between about 95° C and about 130° C. (Ex. A, ’725 patent, col. 45, ll. 16-

   19). A person of ordinary skill in the art would understand that “13° C” was a typographical

   error and should be “130° C.” This is supported by the specification. (Ex. A, ’725 patent, col.


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   45, ll. 16-19.) In addition, a Certificate of Correction was filed on May 11, 2010 correcting this

   error. (See Ex. M.) This peak can be variable but corresponds to the loss of one water of

   hydration on thermogravimetric analysis. Respecting the broad peak between approximately 95°

   C and 130° C, the specification states that “[t]his peak is broad and variable and corresponds to

   the loss of one water of hydration as seen in the TGA graph.” (Ex. A, ’725 patent, col. 45, ll. 16-

   19.)

          54.     Desiraju states that the term “broad peak” is “indefinite as the breadth of a peak is

   not specified to an extent that it must clearly be interpreted as an instrumental response to a

   characteristic of the sample allegedly being claimed.” (See Desiraju Summary, at ¶ 5.) I

   disagree. The specification states that the broad peak “corresponds to the loss of one water of

   hydration as seen in the TGA graph.” (Ex. A, ’725 patent, col. 45, ll. 18-19.) Thus, the breadth

   of the peak is defined. Further, within a given DSC thermogram of a specific material, “broad”

   is a comparative descriptor for a peak associated with the loss of a solvent or water, just as

   “sharp” is a comparative descriptor for the peak associated with the melting point. (See, e.g.,

   B.S. Furniss et al., Vogel’s Textbook of Practical Organic Chemistry 236 (5th ed. 1989) (“A

   pure crystalline organic compound has, in general, a definite and sharp melting point.”). “Broad

   peak” is commonly used in the art to describe the change in enthalpy associated with the loss of

   solvent or water. (See, e.g., Ex. K, Kim et al., at 1215 (“broader DSC and TGA traces”); Ex. L,

   Dominguez et al., at 8835 (“broad endothermic peak”).) Similarly, Desiraju’s objection to the

   term “approximately” is unfounded. Interpretation of experimental data has to take into account

   variations due to measurement errors dependent upon the measurement conditions employed,

   and one of ordinary skill in the art would be able to do so. The use of “approximately” allows

   such variations.



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       H.         “which corresponds to the loss of one water of hydration on
                    thermogravitmetric analysis”

            55.     This phrase appears in claims 9 and 12 of the ‘725 patent. (See supra 30, 51)

            56.     One of ordinary skill in the art would understand that the term “corresponds to the

   loss of one water of hydration on thermogravitmetric analysis” to mean that the broad peak

   between approximately 95° C and 130° C corresponds to the weight loss attributable to one

   water of hydration on thermogravimetric analysis. In the ’725 patent, the sample undergoing

   analysis is a monohydrate and the broad peak is associated with the loss of one molecule of

   water. The literature has numerous examples of broad peaks corresponding to loss of water or

   other solvents. (See, e.g., Ex. K, Kim et al., at 1213 (“The dihydrate has one peak for melting

   and two peaks corresponding to removal of two different types of water from the unit cell. . . .

   The monohydrate of sodium naproxen exhibits two peaks, one for melting and the other

   associated with the endotherm for dehydration [loss of water]); Ex. L, Dominguez et al., at 8835

   (“the DSC thermograms . . . showed a broad endothermic peak between 60 and 140° C. That

   such a transition corresponds to the loss benzene [a solvent]. . . was confirmed by

   thermogravimetric analysis (TGA).”)).

            57.     Desiraju argues that the term “which corresponds to the loss of one water of

   hydration on thermogravimetric analysis” “does not make sense because a compound may not

   lose mass equivalent to one water and remain the same compound.” (See Desiraju Summary, at

   ¶ 7.) This interpretation is flawed. As discussed above, the “compound of claim 3” recited in

   claim 9 refers to the crystalline monohydrate of the compound of formula (IV). Claim 9 and the

   specification state that this compound is “characterized” by a differential scanning calorimetry

   having a broad peak between approximately 95° C and 130° C which corresponds to the loss of

   one water of hydration on thermogravimetric analysis. (See, e.g., Ex. A, ’725 patent, col. 45, ll.


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   15-20, Fig. 2.) Thus, any one skilled in the art would understand the compound being

   characterized is the monohydrate of the compound of formula (IV) and not the compound that

   remains after the loss of one water of hydration. The literature has numerous examples of

   characterizing solvated or hydrated compounds in such a manner. (See, e.g., Ex. K, Kim et al., at

   1213; Ex. L, Dominguez et al., at 8835.)

        I.         “which is further characterized by a weight loss of 3.48% by
                     thermogravimetric analysis between 50° C and 175° C”

             58.     This phrase appears in claim 10 of the ’725 patent which recites:

                     “The compound of claim 9, which is further characterized by a
                     weight loss of 3.48% by thermogravimetric analysis between 50°
                     C and 175° C.”

             59.     One of ordinary skill in the art would understand that the term “further

   characterized by a weight loss of 3.48% by thermogravimetric analysis between 50° C and 175°

   C” to mean being further characterized by a weight loss of 3.48% by thermogravimetric analysis

   between 50° C and 175° C, taking into account variations due to measurement errors dependent

   upon the measurement conditions employed.

        J.         “wherein the differential scanning calorimetry further has a peak at
                     approximately 287° C”

             60.     This phrase appears in claim 11 of the ’725 patent which recites:

                     “The compound of claim 9, wherein the differential scanning
                     calorimetry further has a peak at approximately 287°C.”

             61.     One of ordinary skill in the art would understand that the term “wherein the

   differential scanning calorimetry further has a peak at approximately 287°C” means being

   characterized by differential scanning calorimetry with a peak located at about 287°C, which

   corresponds to the melt of the dehydrated form of the compound of formula (IV). (Ex. A, ’725

   patent, col. 45, ll. 21-23.)


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                             EXHIBIT B
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                                            CURRICULUM VITAE

                                                Jerry L. Atwood

     Personal

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              B.S., Southwest Missouri State, Chemistry and Mathematics, 1964
              Ph.D., University of Illinois, 1968
     Professional Experience
              Assistant Professor, University of Alabama, 1968-1972
              Associate Professor, University of Alabama, 1972-1978
              Professor, University of Alabama, 1978-1987
              Visiting Professor, Imperial College, 1977
              Visiting Professor, University of Sussex, 1985
              University Research Professor, University of Alabama, 1987 - 1994
              Professor and Chairman, University of Missouri-Columbia, 1994-
              Curators' Professor, University of Missouri-Columbia, 1999-
     Professional Activities
              Co-Editor-in-Chief, New Journal of Chemistry (2005-)
              Editor, Journal of Supramolecular Chemistry (2000-2004)
              Editor, Supramolecular Chemistry (1992-2000)
              Associate Editor, Chemical Communications (1996-2006)
              Consulting Editor, Journal of Chemical Crystallography (1999-)
              Editor, Journal of Chemical Crystallography (1985-1998)
              Regional Editor, Journal of Coordination Chemistry, A & B (1985-1993)
              Editor, Journal of Inclusion Phenomena (1983-1991)
              Editorial Advisory Board, Crystal Growth & Design (2000-)
              International Advisory Editorial Board, New Journal of Chemistry (2003-)
              Editorial Board, Supramolecular Chemistry (2000-)
              Editorial Board, Journal of Coordination Chemistry (1993-)
              Editorial Board, Journal of Organometallic Chemistry (1986-2000)
              Editorial Board, Crystal Engineering (1998-)
              Co-Editor, Inclusion Compounds (five volumes)
              Co-Editor, Comprehensive Supramolecular Chemistry (ten volumes)
              Co-Editor, Encyclopedia of Supramolecular Chemistry (two volumes)
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     Publications Summary
              Publications in Refereed Journals                        668
              Patents                                                   13
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   Honors and Awards:

   1986        Burnum Award for Teaching and Research, U of Alabama

   1987        University Research Professor, U of Alabama

   1989        von Humboldt Senior Scientist Award, Germany

   1992        Japanese Society for the Promotion of Science Award

   1996        Outstanding Alumni Award, SMSU

   1999        Curators' Professor, University of Missouri (MU)

   2000        President's Award for Research and Creative Activity, MU

   2000        Izatt-Christensen International Macrocyclic Chemistry Award

   2000        Polish Academy of Science, Elected Foreign Member

   2002        Alumni-Faculty Award, MU

   2005        Royal Society of Chemistry, Elected Fellow

   2005        Honorary Medal of the Institute of Physical Chemistry,
               Polish Academy of Sciences

   2005        Midwest Chemist Award, American Chemical Society

   2010        Distinguished Faculty Alumni Award, MU




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                              EXHIBIT C
:10-cv-05810-MLC-LHG Document 62-1 Filed 05/04/12 Page 135 of 239 PageID




                  Uses of X-Ray Powder
                      Diffraction In the
                Pharmaceutical Industry
                               Igor Ivanisevic, Richard B. McClurg, and Paul J. Schields
                                                       SSCI, a Division of Aptuit, West Lafayette, IN



        1   INTRODUCTION

        Among the many experimental techniques available for the identification of solid
        forms, including polymorphs, solvates, salts, cocrystals and amorphous forms, X-ray
        powder diffraction (XRPD) stands out as a generally accepted “gold standard.” While
        this does not mean that XRPD should be used to the exclusion of other experimental
        techniques when studying solid forms, X-ray diffraction (XRD) has applications
        throughout the drug development and manufacturing process, ranging from discovery
        studies to lot release. The utility of X-ray diffraction becomes evident when one
        considers the direct relationship between the measured X-ray diffraction pattern and
        the structural order and/or disorder of the solid. XRPD provides information about
        the structure of the underlying material, whether it exhibits long-range order as in
        crystalline materials, or short-range order as in glassy or amorphous materials. This
        information is unique to each structure—whether crystalline or amorphous—and
        encoded in the uniqueness of the XRPD pattern collected on a well-prepared sample
        of the material being analyzed.
           One must draw a distinction between crystalline materials, which give rise to XRPD
        patterns with numerous well-defined sharp diffraction peaks, and glassy or amorphous


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        2        USES OF X-RAY POWDER DIFFRACTION IN THE PHARMACEUTICAL INDUSTRY


        TABLE 1 Types of Solid Forms Described by the Wunderlich (1) Classification System
        Solid Form                       Translation          Orientation          Conformation
        Crystal                         Long range           Long range            Long range
        Condis crystal (glass)          Long range           Long range            Short range
        Plastic crystal (glass)         Long range           Short range           Short range
        Liquid crystal (glass)          Short range          Long range            Short range
        Amorphous (glass)               Short range          Short range           Short range



        materials whose XRPD patterns contain typically three or less broad maxima (X-ray
        amorphous halos). In practice, using XRPD, one can usually measure a sequence of
        progressively more disordered crystalline materials that ultimately result in glass. A
        classification system has been proposed by Wunderlich (1), Table 1, to describe the
        type of structural order and molecular packing present in molecular organic solid forms
        using three order parameter classes: translation, orientation, and conformation.
           Solid forms of a given molecule exhibiting long-range crystalline order (e.g.,
        polymorphs, solvates, co-crystals, and salts) can be identified and characterized using
        XRPD by their unique combination of order parameters. Amorphous solid forms do
        not exhibit any long-range order but are identifiable and characterized by their unique
        local molecular order, apparent in the X-ray amorphous diffraction pattern (2).
           Knowing that X-ray powder diffraction is sensitive to structural order, some of its
        typical applications in the analysis of solid-state properties of a drug substance or
        product include:

            .   Identification of existing forms of the active pharmaceutical ingredient (API).
            .   Characterization of the type of order present in the API (crystalline and/or
                amorphous).
            .   Determination of physical and chemical stability.
            .   Identification of the solid form of the API in the drug product.
            .   Identification of excipients present in a drug product.
            .   Monitoring for solid form conversion upon manufacturing.
            .   Detection of impurities in a drug product.
            .   Quantitative analysis of a drug product.

        Where appropriate data are available, XRPD analysis can determine the solid-form
        structure and crystal-packing relationship among individual molecules in the solid.
        This information is essential to the understanding of solid-state chemistry of drugs
        and important from the regulatory perspective.


        2       X-RAY DIFFRACTION THEORY

        When dealing with organic samples, a common simplification called the first Born
        approximation (3,4) is useful in explaining the X-ray diffraction process. Solid forms
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                                                                 X-RAY DIFFRACTION THEORY         3




        FIGURE 1 A simple periodic array of molecules with a single orientation and conformation and
        constant spacing, d.


        of organic materials are expected to interact weakly with incident X-rays (generally
        true provided the crystallite size is not too large). This means that the amplitude of
        doubly and multiply scattered radiation will be very small and negligible when
        compared to the singly scattered radiation (4). In the presence of crystal defects, grain
        boundaries or disordered systems (i.e., typical laboratory samples and not large,
        perfect single crystals), the multiply scattered radiation becomes even less significant.
            Respecting the limits of these assumptions, we can model the diffraction process as
        a Fourier transform of the electron density within the sample. Figure 1 shows a simple
        example containing a periodic array of molecules separated by a constant spacing, d,
        and with a single orientation and conformation. While each atom is considered a point
        source of scattering (5), the molecules themselves can be reduced to point sources of
        scattering under the assumption that the electron density distribution of a collection of
        atoms is the sum of the electron density distributions attributed to individual centered
        atoms (4). Note that atoms in a molecule are not necessarily the same as isolated, free
        atoms, though they are often approximated as such. The latter approximation allows
        us to substitute values for the Fourier transform of electron density of each individual
        atom using the tables of atomic scattering factors (6).
            During the diffraction process, the ordered arrangement of point scattering centers
        in real space produces a set of diffraction events in reciprocal space corresponding to
        sharp peaks. A spacing of d between the point centers (molecules) in real space will
        correspond to a peak spacing of 2p/d in reciprocal space (also called Q-space). This
        simple Fourier identity, illustrated in Fig. 2, will apply to any molecular-translational
        order existing within a solid form (4).
            Therefore, diffracted peak positions can be expressed in terms of d-space, Q-space
        or, most commonly, 2y, the angle between diffracted and undeviated X-ray waves (5).
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        FIGURE 2 A Fourier transform relates a periodic array of molecular point scattering centers in real
        space to a family of diffraction peaks in reciprocal space.


        Bragg’s law can be used to relate the X-ray half-scattering angle y to the aforemen-
        tioned spacing parameter, d, as seen in Eq. 1.

                                                  nl ¼ 2dsiny                                          ð1Þ

           The parameter l is the wavelength
                                       
                                                 of the incident X-ray radiation, with a typical
        value of approximately 1.54 A for a Cu X-ray radiation source. n is an integer and can
        best be understood through the explanation of why Bragg’s law holds. Consider a case
        of many parallel scattering planes—each of which is a collection of previously
        introduced point-scattering centers—reflecting incoming X-ray radiation of wave-
        length l at the angle y, as seen in Fig. 3 (5). The two diffracted waves in Fig. 3 will
        interfere with each other either constructively (adding together to produce stronger
        peaks) or destructively (subtracting from each other to some extent), depending on
        whether they are in phase or out of phase, respectively (4). Since the wave diffracted
        by the bottom plane in Fig. 3 travels a greater distance (greater by exactly a þ b) than
        the wave diffracted by the top plane, that extra distance must be equal to an integer
        multiple of l for points to remain in phase and total constructive reinforcement to




                                  FIGURE 3 Bragg’s law for parallel planes.
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                                           X-RAY DIFFRACTION EXPERIMENTAL PROCEDURES         5

        occur between the scattering from these planes (Eq. 2).

                                              nl ¼ a þ b                                   ð2Þ

        a and b can be expanded using the law of sines as siny ¼ a/d ¼ b/d. Simple substitution
        then transforms Eq. 2 into Bragg’s law (1). The integer n refers to the order of the
        diffraction. For additional readings on X-ray diffraction theory, see for example
        References (4–8).

        3     X-RAY DIFFRACTION EXPERIMENTAL PROCEDURES

        XRPD patterns display diffracted intensity as a function of the experimental
        parameter 2y (angle between diffracted and undeviated X-ray waves). Intensity is
        typically expressed in counts or counts per second
                                                     
                                                           while peaks are listed as positions
        in  2y or d-spacings (usually measured in A or nm).

        3.1    Crystalline Materials
        For materials exhibiting long-range (crystalline) order, XRPD patterns will contain
        sharp peaks, Fig. 4, whose shape and width will depend on the type of instrument on
        which the data were collected. Measurement ranges for crystalline materials depend
        on the type of study. For example, in a common application of XRPD—small-
        molecule polymorphism study—1–40 2y is a typical measurement range used, since




                           FIGURE 4 XRPD pattern of crystalline itraconazole.
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        peaks above approximately 30 2y become too numerous and overlapped to be useful
        in differentiating between polymorphs. When working with large molecules (e.g.,
        biologicals), it is advantageous to measure to as low an angle as allowed by the
        geometry of the instrument (approximately 0.5 2y is achievable in typical laboratory
        settings with modern instruments, sub 0.5 2y using a synchrotron or with a dedicated
        small-angle scattering instrument). Certain computational methods may require
        measurements to significantly higher 2y angles, up to 100 2y.
            Collection time varies per application but, for polymorphism studies, good patterns
        of crystalline material on modern instruments can be obtained in 2–10 min. In high
        throughput configurations for well plates, collection times of less than a minute per
        pattern can readily be achieved. Depending on the instrument geometry and appli-
        cation, 2–20 mg of crystalline sample may be required, and the sample can be reused
        afterwards as XRPD is typically non-destructive.
            XRPD suffers from two common sample-related effects that can play a significant
        role when characterizing or identifying crystalline material. Ideal XRPD samples
        have large numbers of randomly oriented crystallites. The reproducibility of an XRPD
        pattern is dependent on particle-orientation statistics, while preferred orientation
        limits the degree to which a pattern accurately represents the structure, as opposed to
        a particular sample preparation. For those reasons, one must assess the particle
        statistics and degree of preferred orientation before one can be confident the peak
        identifications made from a particular pattern are representative of the material.
            The effect of non-random (preferred) orientation of crystallites in a sample is to
        increase the relative intensities of some peaks and decrease the relative intensities of
        others. The variation in peak intensity is proportional to the degree of preferred
        orientation. In extreme cases, it can cause peaks to disappear completely while
        exaggerating otherwise faint peaks. Even in mild cases, a different set of relative
        intensities would result from diffractometers with different sample geometries.
            Poor particle statistics are displayed by samples where a relatively small number of
        crystallites contribute to the integrated XRPD patterns. Since the small population of
        large crystallites cannot represent all possible orientations, the measured relative
        intensities are not reproducible. Irreproducible peak intensities lead to the expectation
        that the pattern may differ dramatically if the same experiment was repeated on
        a different sample of the same material even using the same diffractometer.
            Both preferred orientation and poor particle statistics can be reduced to some extent
        in laboratory samples by spinning the sample in a holder (9, 10). Diffractometers allow
        the sample to be spun around one or two axes. In addition, a simple way of assessing
        the degree of preferred orientation or particle statistics in a sample is to analyze it on
        two different diffractometers with different spinning geometries. A summary of
        methods to minimize preferred orientation can be found in References (11–14).
        Bish (5) includes a detailed discussion on sample preparation and related problems.

        3.2   X-Ray Amorphous Materials
        In the case of X-ray amorphous (disordered, glassy or amorphous) materials, there
        will be no sharp peaks observed in the XRPD pattern, only broad halos (Fig. 5).
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                                           X-RAY DIFFRACTION EXPERIMENTAL PROCEDURES          7




                          FIGURE 5 XRPD pattern of amorphous itraconazole.


        Nevertheless, as we shall see later on, it is possible to extract structural information
        from these types of patterns using computational methods. Many of the computational
        methods used to analyze disordered materials require that the data are collected over
        a broad range, typically from 1 to 100 2y. Furthermore, because the signal-to-noise
        ratio in X-ray amorphous patterns is typically poor, longer collection times are often
        used. 30–60 min is not uncommon for a single pattern. Finally, a greater amount
        (50–100 mg) of amorphous sample is typically warranted to obtain a good XRPD
        pattern.
           XRPD patterns of both crystalline and X-ray amorphous materials contain some
        experimental artifacts, for example, instrument-background functions, sample-holder
        fingerprints, incoherent (Compton) scattering, polarization and Lorentz effects, and
        air scatter (5). The relatively low signal generated from X-ray amorphous samples
        means those artifacts will represent a much greater portion of the overall diffracted
        intensity. Therefore, computational methods used to analyze X-ray amorphous
        materials (15–17) are very sensitive to experimental artifacts and care must be taken
        to minimize their presence. Instrument intensity-correction functions can be deter-
        mined using known standards and computationally modeled thereafter. Sample
        holders that produce significant X-ray scattering of their own in the relevant regions
        (e.g., glass capillaries) should be avoided when working with amorphous materials.
        Instead, samples can be sandwiched between thin polymer films with low X-ray
        background (e.g., EtnomÒ ). Given the chemical formula of the material, Compton
        scattering can be calculated from atom-scattering tables (6) and subtracted from the
        overall signal. Air scatter can be largely eliminated using custom-built enclosures for
        a helium atmosphere.
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        FIGURE 6 The effects of experimental artifacts on amorphous X-ray patterns. Both patterns
        were collected from the same sample of amorphous nifedipine. The top pattern was collected
        from approximately 10 mg of material packed in a glass capillary under ambient conditions. The
        collection time was 5 min. The bottom pattern was collected from approximately 100 mg of material
        sandwiched between two thin sheets of EtnomÒ film in a He-purged enclosure. The collection time
        was 1 h.




            Figure 6 shows an X-ray amorphous pattern of nifedipine collected on a standard
        instrument with no special considerations and the sample packed in a glass capillary,
        compared to the same sample collected on a specially configured instrument using
        a low background sample holder, He atmosphere, and longer collection time. Note
        the patterns in this figure have not been offset but normalized to top intensity. As
        seen in the bottom pattern of Fig. 6, the low angle air scatter contribution is largely
        eliminated through the use of He. Furthermore, the broad glass scattering around
        25 2y which causes a shift in the position of the second amorphous halo in the top
        pattern is not evident in the bottom pattern. Typically, in screening applications, no
        more than a few milligrams of material are available, resulting in patterns where the
        glass/air scatter signal overwhelms the signal from the material itself and little
        structure is evident.
            Certain types of analyses involving crystalline materials (e.g., quantitative studies
        or indexing) may also benefit from careful experimental setups but the most common
        applications (i.e., polymorph detection or identification (18)) generally do not require
        the specialized setups or longer collection times used for amorphous materials.
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                                            X-RAY DIFFRACTION EXPERIMENTAL PROCEDURES            9

        3.3   Instrumentation
        Laboratory X-ray diffractometers typically consist of an X-ray source, sample
        chamber and detector. The most commonly used X-ray source in laboratory experi-
        ments with organics is Cu, though instruments typically allow different sources to be
        used with some configuration. Slits and optics are used to focus the incident and
        diffracted radiation on the sample and detector, respectively. Specimens usually can
        be rotated to alleviate some of the intensity artifacts discussed earlier. Detectors can be
        point, line or area, with the latter offering advantages in both speed of acquisition
        and ability to assess the particle statistics and preferred orientation in a sample
        through examination of Debye rings (19). Synchrotron sources are sometimes used
        for specialized measurements to collect high quality data. Detailed descriptions of
        X-ray instrumentation can be found, for example in Reference (5).
           The alignment of a diffractometer is maintained through the use of calibration
        standards, such as silicon, to verify the position calibration (5). Regular calibrations
        are accepted industry practice (cGMP), with the frequency of calibration ranging
        from every X number of samples to set time periods (e.g., daily), depending on how
        much data one is willing to risk invalidating due to a failed calibration. When a silicon
        standard is used, the Si 111 peak position is typically verified using a short scan in the
        appropriate region (around 28.4 2y). Other standards may be used, for example, to
        verify low angle alignment.
           Diffractometers can typically be operated in either reflection or transmission
        configurations. Reflection is by far the more common and also referred to as Bragg-
        Brentano geometry (Fig. 7). In reflection measurements, incoming X-rays are
        “reflected” off the sample surface and focused by the instrument optics onto the
        detector. Errors due to sample transparency to X-rays are common for organic
        samples (5,14). The X-rays penetrate many atomic layers below the surface meaning
        the average diffracting surface lies somewhat beneath the surface of the sample. This
        type of error can lead to peak position errors in measured patterns of as much as a tenth
        of a degree. Therefore, low absorbing samples are often prepared as thin films using




                           FIGURE 7 Bragg-Brentano diffractometer geometry.
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        a low background holder, to reduce the penetration effect. Displacement errors arise
        from the difficulty of preparing samples such that the surface of the sample is level
        with the surface of the holder (where the instrument is focused). Sample-displacement
        errors can result in significant, systematic shifts in measured peak positions, on the
        order of several tenths of a degree in particularly bad cases. Experience in preparing
        samples such that they are level with the surface of the holder is the only solution to
        this problem, although computational methods can be used to shift the pattern and
        correct peak positions, where the error is recognized. A further limitation of reflection
        measurements is the inability to measure to very low angles—typically 2.5 2y is
        a practical limit—making this type of measurement less useful for the analysis of
        large molecules which are expected to have peaks in the 0–2.5 2y range.
            Transmission mode analysis overcomes many of the limitations of reflection mode
        when carefully configured. In transmission measurements, the incident X-rays pass
        through the sample and are diffracted not only on the surface but throughout the
        sample. This type of analysis is possible for organics due to their relative transparency
        to X-rays. The sample no longer needs to be level with the holder but thickness of the
        sample is important and can cause peak displacement errors (when the sample is too
        thick). Transmission configurations generally allow lower angle measurements than
        reflection, making them useful for large molecules. However, it becomes essential that
        the holder containing the sample is as X-ray transparent as possible, because its
        “fingerprint” will be part of the X-ray pattern collected on each sample. Disposable,
        low background thin polymer films are commonly used to hold the sample in
        transmission measurements. In addition, it is common practice to regularly collect
        blanks (X-rays of the holder material itself) to ensure its signature does not change
        between different lots. Nevertheless, the extra effort required to operate instruments in
        transmission mode is well worth the improvement in data quality, especially when
        working with X-ray amorphous materials.


        4 APPLICATIONS OF X-RAY DIFFRACTION IN DRUG
        DEVELOPMENT AND MANUFACTURING

        XRD has a broad range of applications in various stages of drug development and
        manufacturing. This section will address many of the common XRPD uses from
        a practical standpoint. In the broadest terms, these applications can be divided
        between API characterization and identification. While there is some overlap in
        both categories, the former is more commonly applied during drug development
        (before the drug is on the market) while the latter is directed more toward
        manufacturing, regulatory aspects and intellectual property.

        4.1   API Characterization
        Guidelines from regulatory authorities regarding the need for characterization of
        a drug substance under development have been clearly stated. Below is an example
        relating to the issue of polymorphism (20):
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           “Polymorphic forms of a drug substance can have different chemical and physical
        properties, including melting point, chemical reactivity, apparent solubility, disso-
        lution rate, optical and mechanical properties, vapor pressure, and density. These
        properties can have a direct effect on the ability to process and/or manufacture the
        drug substance and the drug product, as well as on drug product stability, dissolution,
        and bioavailability. Thus, polymorphism can affect the quality, safety, and efficacy of
        the drug product.”
           While there are a number of methods to characterize polymorphs of a drug
        substance (21), the two broadly accepted methods of providing unequivocal proof of
        polymorphism recognized by the above source are single crystal X-ray diffraction and
        X-ray powder diffraction (20). Other techniques (e.g., thermal or spectroscopic
        methods) can be helpful in further characterizing drug products but only X-ray
        provides the necessary structural information to uniquely identify different poly-
        morphs. Therefore, in early drug development, X-ray powder diffraction is often used
        as a primary experimental technique and a means of differentiating between the
        experimentally generated materials. Fully characterizing any material requires the
        use of complementary techniques (thermal or spectroscopic) but X-ray is typically
        done first because it is fast, non-destructive, requires little material, and provides the
        necessary structural information.
           Synchrotron X-ray diffraction has frequently been used to characterize pharma-
        ceutical materials in applications where additional sensitivity not provided by
        laboratory X-ray diffractometers may be required (e.g., crystallization monitor-
        ing (22,23)). The tradeoff is the greater expense and time investment typically
        associated with such measurements. Since such applications tend to be specialized,
        this section will focus primarily on laboratory XRPD methods.

        4.1.1 Qualitative Analysis of Materials (Phase Identification) Every
        structurally different crystalline material will exhibit a unique XRPD pattern upon
        analysis (14). Therefore, the use of XRPD for phase identification was recognized
        early and remains the most common application of XRPD to pharmaceuticals. This
        so-called qualitative analysis typically refers either to the initial characterization of
        material previously not analyzed by XRPD or to the identification of a phase or phases
        in a sample of material by comparison to reference patterns. Reference patterns are
        previously collected XRPD patterns of the same material. Where available, XRPD
        patterns calculated from, for example, single crystal structures can be substituted but
        one should remember that the temperature at which the pattern is calculated can have a
        significant effect on the calculated XRPD profile. When dealing with mixtures of
        phases, qualitative analysis can provide an estimate of the relative proportions of
        different phases in the sample, usually based on the comparison of peak intensities for
        characteristic peaks of the different phases. Due to sample artifacts such as preferred
        orientation and poor particle statistics, this type of analysis should never be confused
        with quantitative analysis of mixtures, addressed later in this chapter. Databases of
        known XRPD patterns for various pharmaceutical materials are published annually
        by the Centre for Diffraction Data (ICDD) and the Cambridge Crystallographic Data
        Centre (CSD).
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            XRPD patterns are typically compared by overlaying and aligning the data from
        different samples. This procedure is typically done electronically, either using the
        software provided by the XRPD instrument vendor or using custom-developed
        software. The primary assessment might include determining whether each sample
        is X-ray amorphous or crystalline based on the absence or presence of crystalline
        peaks, respectively. When comparing XRPD data of crystalline samples, one notes
        any differences in peak positions (to within a certain precision, e.g., 0.1  2y (24))
        which correspond to structural differences between the samples. Intensities are
        generally not relied upon for qualitative analysis due to previously mentioned
        instrument and sample artifacts, although they have to be used to some degree to
        allocate the peak positions (based on local maxima).
            It is not uncommon for two patterns to share some but not all of the peak positions.
        This can be a coincidence or it can be due to one of the samples being a mixture of
        multiple phases, including the phase in the other sample. Experience and data from
        complementary experimental techniques are needed to resolve such ambiguous cases.
        It should also be noted that, at higher 2y values, peaks of most organic materials
        become considerably overlapped and determining their exact positions becomes
        difficult. Therefore, free-standing peaks at low angles are the primary means of
        differentiating structures and XRPD data above approximately 30  2y are rarely
        useful for qualitative analysis.
            Figure 8 shows XRPD patterns of two crystalline polymorphs of sulfamerazine.
        The patterns in Fig. 8 were collected from material crystallized in glass capillaries
        during a polymorphism screen. A polymorphism screen is typically run early in the




                  FIGURE 8 Two polymorphs of sulfamerazine. Patterns offset for clarity.
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        drug development process to identify and (partially) characterize the different
        polymorphs of a drug substance. Assuming XRPD was the first analytical technique
        used on the samples, the data in Fig. 8 could be used to make a qualitative assessment
        regarding the probable nature of the material generated during crystallization
        experiments. Therefore, one could designate the first of the patterns crystalline
        “Pattern A” and the other crystalline “Pattern B,” noting the sharp peaks and lack
        of diffuse halos as a sign of crystallinity and the structural differences, as evidenced by
        the different peak positions in each pattern. There is insufficient information at this
        stage to designate either pattern as a polymorph of the material (e.g., they could be
        a solvate, hydrate, or a mixture of two or more polymorphs). However, it is clear that
        both materials are crystalline and structurally different. Further characterization using
        for example, thermal methods (TGA, DSC) would confirm these materials are not
        solvates or mixtures but actual polymorphs and aid in determining the thermody-
        namically stable polymorph. XRPD provides information about the structure of
        materials, not thermodynamics, although variable-temperature XRPD has been used
        to study changes in structure at different temperatures.
            One can envision a large number of different crystallization experiments (using
        different solvents or conditions) performed on the API, some possibly in automated
        fashion, with the resulting material characterized initially by XRPD. This is in fact
        a common approach to polymorphism, salt, and cocrystal screening and perhaps the
        most common application of XRPD in the drug development process. The latter two
        screens are usually performed when the polymorph(s) of the drug candidate itself are
        not sufficiently bioavailable, in an effort to produce a formulation that addresses the
        bioavailability problem. An XRPD pattern is taken of the API and the guest material
        (e.g. acid) and the mixture of the two. If a salt or cocrystal was formed, the XRPD
        pattern of the mixture should be more than just a sum of the reference patterns of the
        API and the guest.
            Therefore, the first application for XRPD during drug development is typically
        to identify the materials generated using different experimental methodologies, often
        in automated high throughput screening environments (25–27). To simplify this
        pattern recognition problem that often involves hundreds or thousands of experi-
        mental data sets per screen, people have developed various computational approaches
        to recognize, sort, and classify unknown XRPD patterns, either through comparison
        to a known database of materials (28) or simply within the experimental set of
        unknown patterns (18, 29, 30). The latter often uses an approach called hierarchical
        clustering (31, 32).
            XRPD data are often catalogued in databases using the so called Hanawalt
        system (33–34). In this system, the data are stored as d versus I/Imax pairs. The use
        of d-space eliminates the need to specify the radiation source wavelength and allows
        comparison between laboratories using different instrumentation. A similar system is
        often used for intellectual property filings, as discussed later in this chapter.
            However, as we shall see in following sections, there is considerable structural
        information available in a typical XRPD pattern that can be used to characterize the
        material. Making use of this information usually requires high quality laboratory data
        and the use of advanced computational methods.
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        4.1.2 Structural Analysis of Crystalline Forms XRPD patterns
        of crystalline materials have sharp peaks due to constructive interference of
        diffracted radiation. As mentioned previously, XRPD patterns can be used to
        identify particular substances by comparison with reference patterns, analogous
        to the use of fingerprints to identify people. For example, the experimental XRPD
        pattern of Mannitol in Fig. 9 (bottom pattern) compares best with the simulated
        pattern of the beta form (second pattern) indicating that the sample is likely form beta,
        and not form alpha or delta. The positions of the reflections in XRPD patterns are
        functions of the size and shape of the crystallographic unit cell. Reflection intensities
        are functions of the atomic positions within the unit cell. Avariety of instrumental and
        sample preparation artifacts influence the intensities, and to a lesser extent, the
        positions of the reflections. A first step in the further characterization of an XRPD
        pattern of a crystalline sample is to rationalize the reflection positions using a process
        called indexing.

        4.1.2.1 Indexing Indexing is the process of determining the size and shape of the
        unit cell given the peak positions in a diffraction pattern. The term gets its name from
        the assignment of Miller index labels to individual peaks. For most applications, the
        index labels are less important than are the unit cell length and angle parameters that
        provide the link between crystal properties and the diffraction pattern.




        FIGURE 9 Comparison of simulated (top three) and measured (bottom) XRPD patterns of
        Mannitol. The legend provides ICDD reference codes and form designations for the simulated
        patterns.
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            Indexing plays a role in single crystal and powder diffraction pattern analysis, but
        there are qualitative differences between indexing single crystal and powder diffrac-
        tion data. For single crystal diffraction, reflections are recorded as a function of the
        three-dimensional orientation of a crystal relative to the incident radiation. Each
        reflection in single crystal diffraction corresponds to a solution of the Laue equations,
        or equivalently the vector form of the Bragg equation. For powder diffraction, the
        (ideally) isotropic distribution of particle orientations leads to cylindrical symmetry
        in the diffracted radiation. Therefore, each reflection in powder diffraction corre-
        sponds to a solution of the scalar form of the Bragg equation (35). As a result of the
        loss of information regarding the relative orientations of diffracting crystallites,
        indexing of XRPD data is more challenging than single crystal diffraction data.
            There are a variety of methods available for indexing XRPD patterns, some of
        which are in the public domain and others that are sold commercially. Examples
        include ITO (36), TREOR (37), N-TREOR (38), singular value decomposition (39),
        X-CELL (40), and DICVOL (41). The methods differ in their methods for identifying
        and refining potential solutions, ability to determine low symmetry solutions,
        efficiency, and sensitivity to extraneous and/or missing peaks. Development of novel
        methods and refinement of existing methods continues to be an area of active research.
        When applying these automated methods, it is important to be aware that multiple
        solutions can appear to adequately index a XRPD pattern. These degenerate solutions
        are called lattice metric singularities (42). In such cases, it is common practice to
        accept the higher symmetry solution unless there is other evidence supporting the
        lower symmetry solution.
            Successful XRPD indexing serves several purposes. If all of the peaks in a pattern
        are indexed using a single unit cell, this is strong evidence that the sample contains
        a single crystalline phase. Given the indexing solution, the unit cell volume may be
        calculated directly. The difference in molar volume between an anhydrous crystal
        form and the molar volume of hydrates, solvates, and co-crystals can be useful for
        determining their stoichiometries. If the chemical composition of a crystal is known,
        then indexing provides the means of determining very accurate true densities.
        Indexing is also a robust description of a crystalline form. Common practice is to
        characterize forms using a list of XRPD peak positions for selected intense peaks, but
        the intensities of individual peaks are sensitive to changes in temperature, defect
        density, and preferred orientation effects as a result of sample preparation. Also, the
        positions of peaks are sensitive to temperature, strain, and changes in hydration state.
        Although unit cell parameters change as a result of these effects, the changes are less
        pronounced when comparing indexing solutions than when comparing peak lists
        based on particular selection criteria. Indexing can be used to show that a XRPD
        pattern is consistent with the structure of a crystal determined via single crystal
        diffraction. Also, indexing is a preliminary step for other analyses including structure
        determination from XRPD data and Rietveld refinement.
        Data Not all XRPD patterns are amenable to indexing. XRPD patterns must have
        sufficient signal-to-noise and peak resolution to provide enough peak positions to
        uniquely define the indexing solution. Signal-to-noise can be improved by eliminating
        sources of diffuse scattering such as glass sample holders and by collecting the pattern
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        for a longer time. Peak width is a convolution of instrumental and sample
        contributions. Therefore, a diffractometer with adequate monochromatization is
        necessary, but not sufficient to ensure good peak resolution. Samples containing
        nanoscale crystalline regions or defective crystals display broadened peaks in their
        XRPD patterns. In the extreme, these broadened peaks can overlap and produce
        a pattern that appears to contain only amorphous halos as discussed elsewhere in this
        chapter.
            Wilson showed that centrosymmetric crystal structures (those containing an
        inversion center) are more likely to have very weak and very strong reflections than
        are non-centrosymmetric crystal structures (lacking an inversion center) which tend
        to have a narrower distribution of peak intensities (43). Ordered crystals containing
        only one enantiomer (or diastereomer) of a chiral molecule cannot crystallize in space
        groups with mirror planes, glide planes, or inversion centers since those operations
        change the chirality of the molecule. Therefore, crystals containing non-chiral
        molecules or racemic mixtures of chiral molecules may adopt a centrosymmetric
        structure whose XRPD pattern has a large fraction of very weak reflections. Since
        these weak reflections are often important for successful indexing of the XRPD
        pattern, care should be taken to optimize peak sensitivity when collecting XRPD data
        for indexing, particularly for non-chiral molecules or racemic mixtures. This can
        be accomplished by reducing sources of background scattering and by increased
        collection times, for example.
            The bottom XRPD pattern in Fig. 9 is an experimental XRPD pattern of Mannitol,
        form beta. Since Mannitol is chiral, it is expected to crystallize in a non-centrosym-
        metric structure and the corresponding XRPD pattern should have relatively few
        extremely weak or strong reflections. There is relatively little diffuse background
        scattering and the signal-to-noise ratio appears to be very good in the pattern. Also, the
        peaks are quite sharp leading to good peak resolution. All of these observations
        suggest that the XRPD pattern is amenable to indexing under the assumption that the
        pattern represents a single crystalline phase.
        Results A successful indexing solution for the Mannitol XRPD pattern from Fig. 9
        is illustrated in Fig. 10. The bars in Fig. 10 correspond to positions of allowed
        reflections based on Bragg’s Law. All of the observed peaks in the XRPD pattern are
        indexed by one or more of the allowed reflections. Also, there are relatively few
        allowed reflections that are not observed. In some cases, the reflections are too weak to
        be evident at the scale shown in Fig. 10, but are evident using an expanded scale. If the
        allowed reflections did not account for all of the observed reflections, then the solution




        FIGURE 10 Indexed XRPD pattern of Mannitol form beta. Green bars indicate allowed reflections
        based on the unit cell dimensions and assigned space group P212121 (no. 19). Dashed bars
        indicate extinct reflections.
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        would have been rejected as unable to fully describe the observed pattern. If there
        were a large number of allowed but unobserved peaks, then the solution would be
        rejected in favour of a smaller volume and/or higher symmetry solution. Since the
        illustrated solution falls into neither category, it is accepted as a good description of
        the observed pattern. This confirms that the XRPD pattern is of a single crystalline
        phase.
            There are some allowed reflections, marked with dashed bars in Fig. 10, that are not
        observed. These systematic extinctions are the result of space group symmetry
        elements of the contents of the unit cell. Systematic extinctions are the result of
        centered unit cells, screw axes, and/or glide planes. Rules indicating which reflections
        are extinct based on their Miller indices are tabulated (35). Given the observed
        systematic extinctions in a pattern, an extinction symbol may be assigned (44). In the
        illustrated case, the extinction symbol (P212121) corresponds to only one space group,
        P212121 (no. 19). In many other cases, there are two or more space groups corre-
        sponding to the observed extinction symbol and additional analysis is needed to fully
        determine the space group.
            The solution illustrated in Fig. 10 is orthorhombic with length parameters given in
        Table 2. Given the length parameters, the unit cell volume is readily calculated. The
        number of asymmetric units in the unit cell for a given space group is tabulated in
        Reference (44). For space group P212121 there are four asymmetric units in the unit
        cell (Z ¼ 4). Assuming that there is one Mannitol molecule per asymmetric unit
        (Z0 ¼ 1), then the molar volume and density are readily calculated. The density is a bit
        higher than typical organic molecules, but is as expected for sugars such as Mannitol.
        A reasonable density confirms that the correct number of molecules per asymmetric
        unit was assumed.
            Having successfully indexed the XRPD pattern, determined the extinction symbol,
        and calculated the density, the analysis of peak positions in the Mannitol XRPD
        pattern is complete. Additional information regarding the Mannitol sample can be
        derived from the peak shapes and intensities using the Rietveld method.

        TABLE 2 Indexing Results and Derived Quantities
        Substance and Form                                               Mannitol Form Beta
        Composition                                                          C6H14O6
        MW (amu/molecule)                                                    182.172
        Family and space group                                      Orthorhombic P212121 (no. 19)
           
        a (A)                                                                 8.6790
           
        b (A)                                                                16.8980
           
        c (A)                                                                 5.5502
        a (deg)                                                                  90
        b (deg)                                                                  90
        c (deg)                                                                  90
            
        V (A3)                                                                813.65
         0
        Z (molecules/unit)                                                       1
        Z (units/cell)                                                           4
              
        V/Z (A3/unit)                                                         203.41
        r (g/cm3)                                                              1.487
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        4.1.2.2 Rietveld Analysis The Rietveld method is a computational tool for
        extracting structural and microstructural information about a crystalline solid
        from its powder-diffraction pattern. This computational method was pioneered by
        Hugo Rietveld in the late 1960s (45, 46). The ability to obtain structural information
        from polycrystalline materials from which a crystal suitable for single-crystal
        analysis was either unavailable or practically impossible to obtain was a
        significant achievement. Initially the method was mostly used to refine the atomic
        positions and lattice parameters of crystal structures. Use of the Rietveld method
        proliferated with the increased accessibility of digital data in the 1980s and is now
        routinely used for quantitative analysis of phase mixtures for a wide range of materials
        and applications from cement and minerals to pharmaceuticals. This method is also
        used to characterize crystal defects and the microstructural properties of
        polycrystalline solids, such as preferred orientation, microstrain, and crystal size.
           The Rietveld method computes a powder pattern using information describing the
        crystal structure and the instrumental technique used to collect the diffraction pattern.
        An iterative algorithm refines the structural and instrumental parameters used in
        the computation to minimize the difference (residual) between the observed and
        calculated diffraction intensity at each scattering angle (2y). The success of
        a Rietveld analysis depends on building an appropriate model for the algorithm so
        the best fit (global minimum) to the experimental pattern can be efficiently discov-
        ered while avoiding false minima. Many freeware computer programs available for
        Rietveld analysis are listed and described on the website (47); many programs are
        also commercially available. To set up a model for a system of interest and obtain
        reliable information, each program requires a skilled user with understanding of
        diffraction theory and experiment. A recommended way to learn and assess the
        reliability of a Rietveld program is by refining patterns of well-characterized
        powders. a Al2O3 NIST SRM 676 is a very good standard because it has no
        preferred orientation, two refinable atomic positions determined by single-crystal
        analysis (48), and two lattice parameters. The accuracy of the measured intensity
        and 2y combined with the skill of the Rietveld analyst and the accuracy of the
        Rietveld refinement algorithm determines the accuracy of the refined parameters.
        The applicable theoretical corrections used to compute the diffraction pattern for
        a particular data-collection technique require the user to judiciously construct the
        appropriate models (49, 50).
           The minimum information needed to calculate a diffraction pattern is the atomic
        positions, space group, and lattice parameters of the crystal structure. The Rietveld
        program calculates the position and intensity of the diffraction peaks and assigns them
        a 2y-dependent profile determined by the instrumental model. The parameters
        describing the profile are obtained from the results of a Rietveld analysis of a pattern
        of NIST SRM 660a LaB6 profile standard. This standard can also be used to check the
        accuracy of the lattice-parameter refinement and to refine the wavelength intensity
        ratio if more than one X-ray wavelength was used for data collection. For example, the
        ratio of Cu Ka2 to Ka1 is  0.5 and can vary several hundredths depending on the type
        and alignment of the monochromator of the instrument used to collect the powder
        pattern. Standardizing the profile function allows microstrain and size (51) to be more
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        accurately refined as well as improving the fit of the calculated pattern to the
        experimental pattern.
            Several quantitative and qualitative ways of assessing the “goodness of fit”
        between the experimental and calculated patterns are available. The qualitative
        assessment is a careful visual examination of the fit and the residual intensity. Visual
        assessment is essential and compliments the quantitative measures of the fit. The
        quantitative measures of the fit include the weighted pattern residual (Rw) and the ratio
        of Rw to the expected residual (Rw/Rexp). This ratio indicates how close the fit is to the
        theoretically best residual calculated using the number of data points in the observed
        pattern, the number of refined variables, and the uncertainty of the observed intensity
        intrinsic to counting photons.
            The refinement is usually done in several stages (52) with only some of the
        refinable parameters being refined in each stage. The scale factor for the incident-
        beam intensity is always refined, and the background is usually refined in the first
        stage. The background is best minimized in the experimental pattern by use of
        antiscatter slits and helium; reducing background also improves the detection limit.
        Background is usually modeled with a polynomial and, if the background cannot be
        adequately fit, it can be artificially minimized by subtracting an appropriate blank
        pattern collected with identical collection parameters as the specimen of interest.
        Subsequent stages depend on the goal of interest. None of the refinable parameters
        will usually be refined well the first time; therefore, several iterations are used to find
        the global minimum.
            A successful Rietveld refinement requires the user to know if the pattern of interest
        displays artifacts from inadequate orientation statistics (OS) and preferred orienta-
        tion. These artifacts affect relative peak intensities and can generate significantly
        inaccurate structure refinements. If preferred orientation is well understood, it can be
        corrected by a variety of models available in many Rietveld programs. OS artifacts
        are manifest in random fluctuations of relative intensity for each preparation of the
        sample and cannot be corrected. The spiky peaks generated by OS artifacts can be
        difficult to detect by visual examination of the one-dimensional XRPD pattern.
        Fortunately, they can be readily detected by collecting a two-dimensional pattern with
        an area detector. If the Debye rings in the two-dimensional pattern are spotty, then OS
        is a potential problem depending on how the pattern of interest is collected. Both PO
        and OS artifacts can be practically eliminated by collecting the pattern in transmission
        geometry using a Gandolfi spinner and by comminution of the sample. Unfortunately
        comminution is often not a viable option because many samples, especially organics,
        are susceptible to stress-induced phase transformation.
            We provide an example of the limitations of refining a pattern displaying a slight
        amount of PO. Rietveld refinement using Maud (version 1.999) was applied to
        a pattern of b mannitol collected with a laboratory diffractometer in transmission
        geometry. To correct PO we used a March-Dollase model on the 130 hkl (Fig. 11). The
        atomic positions were compared to those from a single-crystal structure determina-
        tion by Kaminsky et al. (53). The thermal parameters were bound to be the same for
        all atoms and set to be isotropic; hydrogen was not included. Without using PO
        corrections, the fit to the measured pattern was poor (Fig. 12).
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        FIGURE 11 Overlay of a Rietveld refinement of b mannitol with Rw ¼ 7.19% and Rw/Re ¼ 1.6
        used to investigate the use of spherical harmonics to facilitate the refinement of the lattice
        parameters and thermal factor.




        FIGURE 12 Rietveld refinement of b mannitol without spherical harmonics, Rw ¼ 26.3% and Rw/
        Re ¼ 5.9.
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        TABLE 3 Bond Distances for b-Mannitol from a Rietveld Refinement of a Pattern with
        Orientation-Statistics Artifacts Compared to Those from a Single-Crystal Analysis by
        Kaminsky et al. (53) and a Rietveld Refinement by Botez et al. (54)
                                                                                                         
        Bond                     Kaminsky et al.      Botez      Difference (A) This Study (A) Difference (A)
                                                             
        Distance                   1997 (A)      et al. 2003 (A)
        C1-C2                       1.517 (2)      1.545 (17)       0.028           1.585         0.068
        C2-C3                       1.539(2)       1.546 (15)       0.007           1.543         0.004
        C3-C4                       1.523 (2)      1.515 (16)      0.008           1.555         0.032
        C4-C5                       1.539 (2)      1.592 (14)       0.053          1.618         0.079
        C5-C6                       1.521 (2)      1.552 (16)       0.031           1.569         0.048
        C1-O1                       1.425(2)       1.416 (17)      0.016           1.485         0.053
        C2-O2                       1.440 (2)      1.443 (16)       0.016           1.444         0.017
        C3-O3                       1.433(2)       1.390 (17)      0.042           1.431        0.001
        C4-O4                       1.448(2)       1.434 (15)      0.004           1.356        0.082
        C5-O5                       1.445(2)       1.439 (16)       0.011           1.461         0.033
        C6-O6                       1.436(2)       1.431 (18)       0.004           1.460         0.033
        Standard deviation                                          0.026            n/a          0.040
        Sum                                                         0.080            n/a          0.284
        
            Maximum deviation.


                                                                                      
            The bond distances, Table 3, from our refinement had a 0.04 A standard deviation      
        relative to the single-crystal values and a maximum absolute error as high as 0.08 A.
        This uncertainty is ten times larger than the uncertainty of the single-crystal bond
        distances and slightly higher than those refined by Botez et al. (54) using a pattern
        collected with a synchrotron. Our bond distances also have a positive bias. These
        relatively high uncertainties reflect the intensity inaccuracies from not completely
        correcting the PO. The inaccuracies of atomic positions will increase as the magnitude
        of PO and OS artifacts increase. The calculated bond angles also will be more
        significantly more uncertain than the reliable single-crystal values.
            The magnitude of thermal displacements above those commonly measured by
        single-crystal analysis indicates the amount of static-displacement
                                                             
                                                                                    defects in the
                                                               2
        crystal. The refined thermal parameter (B) was 2.4 A 
                                                                 , and the single-crystal values for
        carbon and oxygen ranged from 1.64 to 2.81 A2. This result indicates the 2y-
        dependent intensity corrections provided by the Debye-Scherrer geometry and the
        curved position-sensitive detector models are reasonably accurate. The intensity
        fluctuations from slight PO are not expected to significantly affect the thermal
        parameter if enough of the pattern was refined, but, depending on the magnitude
        of the PO artifacts, a reasonably accurate B value might not always be obtained unless
        an accurate PO correction is applied.                                                    
            The orthorhombic
                          
                                lattice parameters were refined to a ¼ 8.6790 A, b ¼ 16.8980 A,
        and c ¼ 5.5502 A, and the zero offset was 0.0004 . These lattice parameters are within
        0.01% of those refined by Botez et al. (54). The negligible offset indicates the
        diffractometer was very well aligned.
            The beginning Rietveld analyst must have a good understanding of experimental
        and theoretical diffraction physics and the Rietveld model to assess the goodness of fit.
        The b mannitol example described here demonstrates a fairly good fit to the observed
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        pattern using PO corrections does not necessarily mean the refined parameters are
        reliable and accurate; the bond distance and angles must be compared to known ranges
        from reliable single-crystal determinations to see if the results are reasonable. Values
        of bond distance and angle for moieties on organic molecules can be found in the
        Cambridge Crystal Structure database. Although patterns containing intensity arti-
        facts can be analyzed using Rietveld analysis to provide useful structural information,
        the use of appropriate data-collection techniques is always the best way to obtain the
        most reliable results.

        4.1.3 Structural Analysis of Disordered Crystalline Forms Highly
        crystalline forms of APIs are preferred in the drug development process because of
        their high level of purity and resistance to physical and chemical instabilities under
        ambient conditions (34). Unfortunately, most organic crystals are generally imperfect,
        containing different types of defects in the structure of the crystal lattice (4). The
        defective regions in a crystal introduce disorder into what is otherwise an ordered
        system, and correspond to sites with higher levels of energy in the solid (55). In many
        cases, defects can eventually lead to the formation of glass or amorphous (supercooled
        liquid) materials. Defects are typically formed through kinetic processes, for example,
        milling or dehydration, as opposed to thermodynamic processes. Whereas defects
        can offten be reversed, the formation of amorphous material creates a different solid
        state that can agglomerate or recrystallize into a different crystalline form.
        Pharmaceutical interest in the study of defects arises from the demonstrated role
        that these high energy sites can play in affecting a number of important physical and
        chemical phenomena. The presence of defects can, for example, produce higher
        dissolution rates (56, 57), greater chemical instability (58, 59), altered mechanical
        properties (60–62), and enhanced hygroscopicity (63, 64).
            XRPD combined with computational methods can be used to study crystalline
        defects (4, 15), even quantitate kinetic disorder parameters (e.g., crystal strain).
        Random defects within a crystal structure will generate diffuse X-ray scattering
        similar to X-ray amorphous scattering, though with halo positions and widths that are
        typically different from those measured from the amorphous (supercooled liquid)
        phase (15). This rule can be broken when defects in the material form a kinetic glass
        but it is possible to monitor the agglomeration of defects starting with perfect crystals
        all the way through glass, using XRPD. Such a study was reported in Reference (15)
        and is summarized below as an example application of XRPD to the study of
        crystalline defects.
            In this study, defects were introduced into Raffinose pentahydrate through
        dehydration over time. XRPD measurements were taken at regular time intervals,
        Fig. 13, to monitor per cent crystallinity (65) and total diffraction methodology was
        used to model both the coherent long range crystalline contributions and incoherent
        short range disorder components together as a single system (66, 67). Rietveld
        methods were used for structure modeling (68, 69) and to track the structural phase
        changes in crystalline material. In addition, methods built around the use of the Pair
        Distribution Function (PDF) (8, 11, 70–75), G(r) in Eq. 3, were employed to confirm
        the Rietveld results. Finally, it was shown that the introduction of defects through
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        FIGURE 13 XRPD patterns collected in transmission mode for raffinose pentahydrate dried at
        60  C under vacuum for (from bottom to top): 0, 2, 5, and 8 h, respectively.


        dehydration of an organic crystal hydrate eventually leads to the formation of
        amorphous material.

                                         GðrÞ ¼ 4pr½rðrÞr0                                  ð3Þ

          Where r0 is the average number density of the structure and r(r) is the atom pair
        density for X-ray scattering (76) (Eq. 4).
                                                        !
                                        1 2 X fp fq
                                rðrÞ ¼    pr               dðrrpq Þ                          ð4Þ
                                        4      p;q h f i2

           The terms in Eq. 4 include fp,q, the individual atomic form factors; hfi, the mean
        atomic form factor of the structure; and the distance rpq, corresponding to the atom
        pair separation. r(r) represents the probability of finding an atom pair separated by the
        distance r, weighted by the atomic form factors and averaged over all atom pairs in the
        structure. The calculation needs to be evaluated over a crystal structure large enough
        to give the atom pair relationships for a distance of interest.
           The PDF is a generally useful computational tool when analyzing X-ray amor-
        phous or disordered systems. PDF analysis unlocks information present (but not
        obvious) in XRPD patterns, providing a measure of inter-atomic distances that define
        a solid form (70). From these distances, one can draw conclusions regarding the
        relationship between ordered and disordered forms of a material. By convention (71),
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        FIGURE 14 PDF traces of crystalline (lighter, with many peaks) and amorphous (darker, with few
        initial peaks) felodipine. The crystalline sample shows long-range order as evidenced by peaks in
                                              
        the PDF up to and exceeding 100 A. The amorphous sample shows only short-range order with
                                                           
        PDF peaks disappearing after approximately 20 A. Note that both samples have similar short-range
                                                              
        order with peaks in the PDF overlapping below 10 A.

                                                                   
        the PDF trace is typically plotted as distance (in A) vs. (weighted) probability of
        finding two atoms with that separation. Peaks in the PDF correspond to inter-atomic
        distances that are common to the material in question, with the product of the peak
        area and distance giving the number of atom units with that specific separation.
        Figure 14 illustrates a PDF trace of amorphous felodipine superimposed against
        a PDF trace
                      of crystalline felodipine. Both traces show similar short-range order
        (below 10 A) but whereas
                            
                                   the amorphous trace has no peaks in the PDF trace above
        approximately 20 A (and therefore
                                            no long-range order), the crystalline trace contains
        peaks up to and exceeding 100 A (indicating long-range order). Differences between
        defective crystalline (X-ray amorphous) and amorphous (supercooled liquid) materi-
        als can be seen in the PDFs calculated from XRPD data (15).

        4.1.4 Structural Analysis of Organic Amorphous Materials Amorphous
        organic solids, also referred to as disordered systems (77, 78), are characterized by a
        lack of long-range order that is observed in crystalline structures (2). They are often
        described as supercooled liquids, turned solid by the removal of thermal energy or a
        solvent without inducing crystallization (65, 78). Many of the early stage drug
        candidates currently under development exhibit very poor aqueous solubility (2, 79).
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        Higher molecular weights than were common in the past and greater hydrophobicity
        are thought to contribute to the decrease in aqueous solubility of organic compounds.
        With data to suggest that the dissolution rate is the rate-limiting step in oral
        absorption, it is expected that reduced solubility will lead to reduced oral
        bioavailability (80).
           Amorphous organic compounds tend to have significantly higher initial aqueous
        solubilities (non-equilibrium) and dissolution rates as well as greater compressibility
        and different hygroscopicity, as compared to crystalline forms of the same com-
        pound (65, 81). Therefore, in compounds where the crystalline forms are poorly
        soluble, the amorphous form often presents an attractive formulation option (82).
        Dozens of APIs and excipients currently on the market are listed as being amor-
        phous (65). Because crystalline forms are more thermodynamically stable than
        amorphous forms, there is a driving force for crystallizing the amorphous state.
        Therefore, amorphous materials are inherently unstable (both physically and chem-
        ically) and, once crystallized, the material loses the solubility advantage provided by
        the amorphous form. The inherent instability coupled with a lack of developed
        characterization tools has limited the commercial potential of working with amor-
        phous materials at present (65, 83).
           A common method used by formulation scientists to overcome the instabilities
        associated with amorphous materials is to prepare a composition of the amorphous
        API with pharmaceutically acceptable excipients that provide a barrier to crystal-
        lization of an amorphous drug product upon storage. Such compositions are often
        referred to as “dispersions” or “solid dispersions.” Stabilizers are often selected from
        a variety of polymers, a commonly used one being polyvinylpyrrollidone (PVP).
        Intimate mixing (mixing at the molecular level) between such excipients and the
        amorphous API is an important factor in compositions resistant to crystallization (84).
        To provide a barrier to structural changes, the excipient needs to be intimately mixed
        (e.g., in a solution) with the API, which is often difficult to accomplish or even
        identify.
           As noted earlier, XRPD is a useful technique in the analysis of amorphous
        materials. In its simplest application, XRPD is used to identify X-ray amorphous
        materials and classify them separately from crystalline materials (18). It can also be
        used to further differentiate between (supercooled liquid) amorphous material and
        kinetic glassy material (15, 85) or to monitor the conversion of crystalline material
        into amorphous material upon processing (e.g., grinding) (85) (Fig. 15). In the latter
        application, note the steady peak broadening and loss of intensity at higher angles in
        the XRPD patterns, Fig. 15, as the material becomes progressively disordered.
        However, some materials may immediately collapse into a binary amorphous-
        crystalline mixture and eventually pure amorphous material, without any broadening
        of the crystalline peaks that would be indicative of disorder in the crystalline
        phase (85).
           Finally, in the analysis of multi-component amorphous mixtures, XRPD along
        with computational methods (16) have emerged as techniques that can be used to
        identify the so-called “miscible” dispersions, as compared to the phase separated
        physical mixtures where intimate mixing was not achieved. XRPD is often accom-
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        FIGURE 15 Monitoring of cryo-grinding experiments on piroxicam form II using XRPD. Bottom-
        to-top, starting pattern, after 20, 40, 60, 90 min of grinding, respectively.



        panied by the use of complementary experimental techniques in this type of
        amorphous mixture analysis. Traditionally, thermal methods such as DSC have been
        used to measure glass transition temperatures when evaluating miscibility (86) and,
        while those methods have been shown to have limitations (16), their use is still
        recommended when analyzing amorphous mixtures (in addition to XRPD).
           An example of this type of XRPD and computational analysis was reported in
        Reference (16). Solid dispersions of three different systems were analyzed initially
        using thermal measurements. Glass transition temperatures were identified from
        thermal data. For the system where two glass transition temperatures were identified,
        phase separation was indicated. The other two systems had a single glass transition
        temperature, suggesting miscibility and therefore stability to crystallization. XRPD
        data were collected on all three systems and the patterns were then analyzed using
        computational methods. Linear combinations of measured XRPD patterns and
        calculated PDFs were used to model the systems to determine the level of interaction
        between the two components in each system. The conclusions derived from thermal
        data were confirmed by XRPD for two of the three systems. However, the third system
        was identified as a so-called nano-suspension with domain sizes smaller than the
        resolution of thermal methods. Therefore, a prediction was made that this system is in
        fact phase separated despite the single glass transition temperature, and would re-
        crystallize. This prediction was confirmed elsewhere in the literature (87).
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        FIGURE 16 XRPD patterns of, top-to-bottom, amorphous PVP, a solid dispersion of PVP and
        felodipine (70% PVP, 30% felodipine by weight), and amorphous felodipine.


           Figure 16 shows example XRPD patterns of a pharmaceutically acceptable
        excipient (PVP, top pattern), amorphous drug product (felodipine, bottom pattern),
        and a solid dispersion of the two (70% PVP and 30% felodipine by weight, middle
        pattern). Despite the lack of long-range order (and therefore crystalline peaks), one
        can observe clear differences in the structure of these amorphous materials from these
        XRPD patterns, using the position and width of the two broad halos in each pattern.
        For example, the second halo in the dispersion is located in between the second halos
        for the excipient and the drug product, suggesting it is a mixture of the two materials.
        Additional computational analysis could be applied (16) to determine the level of
        miscibility of the two components in the dispersion.

        4.1.5 Characterization of Multi-Component Mixtures A common
        application for X-ray powder diffraction is in the characterization of multi-
        component mixtures. The technique is highly effective when used for this
        application provided the materials are structurally different (88) and fall within
        the limit of detection of XRPD. With good laboratory instrumentation and sample
        preparation methods and typical counting times, the limit of detection for XRPD can
        be on the order of 2–3% by weight, or even lower when detecting the presence of
        crystalline materials in an amorphous-crystalline mixture. In multi-component
        crystalline mixtures the limit of detection can become significantly worse,
        especially if the component being detected has no unique peaks as compared to
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        the other components in the mixture. The detection of low levels of amorphous
        material mixed with a predominately crystalline sample can be difficult and is
        a subject of ongoing research (65). XRPD can also be used to quantify the
        amount of (crystalline or amorphous) component in the mixture as the diffracted
        intensity in the pattern is related to the weight percentage of the component in the
        mixture.

        4.1.5.1 Characterization            of     Crystalline       Mixtures      (Quantitative
        Analysis) Quantitative analysis of crystalline mixtures typically refers to the
        determination of the relative amounts of different phases in a sample containing
        multiple phases (i.e., in a mixture), using experimental XRPD data. In broad terms,
        quantitative methods can be separated into those requiring the use of internal or
        external standards and ones based around the use of the full diffraction
        pattern (5,11, 14, 89, 90). The application of standards to this problem is not new,
        dating back to the 1930s (91). When using standards, it is essential to work with
        a randomly oriented fine powder specimen to avoid problems with preferred
        orientation or poor particle statistics and to be confident that the sample is
        representative of the material being analyzed (5, 14). In addition, there are
        a number of structure, instrument, and measurement-sensitive factors (14) that
        affect quantitative analysis.
           The internal standard method (92, 93) (also called the RIR method, for reference
        intensity ratio) is the most general and the most commonly used of any XRPD
        quantitative phase analysis methods in the past. It requires that a known weight
        percentage of a standard material be homogeneously mixed with the sample whose
        phase composition one is trying to determine. The method is based on dividing the
        intensity of a line (peak) of the phase whose ratio in the composition is being
        determined by the intensity of the line for the internal standard used. As such, it is
        important to choose an internal standard that has peaks that do not overlap with any
        found in the mixture itself. Examples of standards include corundum, silicon, and
        SRM 676 (Al2O3) (5). The latter is particularly good at minimizing preferred
        orientation problems. For a detailed discussion on the RIR method see for exam-
        ple, (5, 14), in recent years it has been increasingly replaced by full pattern methods
        because of difficulties in ensuring random orientation of all components in the
        mixture.
           The full pattern methods can be traced to quantitative work performed on cements
        in the 1960s (94–98). The same principles apply to pharmaceuticals with some
        modifications, the most important of which is the need to normalize the total diffracted
        intensity across different patterns before using the full pattern method. The simplest of
        such full pattern methods rely on fitting entire observed or calculated patterns of
        reference materials to an observed pattern of the mixture (5, 99). If not previously
        available, XRPD patterns of the reference (standard) materials must be first collected,
        meaning one must know the composition of the mixture beforehand. The references
        must be analyzed under the same conditions and instrumental settings as the mixture.
        When possible, the instrumental background and noise should be removed by data
        processing (100). Provided the same sample preparation techniques were used to
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        make the reference materials and the mixture(s), sample artifacts should not present as
        big a problem as for internal standard methods as the full pattern methods do not rely
        on single peaks. The weighted sum of the selected reference patterns is fit using least-
        squares minimization (e.g., (101)) to the unknown mixture. In this procedure, each
        point in the pattern is treated as an independent observation and a single weight is
        applied to each pattern, giving its ratio in the mixture. The best calculated fit is
        reported along with the weights used to obtain this pattern (5, 98, 99).
           A second commonly used full pattern quantitative method is based on the use of the
        Rietveld method (5, 14, 102). In this method, the refinement is done by minimizing the
        sum of weighted, squared differences between measured and calculated intensities at
        every 2y position in the pattern. The Rietveld method does require the knowledge of
        the crystal structure for every component (of interest) in the mixture. This method is
        applicable even in the presence of overlapping peak lines and is less sensitive to
        preferred orientation problems. However, the requirement to have at least approx-
        imate crystal structures of every component can be problematic for APIs under
        development. Some examples of Rietveld applications to quantitative analysis
        include (103–105). Freely available software, for example, TOPAS (106) or
        GSAS (107), can be used for Rietveld quantitative analysis.
           Finally, novel quantitative approaches using full pattern fitting are still an active
        area of research. Recent example include References (89, 108).

        4.1.5.2 Characterization of Crystalline-Amorphous Mixtures (Per cent
        Crystallinity) Degree (or per cent) of crystallinity is perhaps the most common
        quantitative application of XRPD in the drug development process. When the
        amorphous phase is present or suspected, XRPD can be used to characterize the
        material and determine the ratio of crystalline to amorphous material in the sample.
        Most X-ray methods used for this purpose are based on total sample scattering (i.e.,
        scattering from both the amorphous and crystalline phases). In addition, the total
        diffracted area in each measurement needs to be normalized between samples to
        account for example, weight or absorption differences across samples. Once the
        patterns are normalized, per cent crystallinity can be easily calculated as a fraction of
        crystalline content in the total diffracted intensity measured from a sample (109).
        Several methods exist to estimate the crystalline content in an XRPD pattern (65, 110):

             i. Measuring the integrated peak area under the crystalline peaks and dividing
                by the X-ray intensity scattered by the entire sample (65). This is a common
                approach that works well except when many overlapping crystalline peaks
                are present. Examples of this type of analysis can be found in,
                References (110–122).
            ii. Measuring the maximum intensity of a subset of characteristic peaks (109).
                This method can only be applied if all the samples are analyzed under the same
                conditions, there is no peak broadening due to disorder or particle size issues,
                and a reproducible ratio of intensity can be demonstrated for the chosen peaks
                across multiple samples. Typically, the use of internal standards is recom-
                mended for this method (65,109) to ensure the above conditions are met. Such
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                  internal standards can include lithium fluoride, silicon metal powder, or zinc
                  oxide. A variation on this method uses peak area rather than height (123).
                  Examples of these types of studies include References (123–129).
             iii. Quantification of the amorphous content using a region where no crystalline
                  peaks appear in the mixture pattern (130). Since the diffraction in such regions
                  is caused by short-range ordering of amorphous materials, it can be used to
                  estimate the amorphous content present in the sample. The method may be
                  more robust and sensitive than peak intensity measurements (110) though it is
                  limited to mixtures where crystalline peaks are not present in the entire range
                  of amorphous diffraction.

        Other methods for the determination of per cent crystallinity have been reported in
        literature, for example, using specialized instrument optics (131). If both amorphous
        and crystalline reference patterns are available, full pattern quantitative or semi-
        quantitative methods used in crystalline mixture analysis can be applied here as well.
        Such an example is shown in Fig. 17. Physical mixtures of amorphous and crystalline
        sucrose were prepared with known weight ratios (0%, 20%, 40%, 60%, 80%, and
        100% crystalline). The pure amorphous and pure crystalline patterns were then
        linearly fitted using Brent minimization (101) to each mixture. A single weight was
        used per reference pattern (applied to all intensity points) and the sum of squared
        differences at each intensity point was used as the error metric. All patterns were first




        FIGURE 17 XRPD quantitative analysis of physical mixtures of amorphous and crystalline
        sucrose. Top-to-bottom, amorphous sucrose, 20, 40, 60, 80 and 100% crystalline sucrose.
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        normalized to same total diffracted intensity. The calculated per cent crystallinity
        values for the 20/40/60/80 mixtures were 17.2%, 40.7%, 64.4%, 84.3%, respectively.
        In practice, this approach coupled with good XRPD data consistently yields results
        within 5% of actual values for mixtures ranging from 10 to 90% crystalline.

        4.1.5.3 Re-Crystallization of Amorphous Materials XRPD can also be used to
        monitor re-crystallization of amorphous materials. A typical application of this kind
        would be to characterize the extent of crystallinity during processing steps
        (e.g., scale-up of bulk material, formulation, manufacturing) or simply upon storage
        over the intended shelf life of the drug product, to ensure safety and efficacy (132). As
        noted earlier, amorphous materials will have different performance than crystalline
        counterparts (65,133), including for example sensitivity to moisture (134–136),
        reduced chemical stability (113,126,137), postcompression hardness (112), and
        enhanced dissolution rate (81,138).
           Figure 18 shows the monitoring of recrystallization of amorphous felodipine by
        XRPD over a 7 day period. The top pattern is pure amorphous felodipine, the
        remaining patterns were collected on the same sample stored under ambient condi-
        tions (25 C and 50% RH) after a period of 2, 3, 5, and 7 days, respectively. The
        aforementioned computational methods were used to determine per cent crystallinity
        in each pattern, with the first and last patterns used as reference amorphous and
        crystalline material, respectively. Given those assumptions, the pattern collected after




        FIGURE 18 Recrystallization of amorphous felodipine monitored by XRPD. Top-to-bottom,
        amorphous felodipine, same sample after 2, 3, 5, and 7 days in ambient conditions, respectivelly.
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        2 days is approximately 5% crystalline, followed by 11% after 3 days and 45% after 5
        days. After 7 days the sample is almost completely crystalline.

        4.1.6 Regulatory Considerations The Food and Drug Administration’s
        (FDA) New Drug Application (NDA) guideline (139) states that “appropriate”
        analytical procedures should be used to detect polymorphic, solvated (including
        hydrated), or amorphous forms of a drug substance. Likewise, the guideline states that
        it is the applicant’s responsibility to control the crystal form of the drug substance. If
        bioavailabilty is affected by the change in crystal form, the applicant must
        demonstrate the suitability of the control methods. This highlights the importance
        of controlling the crystal form of the drug substance and, as shown in previous
        sections, the use of XRPD can provide essential structural information on crystalline
        and amorphous forms of a drug substance.
            The ICH Q6A document (139) provides clear guidelines on how X-ray information
        should be used in the NDA. As noted in the section on API characterization, XRPD is
        one of two broadly accepted methods of providing unequivocal proof of polymor-
        phism by the regulatory authorities (20), the other being single crystal X-ray
        diffraction. Characterization of the API by X-ray and/or some other method is
        required by the NDA guidelines as different solid forms may have different prop-
        erties (20,140). An often-cited example is ritonavir (141), whose amorphous form is
        up to 20 times more bioavailable than the crystalline form, and which crystallized into
        a new less soluble form after 2 years on the market. XRPD is directly mentioned in the
        ICH decision trees as part of the drug application process, Fig. 19 (140,142). Some
        NDA submissions include XRPD methods on the drug substance.
            It is often necessary to establish a specification or test (e.g., XRPD or IR) to ensure
        that the proper drug form is manufactured. Failure to do so may result in the
        manufacture of different polymorphs with different properties, potentially altering
        the dosage form performance (as in the case of ritonavir). Regulatory authorities are
        aware of such challenges and expect the manufacturer to demonstrate control over the




        FIGURE 19 ICH Q6A decision tree directing characterization of the forms by X-ray powder
        diffraction (adapted by author from Reference (140)).
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        crystalline or amorphous form in the manufacturing process. Production scale-up
        requires a process be developed that can reproducibly make the desired polymorph.
        Where mixtures of forms cannot be avoided, quantitative control (e.g., using XRPD as
        outlined earlier) is typically required to ensure that the ratios between forms are
        maintained. Furthermore, this requirement may extend beyond the manufacturing
        process and through the retest date of the drug substance and potentially throughout
        the shelf life of the product, which can be a difficult requirement if the forms
        interconvert. Quantitative XRPD techniques are typically validated by following the
        ICH Q2A and Q2B guidance (139). It is therefore advantageous to select the most
        stable solid polymorph for production, determined using a process called polymorph
        screening in which XRPD plays a major role as outlined earlier. (The use of the most
        stable form would ensure that there would be no conversion into other forms).
           Certain USP monographs require the use of XRPD on the drug substance. One
        example is the carbamazepine monograph which states that the X-ray diffraction
        pattern conforms to that of USP carbamazepine RS, similarly determined (140). The
        exact method of certification used by the USP in the reference standard is not known.
        In addition, USP recommends the precision to use when comparing peak positions
        between different XRPD patterns, that is, a peak in one XRPD pattern that falls within
        the USP-specified range of a peak in the other pattern is to be considered the same.
        That precision has varied from 0.1 to 0.2  2y, depending on the year of USP issue (24).
           XRPD has been identified as a unique tool for drug substance and/or product
        analysis that can directly contribute to FDA’s “quality by design” initiative. In
        addition, this tool can help improve the time to market by providing information
        regarding the structure of the molecule early on in the development process. Finally,
        XRPD methods can be used to ensure the drug product and/or substance is consistent
        and has the same identity, purity, and potency (140).


        4.2   API Identification
        4.2.1 Analysis of a Drug Product XRD is frequently applied to the analysis of
        a drug product. A simple XRD method used for this purpose might involve the
        following steps (140):

          1. Determination of the XRD patterns of all solid components in the drug product.
          2. Selection of a region or regions in 2y where only the polymorph of interest
             (analyte) diffracts.
          3. Preparation of reference physical mixtures containing all API forms as well as
             excipients.
          4. Development of computational/mathematical methods.
          5. Validation of the method following the ICH Q2A and Q2B methods.
          6. Application of the method.

        Chemometric (PLS) methods (143–146) may also be used to increase sensitivity
        and lower the detection limit. Such analytical XRD methods can have a variety of
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        applications ranging from online process monitoring to support in litigation of drug
        product counter-fitting.
            One example of the above approach that also includes quantitative analysis of the
        active ingredient is the XRD method developed by Suryanarayanan (147). The method
        was applied to intact tablets and required preparation of mixtures containing various
        weight fractionsofthedrugandexcipient.Thequantitativeanalysisreliedonidentifying
        integratedintensitiesofseveral diffraction linesforeach compoundandcalculatingtheir
        ratios as a function of the weight loading of the drug in the tablet. The reported error for
        the method was less than 10% for a drug loading of 40% weight-in-tablet.

        4.2.2 Monitoring Effects of Processing and Manufacturing on the
        API XRD has been used to study the effects of processing and manufacturing
        on the solid form of an API. Many of the previously mentioned XRPD methods used
        for API characterization can also be applied for this purpose.
           For example, the antiviral drug MCC-478, known to exist in several anhydrous
        polymorphic forms as well as a hydrate, was studied in tablet formulation using
        XRD (148). The XRD patterns of the tablets containing the various forms of the MCC-
        478 revealed at least one peak unique to each form—generally a prerequisite for this
        type of work. A semi-quantitative method was developed to characterize the physical
        form of the API in intact film-coated tablets despite the relatively low weight loading
        of the API (<20%) in the tablet that also contained a highly crystalline excipient,
        mannitol, in much greater proportion (60%). The use of this method confirmed that the
        aqueous film-coating process did not change the form of the API. Furthermore, the
        same method was used to verify that the API form remained stable (unchanged) over 6
        months under accelerated aging conditions (40 C/75% RH). Therefore, the XRD
        method found application not only for process control during manufacturing, but also
        for the quality control of the final product.
           With increased emphasis by regulatory authorities on understanding and control-
        ling production processes, the implementation of online XRD methods as part of
        Process Analytical Technology (PAT) is gaining momentum (140). Production
        processes that are well understood and controlled are considered to be lower risk
        than those that have not been subject to PAT. It should be noted that spectroscopic
        methods (NIR, IR, Raman) are also frequently used to monitor polymorphic
        conversion during processing. Each method has its advantages and disadvantages
        but typically XRD methods are capable of analyzing the largest sample volume
        simultaneously and have been used extensively for this purpose in the cement,
        gypsum and catalyst industries.
           An example application of XRD online monitoring was a study of polymorphic
        conversion during wet granulation (140,149). Wet granulation is a size enlargement
        process that uses a binder and water to form larger agglomerates, potentially causing
        phase transformations during the water addition step. Two enantiotropically related
        forms of flufenamic acid were monitored with a transition temperature of 42 C. XRD
        was able to identify the form present at various steps of the process.
           Online XRD methods used to monitor crystallization of a drug substance have been
        the subject of extensive research (e.g., Reference (150)). Online processing cells have
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        been developed for the examination of temperature-dependant polymorphic changes
        in pharmaceutical materials using in situ XRD. Such cells can recirculate the
        crystallizing solution and monitor the changes by XRD.

        4.2.3 Intellectual Property Considerations XRPD is frequently used to
        identify and/or characterize new materials in patent application filings. Typically,
        a list of XRPD peak positions is provided, listing 2y and/or d-space position and
        relative (to maximum) intensity of crystalline peaks. Estimated experimental errors in
        position (2y and/or d-space) may be provided, often adopted from the USP (24). It is
        important to remember that aforementioned instrumental and sample artifacts can and
        do affect peak positions and intensities. Therefore, providing strict limits on peak
        positions or relying on intensity information in patent claims yields data that are too
        narrowly defined. A skilled patent practitioner should therefore be consulted on how
        best to incorporate solid-state data into a patent application.
           The XRPD peak listings may include a list of all observed peaks that can be
        visually identified above the noise level in the pattern (typically determined through
        an intensity threshold). However, since it is unlikely that all such peaks will be
        reproduced in every XRPD pattern of the material, a subset of low angle, non-
        overlapping peaks with strong intensity (10% or more of maximum observed peak
        intensity) may be included as peaks “representative” of the material. In this case, it is
        helpful to have access to XRPD data collected on more than one type of diffractometer
        geometry in order to assess the reproducibility of peak intensities, which can
        frequently be affected by for example, preferred orientation and poor particle
        statistics in a sample.
           Where materials exhibit polymorphism and multiple forms are found, it is
        typical to provide a listing of characteristic (unique) peaks that differentiate one
        form of a material from all the other known forms of the same material. For different
        salts or co-crystals where the material can be differentiated chemically, this
        consideration may be less important but it still applies to polymorphs of a given
        salt/cocrystal.


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                             EXHIBIT H
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          Preparation, characterization and in vitro release kinetics of
                       clozapine solid lipid nanoparticles
                               Vobalaboina Venkateswarlu *, Kopparam Manjunath
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                                              Received 15 September 2003; accepted 7 January 2004



    Abstract

        Clozapine, a lipophilic antipsychotic drug, has very poor oral bioavailability ( < 27%) due to first pass effect. Solid lipid
    nanoparticle (SLN) delivery systems of clozapine have been developed using various triglycerides (trimyristin, tripalmitin and
    tristearin), soylecithin 95%, poloxamer 188 and charge modifier stearylamine. Hot homogenization of melted lipids and
    aqueous phase followed by ultrasonication at temperature above the melting point of lipid was used to prepare SLN dispersions.
    Particle size and zeta potential were measured by photon correlation spectroscopy (PCS) using Malvern Zetasizer. Process and
    formulation variables have been studied and optimized. Differential scanning calorimetry (DSC) and powder X-ray diffraction
    (PXRD) studies were performed to characterize state of drug and lipid modification. In vitro release studies were performed in
    0.1 N HCl, double-distilled water and phosphate buffer, pH 7.4, using modified Franz diffusion cell. Stable SLN formulations
    of clozapine having mean size range of 60 – 380 nm and zeta potential range of 23 to + 33 mV were developed. More than
    90% clozapine was entrapped in SLN. DSC and PXRD analysis showed that clozapine is dispersed in SLN in an amorphous
    state. The release pattern of drug is analyzed and found to follow Weibull and Higuchi equations.
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    Keywords: Solid Lipid Nanoparticles; Clozapine; DSC; PXRD; Release kinetics




    1. Introduction                                                            release of lipophilic drugs like camptothecin [2]. It was
                                                                               reported that Idarubicin-loaded SLN acted as a pro-
        Since a decade, trials are being made to utilize solid                 longed release system after duodenal administration to
    lipid nanoparticles (SLN) as alternative drug delivery                     rats [3]. Clozapine is described as an atypical antipsy-
    system to colloidal drug delivery systems such as lipid                    chotic agent because it is effective in the treatment of
    emulsions, liposomes and polymeric nanoparticles.                          both positive and negative symptoms of schizophrenia
    SLN combines the advantages of different colloidal                         and has low extrapyramidal side effects. However, the
    carriers and also avoids some of their disadvantages.                      use of clozapine has been severely limited by the
    SLN can be used to improve the bioavailability of                          occurrence of agranulocytosis in a small percentage
    drugs, e.g. cyclosporine A [1], and to obtain sustained                    of population. Clozapine, a lipophilic drug, is rapidly
                                                                               absorbed orally with a bioavailability of 0.27 [4].
       * Corresponding author. Tel.: +91-870-2446259 (office),                    DSC and PXRD analysis are used to investigate
    2438752 (residence); fax: +91-870-2438844.                                 the crystalline structure of the SLN and drug. Char-
       E-mail address: vobala@yahoo.com (V. Venkateswarlu).                    acterization of degree of lipid crystallization and lipid

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     modification are helpful in understanding the drug                in 10 ml of mixture of chloroform and methanol
     incorporation and release pattern. Fewer data are                 (1:1). Organic solvents were completely removed
     available on drug release from SLN in the literature              using Buchi rotoevaporator (400 mbar, 60 jC).
     [2,5 – 8]. In vitro drug release studies are important to         Nitrogen was blown on to the lipid layer for 30
     understand the in vivo performance of the dosage                  min to remove traces of vapors of organic solvents if
     form. Drug release studies help in evaluation of                  any. Drug embedded lipid layer was melted by
     sustained and prolonged release dispersion systems.               heating at 5 jC above melting point of the lipid.
     In the present work, clozapine solid lipid nanopar-               An aqueous phase was prepared by dissolving polox-
     ticles are developed and characterized for crystallinity          amer 188 (200 mg) in double-distilled water (suffi-
     of drug and lipids. Effect of lipids, percentage of               cient to produce 20 ml of the preparation) and heated
     poloxamer 188 and charge modifier, stearylamine,                  to same temperature of the molten lipid phase. Hot
     on drug release are studied. Much attention is given              aqueous phase was added to molten lipid phase and
     to investigate release kinetics of clozapine from SLN.            homogenization was carried out (at 6000 rpm and
                                                                       temperature maintained 5 jC above the melting point
                                                                       of the lipid) with the help of Diax 900 homogenizer
     2. Materials and methods                                          (Heidolph, Germany) for 3 min. Coarse hot oil in
                                                                       water emulsion so obtained was ultrasonicated (12T-
     2.1. Materials                                                    probe) using Sonopuls ultrahomogenizer (Bandelin,
                                                                       Germany) for 25 min. Clozapine solid lipid nano-
        Clozapine was a kind gift from SPARC, Baroda,                  particles (CLZ) were obtained by allowing hot nano-
     India. Trimyristin (TM) (Dynasan 114), tripalmitin                emulsion to cool to room temperature. Stearylamine
     (TP) (Dynasan 116) and tristearin (TS) (Dynasan                   or dicetyl phosphate was used as surface charge
     118) were generously supplied by Sasol Germany.                   modifier of CLZ and was incorporated along with
     Soy phosphatidylcholine 95% (Epikuron 200) was                    lipids. Blank solid lipid nanoparticles (BL) were
     donated by Degussa Texturant Systems, Deutschland,                prepared in a similar way without drug. Blank and
     Hamburg. Poloxamer 188 (Pluronic F 68) and dialysis               clozapine solid lipid nanoparticles prepared with
     membrane-70 were purchased from HiMedia, India.                   trimyristin, tripalmitin and tristearin are abbreviated
     Stearylamine and dicetyl phosphate were obtained                  as BL-TM, BL-TP, BL-TS, CLZ-TM, CLZ-TP and
     from Sigma (St. Louis, MO, USA). Centrisart filters               CLZ-TS, respectively.
     (molecular weight cutoff 20,000) were purchased
     from Sartorius, Goettingen, Germany. The other                    2.4. Measurement of size and zeta potential of SLN
     chemicals were of analytical reagent grade.
                                                                          Size and zeta potential of SLN were measured by
     2.2. Partitioning behaviour of clozapine in various               photon correlation spectroscopy (PCS) using Mal-
     lipids                                                            vern Zetasizer. Samples were diluted appropriately
                                                                       with the aqueous phase of the formulation for the
        Ten milligrams of clozapine was dispersed in a                 measurements.
     mixture of melted lipid (1 g) and 1 ml of hot distilled
     water and shaken for 30 min in a hot water bath.                  2.5. Assay and entrapment efficiency
     Aqueous phase was separated after cooling by ul-
     tracentrifugation with the help of Centrisart and ana-               Formulation (0.2 ml) was diluted to 10 ml with
     lyzed for drug content by HPLC.                                   chloroform/methanol (1:1). Final dilution was made
                                                                       with mobile phase and clozapine content was deter-
     2.3. Preparation of clozapine solid lipid nanopar-                mined by HPLC.
     ticles by hot homogenization technique
                                                                       2.5.1. Entrapment efficiency
       Clozapine (40 mg), triglyceride (400 mg) and                       The entrapment efficiency of the drug was deter-
     phosphatidylcholine 95% (200 mg) were dissolved                   mined by measuring the concentration of free drug in
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    the dispersion medium. Ultracentrifugation was car-                 2.8. Characterization by differential scanning calo-
    ried out using Centrisart, which consist of filter                  rimetry
    membrane (molecular weight cutoff 20,000 Da) at
    the base of the sample recovery chamber. About 1 ml                    DSC analysis was performed using Mettler DSC
    of undiluted sample of CLZ was placed in the outer                  822e/200 (Mettler Toledo). The instrument was cali-
    chamber and the sample recovery chamber placed on                   brated with indium (calibration standard, purity
    top of the sample. The unit was centrifuged at 3500                 >99.999%) for melting point and heat of fusion. A
    rpm for 15 min. The solid lipid nanoparticles along                 heating rate of 10 jC/min was employed in the range
    with encapsulated drug remained in the outer chamber                of 20 – 220 jC. Analysis was performed under a
    and aqueous phase moved into the sample recovery                    nitrogen purge (50 ml/min). A standard aluminum
    chamber through filter membrane. The amount of the                  sample pans (40 Al) were used. About 10 mg sample
    clozapine in the aqueous phase was estimated by                     was taken for analysis. An empty pan was used as
    HPLC.                                                               reference.
                                                                           Preparation of mixtures of SLN components for
    2.5.2. Statistical analysis                                         thermal analysis:
       Size and entrapment efficiency of SLNs with and
    without stearylamine were compared using the Stu-                   (i) Physical mixtures (PM) of clozapine and trigly-
    dent’s t-test. Statistical analyses were performed using                 cerides (trimyristin, tripalmitin and tristearin).
    statistical package for social sciences (SPSS version               (ii) Mixtures obtained by solvent evaporation (SM)—
    11.0).                                                                   clozapine and triglyceride were dissolved in a
                                                                             mixture of chloroform and methanol (1:1) and the
    2.5.3. HPLC analysis of clozapine                                        solvents were removed by rotoevaporation.
       The chromatographic system consisted of a Shi-
    madzu LC-10AT solvent delivery pump equipped                           The ratios of clozapine to triglyceride were similar
    with a 20-Al loop and rheodyne sample injector.                     to that of weight ratios in SLN formulation. PM, SM,
    Wakosil II 5C18RS (SGE) (25 cm  4.6 mm ID)                         lyophilized CLZ, clozapine and triglycerides were
    analytical column was used. Detector used was                       subjected to same thermal cycles.
    SPD-10A VP dual wavelength UV –Visible detector
    (Shimadzu) operated at 254 nm. Mobile phase was                     2.9. Powder X-ray diffractometry (PXRD)
    methanol/water/triethylamine (65:35:0.5); pH was ad-
    justed to 6.5 with glacial acetic acid and flow rate was               Powder X-ray diffractometer, Siemen’s D-5000
    kept at 1 ml/min. The data was recorded using                       (Germany), was used for diffraction studies. PXRD
    Winchrome software.                                                 studies were performed on the samples by exposing
                                                                        them to CuKa radiation (40 kV, 30 mA) and scanned
    2.6. Stability studies                                              from 2j to 70j, 2h at a step size of 0.045j and step
                                                                        time of 0.5 s. Samples used for PXRD analysis were
       Clozapine SLNs of different triglycerides with and               same as those of DSC analysis.
    without stearylamine (1% poloxamer 188) were stored
    at 25 jC for 6 months and average size and entrap-                  2.10. In vitro release kinetics of clozapine from SLN
    ment efficiency were determined.
                                                                           In vitro release studies were performed using
    2.7. Effect of sterilization                                        modified Franz diffusion cell. Dialysis membrane
                                                                        having pore size 2.4 nm, molecular weight cutoff
       To see the effect of sterilization on particle size,             between 12,000 –14,000, was used. Membrane was
    zeta potential and entrapment efficiency, BL and                    soaked in double-distilled water for 12 h before
    CLZ dispersions (with and without charge modifier,                  mounting in a Franz diffusion cell. CLZ formulation
    stearylamine, in the formulation) were autoclaved at                (1 ml) was placed in the donor compartment and the
    121 jC for 20 min.                                                  receptor compartment was filled with dialysis medium
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     (0.1 N HCl or phosphate buffer, pH 7.4, or double-                 shown in Fig. 1. In all the formulations, optimum size
     distilled water of pH 7.0) (12 ml). At fixed time                  (224.8– 266.3 nm) was obtained at 1% poloxamer
     intervals, 100 Al of the sample was withdrawn from                 concentration. In the presence of stearylamine
     receiver compartment through side tube. Fresh dou-                 (0.05%), the particle size range was still reduced,
     ble-distilled water was placed to maintain constant                i.e. 60.4 –103.1 nm in case of BL and 96.7– 163.3
     volume. Samples were analyzed by HPLC method as                    nm in case of CLZ (Table 1).
     described above.                                                       Size and zeta potential of BL and CLZ, with and
                                                                        without stearylamine, were shown in Table 1. BL
                                                                        possess negative zeta potential whereas zeta potential
     3. Results and discussions                                         shifted to positive sign in CLZ. This might be due to
                                                                        orientation of clozapine (having four basic nitrogen
     3.1. Partitioning behaviour of clozapine                           atoms in its structure) on to the surface of SLN. To
                                                                        alter the zeta potential, stearylamine and dicetyl phos-
         Calibration curve ( y = 305827x 44681, R2 =                    phate were included in the formulation individually.
     0.9989) of clozapine was used to calculate the con-                As the concentration of stearylamine increased from
     centration of clozapine in the aqueous phase. Partition            0.05% to 0.3%, zeta potential was increased from
     coefficients (ratio of the amount of clozapine in lipid            33.2 F 0.6 to 39.6 F 0.3 in case of CLZ-TM. Addition
     to the amount of clozapine in aqueous phase) obtained              of stearylamine (0.05%) in BL and CLZ altered zeta
     w e r e 2 8 .4 F 1 . 9 1, 6 6 .1 F 4. 6 5, 7 7 .0 F 1. 4 7,        potential to positive sign in all three lipid-based SLNs
     224.9 F 6.7, 274.6 F 9.4 and 283.5 F 8.2 for glycerol              (Table 1). It clearly indicates the participation of
     monostearate (imwitor 900), stearicacid, tribehenin                stearlyamine around the SLN along with the phos-
     (compritol 888), TM, TS and TP, respectively. Trigly-              phatidlycholine and poloxamer 188. BL containing
     cerides (TM, TS and TP) in which clozapine exhibited               dicetylphosphate was stable (size 109 F 8.2 nm and
     higher partition coefficients were selected for prepa-             zeta potential      30.3 F 4.2 mV). CLZ containing
     ration of SLN. Highest partition coefficient was ob-               0.05 – 0.1% of dicetylphosphate became gel within 2
     served with TP.                                                    days whereas 0.2 – 0.3% dicetylphosphate formula-
                                                                        tions became gel within 12 h. This may be due to
     3.2. Preparation of SLN                                            ionic interaction between clozapine and dicetylphos-

        SLN have been prepared by various researchers
     using different methods [9 –12]. In the present study,
     we have developed an economical, simple and repro-
     ducible method for the preparation of SLN, i.e.
     homogenization followed by ultrasonication at above
     the melting point of the lipid. To disperse the cloza-
     pine homogeneously in the lipid, solvent system
     chloroform/methanol (1:1) was used. Homogenization
     time was optimized to 3 min. There was no decrease
     in particle size with further increase in homogeniza-
     tion time. To reduce the particle size below 1 Am,
     probe ultrasonicator was used. A 25-min sonication
     was necessary to obtain solid lipid nanoparticles in the
     range of 60– 380 nm with narrow size distribution.

     3.3. Measurement of size and zeta potential
                                                                        Fig. 1. Effect of poloxamer 188 concentration (0.5%, 1.0% and
        Sizes of drug-loaded SLN of different triglycerides,            1.5%) on particle size of clozapine SLNs of different triglycerides
     with different percentages of poloxamer 188, were                  (trimyristin, tripalmitin and tristearin).
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    Table 1
    Average size and zeta potential of SLNs of different triglycerides with and without stearylamine (1% poloxamer 188) (mean F S.D., n = 3)
    Triglyceride     Size (nm)                                                              Zeta potential (mV)
                     Without stearylamine              With stearylamine                    Without stearylamine        With stearylamine
                     BL               CLZ              BL                  CLZ              BL              CLZ         BL          CLZ
    Trimyristin      145.1 F 4.3      224.8 F 4.2      103.1 F 7.5*        150.2 F 1.5**       23.7 F 1.5   1.1 F 0.4   4.3 F 3.8   33.2 F 0.6
    Tripalmitin      111.8 F 0.8      233.3 F 13.4      60.4 F 6.6**       163.3 F 0.7**       29.0 F 6.0   0.2 F 0.1   4.5 F 0.4   23.2 F 0.9
    Tristearin       152.0 F 4.0      266.3 F 8.9       70.8 F 5.4**        96.7 F 3.8**       22.9 F 1.0   4.1 F 0.3   6.3 F 0.4   21.3 F 1.3
     Statistical significances with stearylamine versus without stearylamine are **p < 0.001, *p < 0.01.



    phate leading to gelation. This gel formation is spe-                        after 6 months of storage at 25 jC (Table 3). Tran-
    cific to drug.                                                               sitions of dispersed lipid from metastable forms to
                                                                                 stable form might occur slowly on storage due to
    3.4. Assay and entrapment efficiency                                         small particle size and the presence of emulsifier that
                                                                                 may lead to drug expulsion from solid lipid nano-
       Assay results showed that concentration of cloza-                         particles [13 – 15]. Therefore lowered entrapment ef-
    pine in the total system ranges from 1.92 to 1.98 mg/                        ficiency observed on storage may be due to drug
    ml for different formulations. As shown in Table 2                           expulsion during lipid modification.
    and Fig. 2, as the percentage of poloxamer 188
    increased entrapment efficiency was decreased mar-                           3.6. Effect of sterilization
    ginally. This may be due to increased solubility of
    clozapine in the aqueous phase as the percentage of                             Effect of sterilization on particle size, zeta potential
    poloxamer 188 increased.                                                     and entrapment efficiency was shown in Table 4. In
                                                                                 all three lipid-based SLNs, size of the particles in-
    3.5. Stability data                                                          creased almost two to three times after sterilization.
                                                                                 Zeta potential was shifted from positive to negative in
       After 6 months storage at 25 jC, increase in size of                      all the SLNs. In the literature it was shown that
    SLN ranged from 40.3 to 78.9 nm. Entrapment
    efficiencies of SLNs of different triglycerides with
    and without stearylamine were lowered by 1.4– 3.5%


    Table 2
    Entrapment efficiency of clozapine SLNs of different triglycerides
    with and without stearlyamine (mean F S.D., n = 3)
    SLN        Percentage of Entrapment efficiency (%)
               poloxamer     Without stearylamine With stearylamine
    CLZ-TM 0.5                 97.2 F 0.16                 –
           1.0                 94.2 F 0.32            98.8 F 0.13**
           1.5                 89.7 F 0.45                 –
    CLZ-TP 0.5                 95.5 F 0.22                 –
           1.0                 93.6 F 0.31            98.5 F 0.15**
           1.5                 93.4 F 0.20                 –
    CLZ-TS 0.5                 95.1 F 0.19                 –
           1.0                 94.1 F 0.26            96.5 F 0.23**
           1.5                 93.4 F 0.35                 –                     Fig. 2. Effect of poloxamer 188 concentration (0.5%, 1.0% and
    Statistical significances with stearylamine versus without stearyl-          1.5%) on entrapment efficiency of clozapine SLNs of different
    amine are **p < 0.001.                                                       triglycerides (trimyristin, tripalmitin and tristearin).
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     Table 3
     Effect of time of storage (at 25 jC) on particle size and entrapment efficiency of SLNs of different triglycerides (trimyristin, tripalmitin and
     tristearin) with and without stearylamine (1% poloxamer) (mean F S.D., n = 3)
     SLN                    Size (nm)                                                                       Entrapment efficiency (%)
                            0 day                      1 month                      6 months                Zero day                    6 months
     Without stearylamine
     CLZ-TM               224.8 F 4.2                  232.9 F 8.0                  265.1 F 9.5             94.2 F 0.32                 92.4 F 0.41
     CLZ-TP               233.3 F 13.4                 249.8 F 4.4                  289.4 F 10.4            93.6 F 0.31                 91.2 F 0.29
     CLZ-TS               266.3 F 8.9                  291.5 F 7.1                  326.5 F 12.1            94.1 F 0.26                 90.6 F 0.33

     With stearylamine (0.05%)
     CLZ-TM                150.2 F 1.5                 164.5 F 5.7                  198.5 F 7.4             98.8 F 0.13                 97.3 F 0.24
     CLZ-TP                163.3 F 0.7                 178.9 F 8.6                  224.3 F 11.2            98.5 F 0.15                 96.4 F 0.29
     CLZ-TS                 96.7 F 3.8                 123.5 F 9.7                  175.6 F 23.4            96.5 F 0.23                 93.7 F 0.36



     autoclaving was possible in case of lecithin stabilized                        TS) stabilized with phosphatidylcholine and polox-
     SLNs. However, autoclaving was not suitable for                                amer 188.
     SLNs stabilized with poloxamer series (sterically
     stabilizing polymers) due to partial collapse of poly-                         3.7. Differential scanning calorimetry
     mer adsorption layer during autoclaving leading to
     particle aggregation [16]. We have prepared SLNs                                   Fig. 3a shows DSC curves of clozapine, trimyr-
     stabilized with 95% phosphatidlycholine and polox-                             istin, PM and SM of clozapine with trimyristin and
     amer 188 whose particle size was increased two to                              lyophilized CLZ-TM. The thermograms of the ly-
     three times after autoclaving, still they were in nano-                        ophilized CLZ-TM and SM did not show the
     meter range. It was found that sterilization by auto-                          melting peak for the clozapine around 184 jC.
     claving has least effect on entrapment efficiency                              This shows that clozapine was not in crystalline
     (Table 4). Therefore, sterilization by autoclaving can                         state. However, this was confirmed by the presence
     be performed for SLNs of triglycerides (TM, TP and                             of melting peak of clozapine in the PM. Endother-


     Table 4
     Effect of sterilization on particle size, zeta potential and entrapment efficiency of SLNs with and without stearylamine (1% poloxamer)
     (mean F S.D., n = 3)
     SLN               Size (nm)                                     Zeta potential (mV)                        Entrapment efficiency (%)
                       Before                After                   Before                 After               Before                  After
     Without stearylamine
     BL-TM            145.1 F 4.3            362.7 F 4.6               23.7 F 1.5              29.2 F 0.8            –                       –
     CLZ-TM           224.8 F 4.2            515.7 F 29.4              1.1 F 0.4                3.9 F 0.7       94.2 F 0.32             89.8 F 0.45
     BL-TP            111.8 F 0.8            282.8 F 4.7               29.0 F 6.0              29.1 F 0.4            –                       –
     CLZ-TP           233.3 F 3.4            535.7 F 30.4               0.2 F 0.1               5.7 F 1.8       93.6 F 0.31             88.1 F 0.39
     BL-TS            152.0 F 4.0            310.0 F 3.8               22.9 F 1.0              25.7 F 0.3            –                       –
     CLZ-TS           266.3 F 8.9            615.6 F 35.4               4.1 F 0.3               4.3 F 1.8       94.1 F 0.26             90.2 F 0.47

     With stearylamine
     BL-TM             103.1 F 7.5           240.2 F 9.5                4.3 F 3.8               9.4 F 0.4            –                       –
     CLZ-TM            150.2 F 1.5           289.0 F 10.3              33.2 F 0.6               6.0 F 0.1       98.8 F 0.13             94.8 F 0.32
     BL-TP              60.4 F 6.6           174.5 F 5.6                4.5 F 0.4               1.3 F 0.1            –                       –
     CLZ-TP            163.0 F 5.4           353.7 F 3.1               23.2 F 0.9               0.7 F 0.6       98.5 F 0.15             91.7 F 0.41
     BL-TS              70.8 F 5.4           190.8 F 16.6               6.3 F 1.6               4.9 F 0.4            –                       –
     CLZ-TS             96.7 F 3.8           287.4 F 10.5              21.3 F 1.3               7.2 F 0.9       96.5 F 0.23             92.6 F 0.46
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                                                                             state. Similar results were reported by Cavalli et al.
                                                                             [17,18] stating that rapid quenching of the micro-
                                                                             emulsion does not allow the drug to crystallize.
                                                                             DSC analysis of camptothecin SLN prepared by
                                                                             high pressure homogenization showed that campto-
                                                                             thecin was in amorphous state [20]. In our method,
                                                                             lipids and clozapine were dissolved in a mixture of
                                                                             solvents and, subsequently, solvents were evaporat-
                                                                             ed. This allowed homogeneous dispersion of drug
                                                                             in the lipid. Furthermore, method of preparation
                                                                             (homogenization followed by ultrasonication) and
                                                                             the presence of surfactants could not allow the
                                                                             drug to crystallize. Thermodynamic stability of lipid
                                                                             nanoparticles depends upon their existing lipid
                                                                             modification. Polymorphic transitions after crystalli-
                                                                             zation of triglyceride nanoparticles are slower for
                                                                             longer chain triglycerides than for shorter chain
                                                                             triglycerides [21], whereas these transitions are
                                                                             faster for small size of crystallites [22]. The type
                                                                             of surfactant and storage time affects the crystallin-
                                                                             ity of SLN and, consequently, degradation velocity
                                                                             [1]. Degree of crystallinity of lyophilized SLN was


                                                                             Table 5
                                                                             Melting peaks, enthalpies and crystallinity of bulk tryglycerides,
                                                                             PMs, SMs and lyophilized SLN
                                                                                         Parameter       Bulk     PM       SM      Lyophilized
                                                                                                                                   SLN
                                                                             Trimyristin Melting peak     57.56    57.92    57.45 55.46
                                                                                         (jC)
                                                                                         Enthalpy        174.85 156.67 154.41       6.58
                                                                                         (J/g)
                                                                                         Crystallinity   100       99.5     98.12 64.3
                                                                                         (%)
                                                                             Tripalmitin Melting peak     65.08    65.09    65.66 62.83
    Fig. 3. Overlaid DSC thermograms: clozapine (A), (a) trimyristin
                                                                                         (jC)
    (B), physical mixture of clozapine and trimyristin (C), solvent
                                                                                         Enthalpy        209.26 185.91 164.45       8.20
    evaporated mixture of clozapine and trimyristin (D) and lyophilized
                                                                                         (J/g)
    clozapine SLN of trimyristin (E). (b) Tripalmitin (B), physical
                                                                                         Crystallinity   100       98.71    87.3   66.9
    mixture of clozapine and tripalmitin (C), solvent evaporated mixture
                                                                                         (%)
    of clozapine and tripalmitin (D) and lyophilized clozapine SLN of
                                                                             Tristearin  Melting peak     72.94    72.69    73.43 68.76
    tripalmitin (E). (c) Tristearin (B), physical mixture of clozapine and
                                                                                         (jC)
    tristearin (C), solvent evaporated mixture of clozapine and tristearin
                                                                                         Enthalpy        192.28 170.8      157.83 11.10
    (D) and lyophilized clozapine SLN of tristearin (E).
                                                                                         (J/g)
                                                                                         Crystallinity   100       98.69    91.2   98.6
                                                                                         (%)
    mic peak of glucose used as cryoprotectant was
    observed at 148.5 jC in CLZ-TM curve. There was                          Physical mixture (PM) and solvent evaporated mixture (SM)
                                                                             contain 90% triglyceride; Lyophilized SLN contains 5.85%
    no melting peak for clozapine in lyophilized CLZ-                        triglyceride. Degree of crystallinity of PM, SM and lyophilized
    TP and CLZ-TS also. This suggests that clozapine                         SLN was calculated by comparing their enthalpy with enthalpy of
    was not in crystalline state but it is in amorphous                      bulk triglycerides.
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     calculated by comparing enthalpy of SLN with                                This melting point depression can be attributed to
     enthalpy of bulk lipid according to Mulhen et al.                           the Kelvin effect [24].
     [7] and Freitas and Muller [23]. Enthalpy of bulk
     lipid is being taken as 100%. Enthalpy of SLN was                           3.8. Powder X-ray diffractometry (PXRD)
     calculated on the basis of total weight taken.
     Crystallinity of SLNs was in the following order:                               Overlaid PXRD patterns of clozapine, triglyceride,
     CLZ-TS (98.6%)>CLZ-TP (66.9%)>CLZ-TM                                        PM and SM of clozapine with triglycerides and
     (64.3%). Melting points of triglycerides TM, TP                             lyophilized CLZ of triglyceride were shown in Fig.
     and TS in SLN form were depressed when com-                                 4a and b. PXRD pattern of clozapine exhibits sharp
     pared to melting points of corresponding bulk                               peaks at 2h scattered angles 10.5, 17.4, 19.4, 19.7 and
     triglycerides (Table 5). This suggests that triglycer-                      23.7 indicates crystalline nature. In PMs and SMs of
     ides in SLNs might be in the h form. Mulhen et al.                          all three types of triglycerides, decreased peak inten-
     [7] reported that compritol in SLN was h or hI                              sities were observed at 2h scattered angles 10.5 and
     form. This melting point depression might be due                            17.4 for clozapine. This shows that degree of crystal-
     to small particle size (nanometer range), their high                        linity of clozapine reduced in PMs and SMs. Howev-
     specific surface area and the presence of surfactant.                       er, there were no characteristic peaks for clozapine in
     This was confirmed by PMs and SMs where such                                lyophilized CLZ of triglycerides. This suggests that
     type of melting point depression was not found.                             clozapine was not in crystalline form in SLNs. PXRD




     Fig. 4. Overlaid PXRD patterns: clozapine (A), (a) trimyristin (B), physical mixture of clozapine and trimyristin (C), solvent evaporated mixture
     of clozapine and trimyristin (D) and lyophilized clozapine SLN of trimyristin (E). (b) Tripalmitin (B), physical mixture of clozapine and
     tripalmitin (C), solvent evaporated mixture of clozapine and tripalmitin (D) and lyophilized clozapine SLN of tripalmitin (E).
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    Fig. 5. Effect of triglycerides (trimyristin (TM), tripalmitin (TP) and tristearin (TS)) on in vitro release of clozapine from SLNs of different
    triglycerides at three different concentrations of poloxamer 188, (a) 0.5%, (b) 1.0% and (c) 1.5%, in the formulation of SLN. Double-distilled
    water was used as dialysis medium.


    pattern of TM shows sharp peaks at 2h scattered                             2.4 nm) were used in our study. Dialysis membrane
    angles 2.6, 34.4, 42.8 and 47.8; these characteristic                       retained nanoparticles and allowed the transfer of the
    peaks were observed in PM, SM and lyophilized                               drug immediately into the receiver compartment. Fig.
    CLZ-TM indicating that TM was in crystalline state.                         5a shows the percentage release of clozapine from
    Similarly, TP and TS were present in crystalline state                      CLZ-TM, CLZ-TP and CLZ-TS (with 0.5% of polox-
    in PMs, SMs and lyophilized clozapine SLNs. Degree                          amer 188 in the formulations). Similarly, Fig. 5b and c
    of crystallinity was compared on the basis of peak                          shows clozapine release with 1% and 1.5% poloxamer
    intensity. Degree of crystallinity of triglycerides of                      188, respectively. Percentage of clozapine released
    TM, TP and TS was more in case of PM than                                   from SLNs up to 48 h were in the following order:
    corresponding SM. Similar trend was observed in                             CLZ-TP (17.65, 21.42 and 15.32 for 0.5%, 1% and
    DSC studies (Table 5).                                                      1.5% of poloxamer 188, respectively) < CLZ-TS (24.5,
                                                                                26.38 and 24.04) < CLZ-TM (27.83, 50.95 and 31.09).
    3.9. In vitro release kinetics of clozapine from SLN                        There exists an inverse relation between the percent
                                                                                drug released and partition coefficient of clozapine.
       Many research groups used vertical or flow-through                       SLNs containing 1% poloxamer 188 (possess more
    Franz diffusion cells and dialysis bag/tubes for the                        surface area due to small particle size, Fig. 1) showed
    study of drug release from solid lipid and polymeric                        highest percent release than SLNs containing 0.5% and
    nanoparticles and niosomes [19,24 –29,31]. Modified                         1.5% poloxamer 188. The slow release of clozapine
    Franz diffusion cells with dialysis membrane (pore size                     from SLN suggests that clozapine homogeneously




    Fig. 6. In vitro release of clozapine from SLNs without and with stearylamine (0.05%) in case of (a) trimyristin SLN, (b) tripalmitin SLN and (c)
    tristearin SLN. Double-distilled water was used as dialysis medium.
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     Table 6
     Nonlinear fits of clozapine released from SLNs with and without stearylamine
     SLN         Percentage of     Equations                                                                          R2
                 poloxamer         First order, ln( Q0   Q)    Higuchi, Q vs. Mt        Weibull, ln ln{1/(1    Q)}    First order   Higuchi    Weibull
                                   vs. t                                                vs. ln t
     Without stearylamine
     CLZ-TM 0.5                    y=    0.0071x + 0.1441      y = 0.054x 0.2560        y = 0.7241x   3.5917          0.9525        0.9915     0.9920
                 1.0               y=    0.0138x + 0.1139      y = 0.0852x 0.0433       y = 0.7343x   3.092           0.9860        0.9804     0.9904
                 1.5               y=    0.008x + 0.2066       y = 0.0415x 0.0180       y = 0.5914x   3.5500          0.9642        0.9799     0.9575
     CLZ-TP      0.5               y=    0.0074x + 0.3368      y = 0.0682x 0.0382       y = 0.8472x   3.6913          0.9281        0.9799     0.9906
                 1.0               y=    0.0047x + 0.2999      y = 0.0432x 0.0159       y = 0.6285x   3.5356          0.9837        0.9954     0.9989
                 1.5               y=    0.0033x + 0.4934      y = 0.0386x 0.0113       y = 0.6214x   3.6057          0.9573        0.9916     0.9887
     CLZ-TS      0.5               y=    0.006x + 0.3960       y = 0.0604x 0.0249       y = 0.7818x   3.5659          0.9380        0.9906     0.9850
                 1.0               y=    0.0062x + 0.3511      y = 0.0563x 0.0392       y = 0.7219x   3.6868          0.9964        0.9815     0.9917
                 1.5               y=    0.0055x + 0.4793      y = 0.0607x 0.0139       y = 0.6724x   3.1819          0.9527        0.9982     0.9926

     With stearylamine
     CLZ-TM 1.0                    y=    0.0049x + 0.7711      y = 0.0709x    0.0562    y = 0.9083x   3.9865          0.9823        0.9904      0.9927
     CLZ-TP      1.0               y=    0.0052x + 0.7090      y = 0.0733x    0.0513    y = 0.9676x   4.0416          0.9136        0.9701      0.9896
     CLZ-TS      1.0               y=    0.0038x + 0.7599      y = 0.0564x    0.0326    y = 0.8420x   3.9012          0.9616        0.9969      0.9901
     Q0 = drug to be released at zero time (mg).
     Q = amount of drug released at time t (mg).
     t = time in hours.



     dispersed in the lipid matrix. SLNs with charge mod-                         stearylamine and thus slow release is observed. Chen et
     ifier (stearylamine) released lesser percent drug (20.33,                    al. [31] fitted release data of paclitaxel from SLN into
     20.06, and 16.18 for CLZ-TM, CLZ-TP and CLZ-TS,                              Higuchi and Weibull equations to study drug release
     respectively) than SLNs without charge modifier                              behavior. Thus the obtained release data was fitted into
     (50.95, 21.42 and 26.38) up to 48 h (Fig. 6). Stearyl-                       first order, Higuchi and Weibull equations. Release of
     amine contains lipophilic hydrocarbon chain (18 car-                         drug from almost all the SLNs followed Weibul and
     bons), which is accommodated in the lipid core                               Higuchi equations better than first-order equation
     projecting the amine group into aqueous phase, and                           (Table 6). Clozapine which is in amorphous form
     induces positive charge [30]. Positively charged clo-                        (confirmed by DSC and PXRD studies) dissolves in
     zapine which is entrapped in the nanoparticles experi-                       lipid, diffuses to the surface and undergoes partitioning
     ences repulsion near the interface due to the presence of                    between lipid and aqueous phase. Soluble clozapine is




     Fig. 7. Effect of pH of dialysis medium on in vitro release of clozapine from SLNs of different triglycerides: (a) trimyristin, (b) tripalmitin and
     (c) tristearin. Three different dialysis media, 0.1 N HCl, double-distilled water and phosphate buffer, pH 7.4, were used.
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    partitioned into aqueous phase from which it is dia-              exploiting lymphatic transport pathway for improv-
    lyzed into the dialysis medium.                                   ing oral bioavailability of clozapine.

    3.9.1. Effect of PH of dialysis media on in vitro
    release of clozapine                                              Acknowledgements
        Percentage of clozapine released in different dial-
    ysis media from SLNs of different triglycerides is                   The authors would like to thank Dr. K. Ravikumar
    shown in Fig. 7a – c. Burst release was obtained                  and Dr. Ahemad Hussain, Indian Institute of Chemical
    when 0.1 N HCl is used as dialysis medium. About                  Technology (IICT), Hyderabad for their technical
    73.33%, 59.72% and 52.38% of clozapine was                        support in PXRD studies and one of the authors
    released within 2 h from CLZ-TM, CLZ-TP and                       thanks all India Council for Technical education, New
    CLZ-TS, respectively, in 0.1 N HCl, whereas slow                  Delhi, for financial assistance.
    release was observed in double-distilled water and
    phosphate buffer, pH 7.4. This study was designed to
    know whether the clozapine SLN dispersions could                  References
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                             EXHIBIT K
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                                                                                                              CRYSTAL
                                                                                                              GROWTH
 Characterization and Solid-State Transformations of the                                                      & DESIGN
 Pseudopolymorphic Forms of Sodium Naproxen
                                                                                                                 2004
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 ABSTRACT: Sodium naproxen is an antiinflammatory nonsteroidal drug used in the treatment of rheumatoid
 and arthritic diseases. Three pseudopolymorphic forms have been reported in the literature, along with characteriza-
 tions of anhydrous and dihydrated forms. In the present work, the monohydrated form of sodium naproxen was
 prepared by dehydration of the dihydrated form and investigated with thermogravimetric analysis (TGA), differential
 scanning calorimetry (DSC), powder X-ray diffraction (PXRD) and microscopy. Characteristic properties of the
 monohydrated form were compared to the anhydrous and the dihydrated forms, and the transformation of higher
 hydrated forms to lower ones was performed in an oven or a desiccator without generating other polymorphic forms.
 DSC and isothermal TGA experiments determined the structural characteristics and mechanisms by which two
 types of water were removed from the hydrated species.

                        Introduction
    Incorporation of solvent into the lattice of crystalline
 solids results in the formation of molecular adducts
 known as solvates. When the incorporated solvent is
 water, the solvates are called hydrates. A new and
 different unit cell, often leading to different physical
 properties, results with solvate formation, i.e., proper-
 ties of solvates, such as density, solubility, dissolution
 rate, and bioavailability, are different from those of
 nonsolvated species. These physical property changes               Figure 1. Schematic diagram of naproxen anion and sodium
 are analogous to those associated with polymorphism,               cation.
 and therefore solvates are often referred to as pseudopoly-
 morphs to distinguish them from polymorphs.1                       and the anhydrate and dihydrate of sodium naproxen
    Pharmaceutical solids may come in contact with water            have been characterized.7
 during processing steps, such as crystallization, lyo-                Relatively little work had been done on sodium
 philization, wet granulation, aqueous film-coating, or             naproxen monohydrate prior to the current research.
 spray-drying, and they may be exposed to humid air                 Our purpose here is 2-fold: (1) to characterize the
 during storage. Absorbed water molecules may reside                monohydrated form, especially by comparing it to both
 on crystal surfaces or in crystal lattice structures, but          the anhydrate and the dihydrate, and (2) to determine
 when the absorbed water enters the lattice structure it            the energetics associated with transformation of the
 can change the packing in the unit cell.                           hydrated sodium naproxen to species of lower degrees
    Naproxen ((S)-(+)-6-methoxy-R-methyl-2-naphthal-                of hydration.
 eneacetic acid), is an antiinflammatory nonsteroidal
 drug used in the therapy of rheumatoid and arthritic                                Experimental Section
 diseases. Because the sodium salt of naproxen whose
 structure is shown in Figure 1, has much higher                       Materials. Naproxen sodium, supplied by Albemarle Corp.,
                                                                    was used in experiments without further purification or
 solubility in water than naproxen itself, it is of greater
                                                                    processing. Cooling recrystallization was used to produce the
 industrial importance.                                             dihydrated crystalline form of sodium naproxen; a total of 35
    Crystal structures have been determined for                     g of anhydrous sodium naproxen was dissolved in 100 mL of
 naproxen2 and for the monohydrate3 and anhydrate4                  pure water (HPLC-grade purchased from Fisher Scientific) at
 of sodium naproxen. Study of the conformation of                   35 °C. The solution was cooled until recrystallization occurred.
 naproxen and the importance of intramolecular hydrogen-            The slurry then was heated to 25 °C and filtered under
                                                                    vacuum, and the resulting filter cake was dried under ambient
 bond-like (HBL), e.g., C-H‚‚‚O-C, interactions identi-
                                                                    conditions. The monohydrated form of sodium naproxen was
 fied the four stable conformers for which HBL interac-             prepared by drying the dihydrate in a desiccator for 2 days.
 tions play an important role.5 Bansal et al.6 observed             Every sample was analyzed with X-ray powder diffraction to
 differences in dissolution rates of hydrated tablets               ensure that either the anhydrate or the desired hydrate had
 obtained by wet granulation from the anhydrous form,               been formed.
                                                                       Thermogravimetric Analysis (TGA). The loss of mass
   * Corresponding author address: 311 Ferst Drive, Atlanta, GA     from sodium naproxen samples was analyzed with a TG/DTA
 30332, USA. Phone: 404-894-2867, Fax: 404-385-0185. E-mail: rwr@   320 instrument (Seiko Instruments Inc.). Samples of mass 10-
 chbe.gatech.edu.                                                   15 mg were heated from 21-150 °C in aluminum pans that

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 1212 Crystal Growth & Design, Vol. 4, No. 6, 2004                                                        Kim and Rousseau

 were 5 mm in diameter. An empty aluminum pan was used
 as the reference. A heating rate of 10 °C/min was employed
 with a nitrogen purging rate of 90 mL/min. Open pans without
 lids were used and prominent peaks were observed. All TGA
 runs were carried out with open pans, as recommended by Di
 Martino et al.7
    Differential Scanning Calorimetry (DSC). Heat flow
 from the samples for the dehydration and melting endotherms
 was measured with a DSC 220C instrument (Seiko Instru-
 ments Inc.). The temperature axis and cell constant of the DSC
 were calibrated with indium. The temperature range of the
 experiments was from 23 to 290 °C in aluminum pans that           Figure 2. The path for the change between pseudopolymor-
 were 7 mm in diameter. DSC runs were performed at a               phic forms of sodium naproxen.
 ramping rate of 10 °C/min under nitrogen purge at a rate of
 90 mL/min. Quantitative evaluation of energies associated         to obtain anhydrous crystals using the procedure of Kim
 with phase transformations required the use of open pans in
 the DSC experiments.7                                             et al., by immediately coating the recovered crystals
    Powder X-ray Diffraction (PXRD). Crystals were ana-            with oil, thereby preventing absorption of water from
 lyzed and identified by powder X-ray diffraction (PXRD)           the atmosphere. Phan et al.8 also reported formation of
 analysis using Philips PW1800 automatic powder diffracto-         the monohydrate from a mixture of water and organic
 meter with APD 3720 analysis software. About 1 to 2 g of          solvents. We formed the monohydrated species of so-
 crystals was required. Each crystal sample was ground to a        dium naproxen in our experiments by recrystallization
 fine powder with a mortar and pestle before being pressed into    from sodium naproxen solutions in a mixture of metha-
 the sample holder. Copper KR radiation was used. The
 radiation for Copper KR1 is 1.54056 Å. The PXRD patterns          nol and water (80:20, volume ratio).
 were made over a diffraction-angle (2θ) range of 1.02 to 80°,        The experimental procedures shown schematically in
 with a step size of 0.02 ° and a counting time of 1 s per step.   Figure 2 were developed to provide samples of the
    High-Performance Liquid Chromatography (HPLC).                 various hydrated forms of sodium naproxen. As shown,
 HPLC (Shimadzu) was used for the measurement of solution          the monohydrate was obtained by placing the dihydrate
 concentration, hence solubility. The chromatographic separa-      in a desiccator for about 2 days at room temperature.
 tion was performed on a reverse-phase column Varian
                                                                   Prepared samples of the monohydrate were analyzed
 Microsorb-MV 100-3 C18 column. A wavelength of 254 nm was
 used in the SPD-10AV detector. The voltage signal from the        with PXRD and compared to the simulated PXRD
 detector was interpreted by the Shimadzu CLASS-VP Chro-           pattern of the monohydrate. The two are identical,
 matography Data system version 4.2 software program run-          showing that the dried samples from the dihydrate are
 ning on a personal computer. Two mobile phases were pre-          the same as the samples recrystallized from methanol
 pared. One was pure acetonitrile (Acros Organics) and the         by Kim et al.3
 other was a mixture of 2% acetic acid (Sigma-Aldrich) and 98%
 water (volume ratio). Each mobile phase was connected to the
                                                                      The anhydrate of sodium naproxen was obtained by
 delivery module of the HPLC. The flow rates from each             heating the dihydrate in an oven at 120 °C for 2 h or by
 reservoir were 0.5 mL/min and, totally, 1.0 mL/min. Butyro-       leaving it in a desiccator for a month. Alternatively, the
 phenone (Sigma-Aldrich) was dissolved into acetonitrile and       monohydrate prepared from the dihydrate could be
 used as the internal standard.                                    dried in an oven or in a desiccator to produce the
    Microscopy. Crystal samples were analyzed under the            anhydrate. The PXRD pattern of the anhydrate ob-
 Leica DM LM microscope with the objective lens of 20×. The        tained in any of these methods was the same as that of
 microscope was equipped with a Sony DKC-5000 digital
 camera that converted the focused light into a digital signal.
                                                                   the original anhydrous compound obtained from Albe-
 This signal was visualized by Image-Pro Plus version 4.5.         marle. It can be concluded, therefore, that crystallization
                                                                   and subsequent controlled dehydration of the dihydrate
                                                                   can be used to produce any of the three pseudopolymor-
                 Results and Discussion
                                                                   phic forms.
   Crystallization and Hydrate Transformation.                        The powder X-ray diffraction patterns shown in
 Crystallization of sodium naproxen from water at the              Figure 3 were generated for each of the sodium na-
 conditions described above produced a dense network               proxen species under investigation. The peak positions
 of needlelike crystals. Although the mass of crystals             and intensities show differences among the structures
 prevented subsequent rotation of a magnetic stirrer, the          of the species, confirming that the three forms are
 residual mother liquor was easily expressed from the              distinct compounds. Obviously, the differences result
 crystal mass during filtration. The crystals were less            from the variable water content in the crystal struc-
 than 25 µm in thickness and as long as several mil-               tures.
 limeters. Unfortunately, crystals of this size were unac-            Thermal Analysis of the Samples. The theoretical
 ceptable for single-crystal X-ray diffraction analysis.           water contents of the monohydrate and dihydrate forms
   Over the range of temperatures examined in the                  of naproxen sodium are 6.666 and 12.499 wt %, respec-
 present research, only the dihydrate of sodium naproxen           tively. Analysis of the TGA data in Figure 4 provided
 was formed on crystallization from water, which is                results quite close to the theoretical values: 0.048 (
 consistent with earlier work by Di Martino et al.7 Other          0.012 (mean ( SD) wt % for the anhydrate, 6.832 (
 known pseudopolymorphs of sodium naproxen can be                  0.286 wt % for the monohydrate, and 12.957 ( 0.655
 produced using different protocols. For example, Kim              wt % for the dihydrate.
 et al.3 reported that recrystallization from a solvent               More detailed analysis of the TGA thermograms in
 comprised of pure methanol and the water absorbed                 Figure 4 shows the existence of two separate dehydra-
 from the atmosphere during the evaporation resulted               tion steps for the dihydrate, whereas the monohydrate
 in formation of monohydrated crystals. We were able               shows only one. Although the two dehydration steps for
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 Figure 3. Powder X-ray diffraction patterns of three different
 pseudopolymorphic forms of sodium naproxen: (a) the anhy-                Figure 5. Differential scanning calorimetry curves of three
 drate, (b) the monohydrate, and (c) the dihydrate.                       different pseudopolymorphic forms of sodium naproxen: (a)
                                                                          the anhydrate, (b) the monohydrate, and (c) the dihydrate.

                                                                          from the unit cell. The first released water produces the
                                                                          first dehydration endotherm in the DSC thermogram
                                                                          for the dihydrate. This water is easily removed at
                                                                          ambient temperature, and will be discussed below.
                                                                          Because the peaks for the dehydration endotherms are
                                                                          not separated clearly, the endothermic energy for each
                                                                          water removed from the dihydrate could not be deter-
                                                                          mined directly. Therefore, the dehydration energy for
                                                                          the dihydrate in Table 1 is the sum of dehydration
                                                                          energies for the first and second released water.
                                                                             The monohydrate of sodium naproxen exhibits two
                                                                          peaks, one for melting and the other associated with
                                                                          the endotherm for dehydration. The minute peak at
                                                                          about 60 °C corresponds to an endotherm associated
                                                                          with a slight overhydration of the monohydrate sample.
                                                                             The heats of dehydration in Table 1 are based on the
 Figure 4. TGA curves with nitrogen purge of (a) monohy-                  mass of sample, in other words, 207.3 J/g of the
 drated and (b) dihydrated forms of sodium naproxen.                      monohydrated species and 376.8 J/g of the dihydrated
                                                                          species. If the anhydrous species is used as the basis,
 the dihydrate were not completely separated, the first                   these values become 220.5 and 427.6 J/g of anhydrate,
 corresponds to the removal of water that is not found                    respectively. If we assume that the heat of hydration
 in the monohydrate, while the second corresponds to                      for the monohydrate is equivalent to that for removal
 that of water that is also found in the monohydrate.                     of the second water from the dihydrate, then the heat
 Because the nitrogen purge facilitates dehydration, the                  of dehydration for removal of the first water can be
 stabilization of the initial sample weights was carried                  found by difference: 207.1 J/g of anhydrate. Because
 out without nitrogen purge.                                              there is less than 10% difference between the two heats
   Figure 5 shows DSC thermograms for the three                           of dehydration, the interactions of the first released
 pseudopolymorphs of sodium naproxen. Table 1 gives                       water with the atoms that surround it in the crystal
 the estimated energies of the transformations associated                 structure are energetically similar to those between the
 with the peaks in Figure 5. The anhydrate shows only                     second water and its surrounding atoms.
 one endothermic peak, which corresponds to melting.                         It is expected that the heats of fusion of the three
 The dihydrate has one peak for melting and two peaks                     sodium naproxen species should be the same since
 corresponding to removal of two different types of water                 melting occurs after removal of water and the crystal

                                     Table 1. Temperatures and the Endotherms for Peaks in DSCa
                                                              heat of
                        first peak       second peak       dehydration         minimum               melting          heat of fusion
       compound         temp (°C)         temp (°C)        (J/g sample)     temperature (°C)     temperature (°C)      (J/g sample)
   anhydrate                                                                   258.3 ( 0.2          255.1 ( 0.1        110.7 ( 0.5
   monohydrate         86.0 ( 1.5                          207.3 ( 0.5         258.5 ( 0.3          254.7 ( 0.4        102.8 ( 0.9
   dihydrate           60.7 ( 1.5         82.2 ( 1.3       376.8 ( 1.8         258.1 ( 0.3          255.3 ( 0.2         94.5 ( 1.3
   a   Results are means with their standard deviations.
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       Table 2. Converted Heats of Fusion of the Sodium                                                   dR
                      Naproxen Species                                                                       ) kf(R)                          (3)
                                                                                                          dt
                                        ∆Ĥfus,n                    ∆Ĥfus,0
  compound                xH2O           (J/g)         1/1 - xH2O    (J/g)       where R is defined as the fraction of water removed from
 anhydrate        0.00048 ( 0.00012   110.7 ( 0.5      1.00048a     110.8a       the hydrated crystal at time t, that is,
 monohydrate      0.06832 ( 0.00286   102.8 ( 0.9      1.07333a     110.3a
 dihydrate        0.12957 ( 0.00655    94.5 ( 1.3      1.14886a     108.6a                                    MT - M
   a   Values are calculated with means.                                                                 R)                                   (4)
                                                                                                               MT
 structures of the dehydrated species have been shown                            where MT is the initial mass of water in the sample,
 identical. However, the heats of fusion estimated in                            and M is the mass of water in the sample at time t. The
 Table 1 are based on the initial sample mass, which                             relationship between water content in a crystal sample
 includes whatever water had been present. These values                          and time is embodied in the function f(R), which in turn
 can be converted to energy per unit mass of the                                 depends on the mechanism of water removal. Integra-
 anhydrous species as follows:                                                   tion of eq 3 gives9
               ∆Hfus,n ) mn∆Ĥfus,n ) m0∆Ĥfus,0                        (1)
                                                                                                ∫01f(R)
                                                                                                    dR
                                                                                                        ) g(R) ) ∫0 k dt ) kt
                                                                                                                   t
                                                                                                                                              (5)
 where ∆Hfus,n(J) is the enthalpy change with fusion
 measured by the DSC, ∆Ĥfus,n is the heat of fusion per                         The rate constant k may be considered to follow an
 unit initial sample mass as estimated directly by the                           Arrhenius dependency on T:


                                                                                                                  (       )
 DSC, ∆Ĥfus,0 is the heat of fusion per unit mass of
 dehydrated sample, m is the mass of the sample, and                                                                  ∆Ea
                                                                                                     k ) k0 exp -                             (6)
 the subscripts n and 0 denote the species with n moles                                                               RT
 of water per mole of anhydrate and the anhydrous
 species, respectively. Rearranging eq 1,                                        where ∆Ea is the activation energy for dehydration, R
                                                                                 is the gas constant, and T is temperature. The activation


                                                   (          )
               mn                                                                energy can be estimated from the rate constants deter-
                            1              1
  ∆Ĥfus,0 )      ∆Ĥfus,n ) ∆Ĥfus,n )          ∆Ĥfus,n                        mined from measurements of isothermal dehydration
               m0           x0          1 - xH2O                                 kinetics at several temperatures, provided g(R) is known.
                                                                        (2)      Table 3 gives selected expressions from the Šesták10 and
                                                                                 Dong et al.9 for g(R) corresponding to various solid-state
 where x is mass fraction of the indicated species. This                         processes.
 equation and the values of xH2O determined from TGA                                Several isothermal dehydrations were performed in
 analyses were used to obtain the estimates of heat of                           the TGA apparatus, and the resulting relationships
 fusion given in Table 2. Clearly, the converted heats of                        between R and t were determined using the following
 fusion for the three species are quite similar to each                          procedure for each of the water molecules in the
 other and provide additional evidence that the dehy-                            dihydrate and for the lone water in the monohydrate of
 drated species have the same structure as anhydrous                             sodium naproxen. The function in Table 3 that provided
 sodium naproxen.                                                                the best fit to the dehydration data was identified, and
   Dehydration Kinetics. The DSC and TGA data on                                 the corresponding values of k were determined. By
 the dihydrate of sodium naproxen show the removal of                            fitting the Arrhenius expression to these values, an
 two different types of water molecules from the crystal                         estimate of the activation energy of the given process
 structure; these are referred to as first and second                            was obtained.
 waters. The first generates the initial DSC peak and                               For the first water released from the dihydrate and
 the second leads to the subsequent peak. In the follow-                         the lone water from the monohydrate, TGA data were
 ing analysis, we evaluate the DSC and isothermal TGA                            fit from R at t ) 5.5 min to R ) 0.9. (Note R is
 data on both the monohydrate and dihydrate of sodium                            determined for each of the water molecules, and MT in
 naproxen so as to elucidate the role water plays in the                         each instance is the mass associated with that specific
 structures of these two species and to determine why                            water.) For the second water molecule removed from the
 the two waters in the dihydrate behave differently.                             dihydrate, the data were fit from R ) 0.3 to R ) 0.9.
   The rate of removal of water from a hydrated crystal                          The interpretation of data on the second water removed
 can be written as                                                               from the dihydrate was complicated by a long transient

          Table 3. Algebraic Expressions for g(r) Corresponding to Suggested Mechanisms of Solid-State Processes
       model identifier                   g(R)                                          mechanism (descriptor of equation)
             A2                  (-ln(1 - R))(1/2)                     one-dimensional growth of nuclei (Avrami-Erofeyev equation, n ) 2)
             A3                  (-ln(1 - R))(1/3)                     two-dimensional growth of nuclei (Avrami-Erofeyev equation, n ) 3)
             A4                  (-ln(1 - R))(1/4)                     three-dimensional growth of nuclei (Avrami-Erofeyev equation, n ) 4)
             R1                  R                                     one-dimensional phase boundary reaction (zero-order mechanism)
             R2                  1 - (1 - R)(1/2)                      two-dimensional phase boundary reaction (contracting cylinder)
             R3                  1 - (1 - R)(1/3)                      three-dimensional phase boundary reaction (contracting sphere)
             D1                  R2                                    one-dimensional diffusion
             D2                  (1 - R)ln(1 - R) + R                  two-dimensional diffusion
             D3                  (1 - (1 - R)(1/3))2                   three-dimensional diffusion (Jander’s equation)
             D4                  (1-2/3R)(1 - R)(2/3)                  three-dimensional diffusion (Ginstling-Brounshtein equation)
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    Table 4. Activation Energy for the Released Water
                                                      Arrhenius plot
                           T        k                  ∆Ea
 released water   model   (°C)   (min-1)     R2      (kJ/mol)    R2
 first water    R2        24.0   0.02443    0.9987    67.2      0.9850
    from the              26.4   0.03214    0.9980
    dihydrate             29.5   0.04015    0.9990
 second water   D3        24.0   0.002277   0.9941    98.6      0.9383
    from the              26.4   0.003712   0.9908
    dihydrate             29.5   0.004747   0.9934
 water          D3        24.1   0.000896   0.9948    92.5      0.9997
    from the              26.9   0.001266   0.9958
    monohydrate           29.8   0.001804   0.9970

 Table 5. Activation Energies for Different Dehydration
                       Reactions
                                                      activation
                                                        energy
                   compound                            (kJ/mol) ref
 cefamandole sodium monohydrate f anhydrate           71           11
 neotame monohydrate f anhydrate                      75 ( 9        9
 theophylline monohydrate f anhydrate                 140          12
 sulfaguanidine monohydrate f anhydrate               67-168a      13
 mercaptopurine monohydrate f anhydrate               191-264b     14
    a These values vary depending on crystallinity of the samples

 as well as environmental factors. b These values vary depending
 on the method of determination.
                                                                         Figure 6. (a) Sodium naproxen molecule with the sodium and
                                                                         hydrogen atoms omitted and (b) a projection perpendicular to
 between removal of the first and the second water                       the [100] plane of the monohydrate. In (a), two oxygen atoms
 molecules from the dihydrate. That is why the range of                  and four covalent bonds are exaggerated. For clarity, only this
 R was taken to begin at 0.3, thereby removing the                       portion of the molecule is depicted in (b). Additionally, in (b),
 transient and obtaining a higher correlation coefficient,               the smaller circles represent oxygen atoms, the larger circles
 R2, for the resulting fits to the data. Table 4 gives the               represent sodium atoms, and the shaded waves show water
 results of the analyses leading to the best fits of data                channels in the monohydrate.
 for both water molecules in the dihydrate and for the
 water in the monohydrate.                                               different types of behavior for the two water molecules
                                                                         in the dihydrate.
    As shown in Table 4, model R2 provided the best fit
                                                                           A packing diagram of sodium naproxen monohydrate
 to the data involving removal of the first water from
                                                                         crystals was constructed based on X-ray diffraction
 the dihydrate, but model D3 was best for the second
                                                                         data,3 and is shown in Figure 6. The diagram reveals
 water and for the lone water removed from the mono-
                                                                         channels for water transport within the crystals. Figure
 hydrate. This implies that different resistances control
                                                                         6a shows the sodium naproxen molecule with the
 the removal rate of water: a phase boundary reaction
                                                                         sodium atom omitted; in the crystal structure of Figure
 for the first water of the dihydrate and diffusion for both
                                                                         6b, only the two oxygen atoms in the carboxyl group,
 the second water of the dihydrate and the lone water of
                                                                         four covalent bonds from the two oxygen atoms to the
 the monohydrate. The phase-boundary reaction is
                                                                         naphthyl group, a sodium atom, and an oxygen atom
 taken to be dissociation of water from the crystal lattice.             in the water of hydration were drawn to make it clear
    The activation energy for removal of the first water                 where water channels are in the monohydrate.
 from sodium naproxen dihydrate is close to the lowest                     Allen et al.15 suggested that water released at low
 value among activation energies given in Table 5 for                    temperature has very weak interactions with nearby
 removal of water from several different crystal species.                molecules in the crystal lattice. Morris16 classified
 This is why, as shown experimentally with DSC and                       hydrates as follows: (1) isolated-site hydrates, which
 TGA data of the current research, the first water is very               should yield sharp DSC endotherms and narrow TGA
 easy to remove, and it is easier to remove than the                     mass losses upon dehydration, (2) channel hydrates,
 second water in sodium naproxen dihydrate. The acti-                    which have early onset temperatures of dehydration and
 vation energy for removal of the second water from the                  broader DSC and TGA traces than isolated-site hy-
 dihydrate was very similar to that for removing the lone                drates, and (3) ion-associated hydrates, which have
 water from the sodium naproxen monohydrate, and both                    strong metal-water interactions and comparatively
 are larger than the activation energy for removal of the                higher dehydration temperature and molar heat of
 first water from the dihydrate.                                         dehydration than the other hydrates. He also suggested
    Dong et al.9 postulated a dehydration mechanism for                  that dehydration is affected by diffusion of water
 neotame monohydrate that consisted of two steps: (a)                    molecules from the unit cells to the crystal surface;
 dissociation of water from the crystal lattice and then                 accordingly, if there is ready access of the leaving water
 (b) diffusion of the water through channels in the                      to channels for diffusion, dehydration occurs easily and
 crystal. Dissociation may involve breakage of hydrogen                  at low temperatures. The first water removed from
 bonds or disruption of other attractive forces. It appears              sodium naproxen dihydrate has an earlier onset tem-
 that a similar view is appropriate for the current                      perature than the second water, which we show in
 system, but it is complicated by the existence of two                   Figure 6 to be in channels. We infer, therefore, that
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 since these channels exist in the monohydrate and                                   References
 facilitate dehydration, they must also exist in the         (1) Kuhnert-Brandstätter, M.; Gasser, P. Microchem. J. 1971,
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 research.                                                       CG049917Q
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                              EXHIBIT L
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                           Molecular Compasses and Gyroscopes with Polar Rotors:
                             Synthesis and Characterization of Crystalline Forms
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                Abstract: We report the highly convergent synthesis and solid-state characterization of six crystalline
                “molecular compasses” consisting of a central phenylene rotor with polar substituents, or compass needle,
                and two trityl groups axially connected by acetylene linkages to the 1,4-positions. Compounds with fluoro-,
                cyano-, nitro-, amino-, diamino-, and nitroamino substituents are expected to emulate the parent compound
                which was shown to form crystals where the central phenylene can rotate about its 1,4-axis with rate
                constants in the 103 -106 s-1 dynamic ranges near ambient temperature, depending on crystal morphology.
                With data from single-crystal X-ray diffraction analysis, solid-state CPMAS 13C NMR, differential scanning
                calorimetry (DSC), and thermogravimetric analysis (TGA), it is shown that a relatively small structural
                perturbation by a single polar group (F, CN, NO2, NH2) results in isomorphous structures with analogous
                properties. In analogy to the parent compound, crystals grown from benzene formed clathrate structures
                in the space group P1h with one molecular compass and two benzene molecules per unit cell. Solvent-free
                crystals with the same space group obtained by a first-order phase transition between 60 and 130 °C were
                shown to be spectroscopically identical to those obtained by slow solvent evaporation from a mixture of
                CH2Cl2 and hexanes. A qualitative analysis of the positionally disordered phenylene groups in terms of the
                expected solid-state rotational dynamics suggests a nonsymmetric, 2-fold rotational potential, or a process
                involving full 360° turns.



 1. Introduction
    In search of photonic materials with electrooptic and dielectric
 functions based on the rotational dynamics of internal dipoles,1,2
 we recently made progress on the preparation of solids built
 with molecules having structures and functions that are analo-
 gous to those of macroscopic compasses and gyroscopes. Like
 these navigational devices, the desired structures are character-
 ized by rigid frameworks that shield reorienting or rotating polar
 groups capable of responding to external electromagnetic fields
 and to forces causing changes in its angular momentum. We
 have shown that compounds with axially substituted arylene
 rotors linked by two acetylenes to triarylmethyl3 and triptycyl4
 frameworks are promising candidates (Figure 1). Since rotation                   Figure 1. Suggested analogy between a macroscopic compass and 1,4-
 about alkyne-aryl single bonds in the ground state is essentially                bis(triphenylpropynyl)benzene (1a), a molecule with a triarylmethane
 frictionless,3-5 we expect that triarylmethanes and triptycenes                  framework (blue) and a phenylene rotor (red). The space-filling model of
                                                                                  1a is shown with a 4 Å solvent-accessible surface.
 with bulky substituents or bridging groups will provide the steric
    † Present address: Instituto de Ciencias Basicas, Universidad Veracru-        shielding required to prevent contacts between the arylene rotor
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 Scheme 1 a




    a Asterisk denotes that dipole moments and molecular volumes were calculated from structures optimized with the AM1 method as implemented by the

 program Spartan.

 desired rotation. Despite the relatively modest shielding offered                structures with a combination of X-ray diffraction, high-
 by simple triphenylmethyl (trityl) groups (Figure 1 and Scheme                   resolution solid-state 13C CPMAS NMR, differential scanning
 1), the phenylene rotor was shown to undergo a 2-fold flipping                   calorimetry (DSC), and thermogravimetric analysis (TGA). The
 motion in the solid state with rate constants in the MHz regime                  results reported in this paper confirm the expected solid-state
 near ambient temperature. Analogous structures have been                         isomorphism with various degrees of positional disorder.9,10
 recently suggested by Glass et al.7 as scaffolds for pinwheel                    2. Results and Discussion
 fluorescence sensors in solution and by Joachim et al. for the
 construction of molecular “barrows” guided and driven by AFM                        2.1. Synthesis. Molecular compasses 1b-1g were synthesized
 tips on atomically smooth surfaces.8 As a continuation of our                    by a double-coupling reaction with 2.5 equiv of 3,3,3-triphenyl-
 studies on materials based on molecular compasses and gyro-                      1-propyne and the corresponding p-phenylene bromide in a
 scopes, we report here the synthesis, characterization, and solid-               manner that is analogous to that reported previously for
 state properties of several analogues of 1a with phenylene groups                compound 1a (Scheme 1).3,6 Samples of 3,3,3-triphenyl-1-
 possessing fluoro- (1b), cyano (1c), nitro (1d), amino (1e),                     propyne were obtained from the reaction of trityl chloride with
 o-diamino (1f), and p-nitroamino (1g) substituents (Scheme 1).                   ethynylmagnesium bromide in benzene at ambient tempera-
 The primary goal of this work is to determine the effects of                     ture.7,11 Molecular compasses 1b, 1d, and 1e were prepared with
 polar rotors on the crystallization of molecular compasses and                   commercially available 2,5-diiodofluorobenzene, 2,5-dibro-
 gyroscopes with simple trityl frames and to test a suitable                      monitrobenzene, and 2,5-dibromoaniline, respectively. Samples
 synthetic procedure. While the magnitudes of dipole moments                      of the 2-substituted 1,4-dibromophenylenes for the synthesis of
 calculated by the AM1 method for compounds 1b-1g range                           molecular compasses 1c and 1g, and 2,3-diamino-1,4-dibro-
 from 0.74 to 7.30 (Scheme 1), their calculated molecular                         mophenylene 1f, were prepared by reported procedures (Scheme
 volumes differ by less than 5% from that of 1a. Knowing that                     2). 2,5-Dibromobenzonitrile was prepared by Friedel-Crafts
 crystallization of apolar molecules is determined by weak van                    bromination of benzonitrile as reported by Pearson et al.
 der Waals forces which manifest in the form of volume-filling,                   (Scheme 2a).12 Our isolated yields were significantly lower than
 close-packing interactions,9,10 one may expect homologous series                 those reported by these authors (79%) but were in agreement
 such as that given by 1a-1g to form isomorphous crystal                          with those recently reported by Gray et al. (12%).13 Samples
 structures. Noting that the introduction of polar substituents on                of 3,6-dibromo-1,2-phenylenediamine were prepared in good
 the phenylene group of 1a makes the analogy to macroscopic                       yields in a three-step procedure from o-phenylenediamine
 compasses closer, one may suggest that the “box” of the                          (Scheme 2b).14 A clean, high-yielding, and regioselective
 compass will remain constant while the nature of the “needle”                    dibromination was accomplished through a 2,1,3-benzothiadia-
 inside would be systematically varied. Unless unusual dipole-                    zole obtained by condensation of the o-diamine with SOCl2 in
 dipole interactions were to be manifested, the corresponding                     the presence of pyridine and subsequent reductive removal of
 crystals should have analogous packing arrangements. At the                      sulfur with NaBH4 regenerated the diamine. The preparation
 same time, knowing that rapid reorientation of the phenylene                     of 2,5-dibromo-4-nitroaniline was accomplished in good yields
 group occurs in crystals of 1a, it seems possible that analogous                 from commercial 2,5-dibromoaniline by the sequence reported
 dynamics may be observed in crystals of 1b-1g. In addition to                    by Moroni et al. (Scheme 2c).15
 the synthesis and solution characterization of compounds 1b-                        The Pd(0)-catalyzed reactions were carried out at 85 °C for
 1g, we analyze here the relation between their various crystal                   20 h with PdCl2(PPh3)2, PPh3, and CuI in Et3N. The double-
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 Table 1.       1H   NMR Chemical Shift Assignments of Molecular Compasses 1a-1 ga




                                        1b                 1c                           1d                      1e                                      1g
                                      Y)F               Y ) CN                       Y ) NO2                 Y ) NH2                   1f            Y ) NH2
       signal            1ab         (JHH, Hz)          (JHH, Hz)                    (JHH, Hz)               (JHH, Hz)            X, Z ) NH2         Z ) NO2
         1              7.42        7.46 (7.6)      7.58 (8.2)                    7.65 (8.2)             7.30 (7.6)                 6.86              8.25
         3              7.42
         1′             7.42        7.28c           7.80 (1.5)                    8.18 (1.5)             6.86 (1.5)                                   6.88
         3′             7.42        7.28c           7.67 (8.2, 1.5)               7.69 (8.2, 1.5)        6.84 (7.6, 1.5)            6.86

   a    Spectra were measured at ambient temperature in CD2Cl2.     b   Reference 6. c Signals overlap with the o- and m-hydrogens of the trityl group.

 Scheme 2                                                                             bromide that is ortho to the nitro group and para to the aniline
                                                                                      is in agreement with expectations from the effects of substituents
                                                                                      on similar alkyne-aryl coupling reactions.17 However, a one-
                                                                                      step double-coupling preparation of compound 1g was ac-
                                                                                      complished with an excess of 3,3,3-triphenylpropyne and longer
                                                                                      reaction times.
                                                                                         2.2. Spectroscopic Characterization. The characterization
                                                                                      of molecular compasses 1b-1g was carried out at ambient
                                                                                      temperature by 1H NMR, 13C NMR, and HMBC analyses. High-
                                                                                      resolution mass spectra from electron impact ionization gave
                                                                                      relatively abundant parent ions. Analysis by FT-IR revealed very
                                                                                      weak or unobservable stretching bands for the triple bonds in
                                                                                      all six rotors. Diffraction-quality single crystals were only
                                                                                      obtained in the cases of the fluoro- (1b), cyano- (1c), nitro-
                                                                                      (1d), and amino-susbtituted (1e) molecular compasses. No
                                                                                      suitable crystals could be obtained for the diamino (1f) and
                                                                                      nitroamino (1g) rotors.
                                                                                         As expected for structures that only have aromatic hydrogens,
                                                                                      the 1H NMR signals in CD2Cl2 appear in all cases in a very
                                                                                      small range (less than 2 ppm). Although hydrogen signals
                                                                                      corresponding to the trityl groups are observed as broad
                                                                                      multiplets, signals corresponding to hydrogens of the substituted
                                                                                      phenylenes could be assigned in most cases. A summary of
                                                                                      chemical shift data corresponding to the 1H NMR signals of
                                                                                      the substituted phenylene groups is included in Table 1 and the
                                                                                      corresponding 13C NMR data in Table 2. The atom numbering
                                                                                      used in Tables 1 and 2 is illustrated in the first table, which
 coupling reaction proceeded to completion in all cases, with
                                                                                      corresponds to the numbering used in a later section to describe
 the exception of those carried out with 2,5-dibromo-4-nitro-
                                                                                      the X-ray structures. Signals corresponding to hydrogen atoms
 aniline (X ) H, Y ) NH2, Z ) NO2) which failed to give
                                                                                      that are ortho to the -F, -CN, -NO2, and -NH2 substituents in
 compound 1g under these conditions (see below). Small amounts
                                                                                      molecular compasses 1b, 1c, 1d, and 1e (H1′ in Table 1) occur
 of the known dimer 3 were also isolated along with the desired
                                                                                      as doublets with a small meta coupling constant (4J ) 1.5 Hz).
 molecular compasses in the case of reactions leading to
                                                                                      Hydrogen atoms that are meta (C1) and para (C3′) to the
 compounds 1b-1f. Purification was carried out in all cases by
                                                                                      substituent share a larger ortho coupling constant (3J ) 7.6-
 column chromatography with silica gel using a mixture of CH2-
                                                                                      8.2 Hz). The para hydrogens at C3′ occur as doublet of doublets
 Cl2:C6H6:C6H14 ) 10:10:80 as the eluent. Although isolated
                                                                                      with small and large coupling constants 4J and 3J. The diamino
 yields under these nonoptimized conditions oscillated between
                                                                                      compound 1f has average mirror symmetry in solution and the
 10 and 40%, molecular compasses prepared by stepwise
                                                                                      two protons directly bonded to the 1,4-phenylene appear as a
 coupling proceeded in higher overall yields (70-80%). The rate                       singlet. The spectrum of compound 1g consists of upfield and
 of formation of the nitroaniline molecular compass 1g differed                       downfield singlets corresponding to hydrogens that are ortho
 substantially from that of the others. Reaction conditions such                      to the amine and nitro groups, respectively, which are also para
 as those used for the synthesis of compounds 1a-1f yielded                           to each other.
 primarily the monocoupling product 2 (Y ) NH2, Z ) NO2)
                                                                                         Since the rotational dynamics of the central phenylene in
 with small amounts of 1g and alkyne dimer 3. The regioselec-
                                                                                      crystals of 1a fall within a time scale that is suitable for
 tivity of the monocoupling reaction was established by a 2D
 heteronuclear chemical shift correlations via multiple bond                          (16) 2D HMBC spectra are reported in the Supporting Information section.
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 Table 2.        13C   Chemical Shifts of Molecular Compasses 1a-1ga
                                                    1b                  1c               1d                1e                1f                  1g
        signal                1ab              Y d F (JCF, Hz)        Y d CN          Y d NO2           Y d NH2         X ) Z ) NH2        Y d NH2, Z ) NO2
       C1                    123.1              133.5 (2.0)           132.9            135.3             132.3            122.1             130.3
       C2                    131.3              112.3 (16)            124.3            124.6             108.4            109.6             107.6
       C3                    123.1              162.9 (251)           115.8            149.7             148.6            136.9             152.3
       C1′                   123.1              118.7 (23)            135.9            127.8             117.1            136.9             118.7
       C2′                   131.3              125.3 (9.5)           126.7            118.5             124.5            109.6             121.1
       C3′                   123.1              127.7 (4.0)           135.5            135.8             121.2            122.1             139.3
       C4                     84.7               84.3 (4.0)            82.0             80.9              82.5             82.8              80.1
       C4′                    84.7               79.0                  83.4             83.3              85.8             82.8              82.2
       C5, C5′                97.2              102.6 (34)            103.9            105.3             102.7            102.2             104.3, 103.6
                                                 98.5                  99.0            101.1              96.6
       C6, C6′                56.1               56.5                  56.6             56.6              56.5             56.9              56.9, 57.0
                                                 56.8                  56.9             57.0              56.9

   a   Spectra measured at ambient temperature in CD2Cl2.         b   Values from ref 3.

                                                                                           which are included for comparison. Due to the presence of sub-
                                                                                           stituents that break the symmetry of the 1,4-phenylene in 1b-
                                                                                           1e and 1g, all the carbons corresponding to the diethynylphen-
                                                                                           ylenes (C1-C6 and C1′-C6′) are resolved in the 13C NMR
                                                                                           spectrum. Aromatic signals assigned to the trityl groups reveal
                                                                                           fast conformational equilibration given by a time-averaged
                                                                                           3-fold symmetry that renders the three phenyl groups in each
                                                                                           trityl group equivalent and a local 2-fold symmetry that makes
                                                                                           each phenyl group symmetric along its 1,4-axis. Eight signals
                                                                                           are assigned to 36 aromatic trityl carbons. Multiple bond con-
                                                                                           nectivity correlations by the HMBC technique were used to as-
                                                                                           sign the carbons in the 1,4-phenylene groups and the alkyne
                                                                                           carbons directly bonded to the aromatic ring of the rotors in
                                                                                           1c, 1d, 1e, and 1g. The corresponding spectra are reported in
                                                                                           the Supporting Information section. Although carbon signals
                                                                                           of the 2-fluoro-1,4-phenylene group in 1b were not sufficiently
                                                                                           resolved for HMBC analyses, signals of the central phenylene
                                                                                           and alkyne carbons could be assigned from their C-F coupling
                                                                                           constants which range from 1JCF ) 251 Hz for the ipso carbon,
                                                                                           to 3JCF ) 2 and 4JCF ) 4 Hz, respectively, for the meta (C1)
 Figure 2. 500 MHz HMBC spectrum of the nitro-substituted molecular                        and para carbons (C3′).
 compass 1d in CD2Cl2. Signals corresponding to the trityl groups appear
 near 7.4 ppm in the 1H dimension are labeled with an asterisk (*) in the                     2.3. X-ray Studies: Benzene Clathrates and Solvent-Free
 13C axis.
                                                                                           Crystals. While polycrystalline samples could be obtained from
                                                                                           various solvents, single crystals for structural elucidation were
 coalescence analysis by variable temperature 13C CPMAS                                    obtained under relatively strict conditions. Two polymorphs of
 NMR,3,6 we carried out a precise assignment of 13C chemical                               1b could be obtained by slow evaporation from CH2Cl2 and
 shifts corresponding to polar phenylenes in compounds 1b-                                 from benzene. These will be referred to as 1b (A) and 1b (B),
 1g. It is well-known that assignments from solution spectra can                           respectively. Crystals of 1e were grown by slow evaporation
 be useful to assign signals measured in the solid state under                             from a mixture of hexanes and CH2Cl2 in a ca. 3:1 volumetric
 the 13C CPMAS experiments.18 The assignment of most carbon                                proportion. Crystals of the cyano derivative 1c were obtained
 signals was possible with HMBC measurements by taking ad-                                 from a 3:1 mixture of hexanes and ethyl acetate and crystals
 vantage of the characteristic shielding values and coupling pat-                          from the nitro compound 1d from saturated hot benzene
 terns of hydrogen atoms in the central phenylene rotors. The                              solutions which were slowly cooled. We have been unable to
 HMBC spectrum of compound 1d, with a nitrophenylene rotor,                                obtain single crystals of the diamino and nitroamino compounds,
 is illustrated in Figure 2 as an example. Vicinal and long-range                          1f and 1g, which are suitable for X-ray diffraction analysis.
 correlations between each hydrogen (H1′, H3′, and H1) and
                                                                                           Crystallographic acquisition and refinement data for compounds
 carbon nuclei of the nitrophenylene (C1-C3 and C1′-C3′) and
                                                                                           1b-1d are listed in Table 3 and their ORTEP structures
 the two alkyne carbons directly attached to the ring (C4 and
                                                                                           illustrated in Figure 3. The structures of solvent-free crystals
 C4′) allow for the unambiguous assignment of all the carbon
                                                                                           of 1b (A) and 1e were solved in the space group P1h and have
 signals.
                                                                                           unit cell axes that differ by less the 0.12 Å and unit cell angles
    A summary of the 13C NMR data for compounds 1b-1g is
                                                                                           within 1°. Detailed analyses showed that they are closely related
 included in Table 2 along with chemical shift values for 1a
                                                                                           to the solvent-free crystals of 1a described previously.6 Crystals
 (18) (a) Stejskal, E. O.; Memory, J. D. High Resolution NMR in the Solid                  of the fluoro and nitro compounds 1b and 1d that are grown
      State: Fundamentals of CP/MAS; Oxford University Press: Oxford, 1997.                from benzene form triclinic structures with two solvent mol-
      (b) Fyfe, C. A. Solid State NMR for Chemists; C.F.C Press: Guelph,
      Ontario, 1983.                                                                       ecules per unit cell analogous to the benzene clathrate of 1a.6
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 Figure 3. ORTEP diagrams of compounds 1b (A), 1b (B), 1c, 1d and 1e. The disorder of the fluoro, amino, and nitro groups 1b, 1e, and 1d is illustrated
 in their corresponding structures.

 Table 3. Crystallographic Parameters for Molecular Compasses 1b-1e
                                                                                molecular compass
                                  1b (A)                   1b (B)                    1c                         1d                          1e
     empir. form.            C48H33F                  C48H33F.C12H12           C49H33N                   C48H33NO2.C12H12            C48H35N
     form. wt                627.74                   627.74‚156.09            645.76                    655.25‚156.09               625.77
     crystal system          triclinic                triclinic                monoclinic                triclinic                   triclinic
     space group             P1h                      P1h                      P21/c                     P1h                         P1h
     Z                       1                        1                        4                         1                           1
     size, mm3               0.5 × 0.2 × 0.5          0.4 × 0.3 × 0.1          0.4 × 0.3 × 0.2           0.45 × 0.3 × 0.2            0.4 × 0.3 × 0.05
     color, habit            colorless prism          colorless prism          colorlessprism            colorless prism             colorless prism
     temp, K                 100(2)                   100(2)                   100(2)                    100(2)                      298(2)
     a, Å                    9.1732(13)               8.644(2)                 15.812(3)                 8.4502(11)                  9.2966(16)
     b, Å                    10.4607(14)              9.475(3)                 20.338(4)                 9.4905(12)                  10.5467(18)
     c, Å                    10.4726(14)              14.530(4)                10.741(2)                 14.6741(19)                 10.5979(18)
     R, degrees              62.126(2)                78.231(5)                90                        79.925(2)                   62.706(3)
     β, degrees              85.744(3)                76.320(5)                94.226(4)                 74.716(2)                   71.071(3)
     γ, degrees              71.673(2)                74.486(5)                90                        76.347(2)                   84.875(3)
     V, Å3                   840.1(2)                 1078.6(5)                3444.6(4)                 1095.1(12)                  871.3(3)
     Fcalc., Mg/m3           1.241                    1.207                    1.226                     1.230                       1.193
     total reflections       5519                     6751                     15524                     7345                        4726
     indep. reflect.         3818                     4653                     4962                      5075                        3129
     R(Int)                  0.0120                   0.0214                   0.0214                    0.0147                      0.0169
     R1 [I > 2σ(I)]          0.0407                   0.0414                   0.0557                    0.0534                      0.0389
     WR2 (all data)          0.1150                   0.1013                   0.1521                    0.1375                      0.1068


                                                                                                    J. AM. CHEM. SOC.   9   VOL. 125, NO. 29, 2003 8831
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 Scheme 3                                                                      i-C3, where i is a point at the center of the substituted
                                                                               phenylene, takes values as large as 63.2°, when 60.0° would
                                                                               be expected. Structural deviations such as these have a strong
                                                                               effect on the rotational dynamics of macroscopic models and
                                                                               their potential influence on rotation of molecular compasses and
                                                                               gyroscopes should be kept in mind.
                                                                                  Packing structures of benzene-containing crystals of com-
                                                                               pounds 1b and 1d and solvent-free crystals of 1b and 1c are
 Table 4. Structural Parameters from the X-ray Structures of                   illustrated in Figure 4. The packing structures of benzene-grown
 Compounds 1b-1e
                                                                               crystals of 1b [form B] and 1d contain one molecular compass
  molecular    Ph1      Ph2      Ph3 d(C6−C6′) C7−C6−C2−C3 C6′−C6−C4 C6−i−C3   and two benzene molecules per unit cell. Although they are
  compass     (deg)a   (deg)a   (deg)a  (Å)       (deg)       (deg)   (deg)
                                                                               shown in Figure 4 with different choice of origin, the two
 1ab        58.3 47.2 18.2 11.015                    9.4         3.4   63
 1a (C6H6)b 29.8 45.1 50.5 11.012                    1.8         0.1   57.8
                                                                               structures are isomorphous with each other and with the benzene
 1b (A)     58.7 44.1 19.5 11.028                   14           2.9   63      clathrate19 of 1a reported previously.6 Molecular compasses
 1b (B)     27.0 50.2 50.4 11.032                    1.0         0.4   57.8    reported in this study have shapes analogous to those of well-
 1cc        42.8 36.9 58.0 10.998                    3.2         3.3   60.5
           -53.7 -56.4 -28.4                       -13.4         7.9   59.7    known “wheel-and-axle” and “dumbbell” structures such as 2,4-
 1d (C6H6)2 30.5 52.6 49.9 11.050                    4.4        -3.2   62.4    hexadiyne-1,6-diol 520 and R,ω-diadamantylpolyynes 621 (Scheme
 1e         57.8 42.4 21.5 10.996                   13.7         3.4   63.2    4). These compounds are unable to form three-dimensional
    a Dihedral angles given by the vector C5-C6 and the plane of each of       structures that satisfy the maximum-filling principle9,10,19-21 and
 the three phenyl groups. b Reference 6. c Compound 1c has no average          crystals are formed with cavities and/or channels occupied by
 internal symmetry.                                                            smaller molecules. As in the previously reported benzene
                                                                               clathrate of 1a,3,6 four molecules of 1b and 1d make up a
 Compound 1c crystallized in the monoclinic space group P21/c
                                                                               supramolecular cage that entraps a parallel-displaced benzene
 with four molecules per unit cell. Crystals of compounds 1b,
                                                                               dimer (Figure 5, left). From a complementary point of view,
 1d, and 1e showed positional disorder as the fluoro, nitro, and
                                                                               one may describe the packing structure as having each molecular
 amino substituents have 50% occupancies in sites related by
                                                                               compass surrounded by six benzene dimers which form a belt
 an average center of inversion in their crystal lattices. The
                                                                               around the central 1,4-diethynylphenylene (Figure 5, right).
 average molecular structures resemble those of the para-
                                                                               Supramolecular interactions in the structure comprise aromatic
 disubstituted analogues with coincident crystallographic and
                                                                               face-to-face and face-to-edge interactions22 involving solvent
 molecular inversion centers (Figure 3). The crystal structure of
                                                                               molecules and phenyl groups in the two trityl units. The main
 1c is asymmetric and gives no indication of positional disorder.
                                                                               difference between the benzene-containing structures of 1b and
    While the X-ray-quality crystals of compounds 1a-1d were
                                                                               1d and that of 1a comes from the positional disorder of the
 obtained in three different packing structures, they share similar
                                                                               fluoro and nitro groups in the former two. Additionally, the
 molecular conformations and structural distortions (Scheme 3).
                                                                               benzene-containing structure of the nitro compound 1d displays
 The two trityl groups in each molecule adopt chiral propeller
                                                                               crystallographic disorder in the solvent molecules: while the
 conformations with opposite absolute configurations. Unlike gas-
                                                                               coordinates of a single benzene molecule are sufficient to
 phase structures optimized by molecular mechanics (MM) and
                                                                               describe the crystal structures of 1a, and the form B of 1b, the
 semiempirical (AM1) methods, which are predicted to have C3-
                                                                               refined structure of 1d requires two sets of overlapping benzene
 symmetric trityl groups (not shown), the trityl groups in 1b-
                                                                               coordinates. The centers of mass of the two crystallographically
 1d crystallize with their phenyl groups adopting different torsion
                                                                               different benzene molecules are displaced by 0.178 Å and differ
 angles which give rise to asymmetric (C1) structures. The
                                                                               by a 30° rotation with respect to the 6-fold axis and by a 2.7°
 dihedral angles formed by the σ bond between alkyne and
                                                                               angle between their mean molecular planes (not shown)
 quaternary carbons, and the plane of each of the three rings
 (dihedrals C5-C6-Cipso-Cortho, labeled Ph1-Ph3 in Table 4)                       Also as expected, the packing structures of the solvent-free
 vary from ∼20° to ∼60°. The structures of compounds 1b-1d                     crystals of the fluoro and amino compounds 1b (form A) and
 are also characterized by having the phenyl groups projecting                 1e are isomorphous with each other and with the solvent-free
 from the two trityl carbons in anti conformations (i.e., C7-                  structures of 1a reported previously. The packing structure of
 C6-C6′-C7′ ≈ 180°), and by having the plane of the central                    1e is not shown in Figure 4 but it has been included in the
 arylene nearly eclipsed with one of the trityl C-Ph bonds (i.e.,              Supporting Information section. Analysis of the form A of 1b
 dihedral C7-C6-C2-C3 ≈ 0°). The structures of compounds
                                                                               (19) Clathrates are stoichiometric two-component crystal structures consisting
 1b-1d present deviations from the ideally linear geometry of                       of a “host” that forms a rigid lattice and a “guest” that fills interstitial
 a substituted triple bond. Although the center of the phenylene                    positions in the same lattice. Parsonage, N. G.; Staveley, L. A. K. Disorder
                                                                                    in Crystals; Oxford University Press: Oxford, 1978; Chapter 11, pp 717-
 group (labeled “i” in Scheme 3) and the two trityl carbons (C6                     798.
 and C6′) fall within a straight line, the four alkyne carbons                 (20) (a) Toda, F. In ComprehensiVe Supramolecular Chemistry; McNicol, D.
                                                                                    D., Toda, F., Bishop, R., Eds.; Pergamon: Oxford, 1996; Vol. 6.; (b) Toda,
 deviate from that line. A measure of this deviation is given by                    F. Top. Curr. Chem. 1988, 149, 211-238. (c) Caira, M. R.; Nassimbeni,
 the angle C6′-C6-C4 formed by the vector given by the two                          L. R.; Toda, F.; Vujovic, D., J. Am. Chem. Soc. 2000, 122, 9367-9372.
                                                                                    (d) Caira, M. R.; Nassimbeni, L. R.; Toda, F.; Vujovic, D. J. Chem. Soc.,
 trityl carbons in the structure and the vector formed by the trityl                Perkin Trans. 2 2000, 2119-2124.
 carbon and the alkyne carbon C4. While an angle of 0° would                   (21) (a) Muller, T.; Hulliger, J.; Sechter, W.; Weber, E.; Weber, T.; Wubbenhorst,
                                                                                    M. Chm. Eur. J. 2000, 6, 54-61. (b) Weber, E.; Nitsche, S.; Wierig, A.;
 be expected if the alkynes were linear, a deviation as large as                    Csöregh, I. Eur. J. Org. Chem. 2002, 856-872.
 7.9° was noticed in 1c. This distortion is accompanied by an                  (22) (a) Hobza, P., Slezle, H. L.; Schag, E. W. J. Am. Chem. Soc. 1994, 116,
                                                                                    3500-3506. (b) Hunter, C. A.; Sanders, J. K. M., J. Am. Chem. Soc. 1990,
 in-plane rotation of the central phenylene so that the angle C6-                   112, 5525-5534.

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 Figure 4. Top: Packing diagrams of the fluoro-substituted molecular compass 1b its benzene clathrate, form B (right), and its solvent-free crystal, form A
 (left). Bottom: Packing diagram of the benzene clathrate triclinic (P1h) structure of the nitro-substituted molecular compass 1d (left) and packing diagram
 of the solvent-free monoclinic crystal form (P21/c) of the cyano compound 1c. Parallel-displaced benzene dimers in the structures of 1b (B) and 1d were
 removed for clarity (see Figure 5).

 Scheme 4




                                                                                  Figure 5. Space-filling models of the benzene clathrate of 1b showing
 illustrates a close-packed interdigitation of the dumbell-shaped                 trityl groups in dark blue, the 1,4-diethynyl-2-fluorophenylene group in red,
                                                                                  the positionally disordered fluorine in green, and benzene molecules in light
 molecules. Phenyl rings from trityl groups in six neighboring
                                                                                  blue. Left: four molecular compasses make up a supramolecular cage with
 molecules fill-in the space around each phenylene. In analogy                    a benzene dimer trapped at the center. Right: Each molecular compass is
 with the solvent-containing form B, molecules have their long                    surrounded by four benzene dimers around the central portion of the
 axis aligned along the unit cell b-c diagonal. As it was noticed                 molecule.
 for compound 1a, a remarkable homology between the packing                       of 1b help explain the first-order phase transition from one form
 structures of the benzene clathrate and the solvent-free crystals                to the other. A different packing structure was obtained in the

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 Figure 6. 13C CPMAS NMR spectra measured at 300 K of crystals of 1b-1d grown from benzene (left) and from CH2Cl2 (right). Benzene signals identified
 by dipolar dephasing experiments are marked with an asterisk (*). As indicated by the arrows, the spectra from benzene-containing crystals of 1b-1d were
 transformed into the spectra obtained with crystals from CH2Cl2 when the samples were heated in the probe at 110 °C for 15 min. Solid samples of 1e from
 benzene were solvent-free, but different from those obtained in CH2Cl2.

 case of the cyano-substituted compound 1c (Figure 4). Although                 C-H dipolar interaction, such as all the static protonated
 the structure of 1c contains no solvent of crystallization, it differs         carbons. Although most aromatic signals corresponding to the
 from the solvent-free crystals of 1a, 1b, and 1e. Since crystals               central phenylene rotors overlap considerably with signals
 are not disordered and there is no average inversion center, one               corresponding to the trityl groups, some were sufficiently
 full molecule is needed to describe the asymmetric unit and                    resolved to suggest an assignment by analogy with the solution
 four to describe the unit cell (Z ) 4, Table 3). Although the                  spectra. Four well-resolved alkyne signals between 80 and 100
 molecular symmetry is lower (C1) than that observed in the                     ppm, observed in all spectra, reflect the substantial electronic
 crystal structures of the other compounds (Ci), the symmetry                   differences between the two molecular halves that are caused
 of the crystal is higher, with the monoclinic space group P21/c                by the polar substituents. However, the solid-state spectra of
 (Figure 4).                                                                    1b-1e gave no indication of distinguishable disorder sites or
    2.4. Solid-State 13C CPMAS NMR: Characterization of                         local domains, which appear to manifest in the form of a rather
 Benzene Clathrate and Solvent-Free Structures. A relatively                    severe line broadening. As expected from the severe overlap
 good correlation was observed between isotropic chemical shifts                between trityl and phenylene carbons, spectra measured with
 measured in solution and chemical shifts determined in the solid               compound 1b as a function of temperature between 213 and
 state by the 13C CPMAS experiment. As illustrated in Figure                    373 K showed no significant spectral changes.
 6, spectra were obtained with samples obtained from benzene                       The 13C CPMAS spectra of crystalline samples of 1b-1d
 and from CH2Cl2. Not shown in Figure 6, spectra measured                       grown from benzene (Figure 6, left side) displayed a sharp peak
 with samples of 1c from ethyl acetate were different from those                at 128 ppm, which overlaps with signals corresponding to the
 obtained in benzene and in CH2Cl2. Signals corresponding to                    ortho and meta signals of the trityl groups. It was shown that
 nonprotonated carbons, and to the highly mobile benzene                        benzene-grown crystals of the cyano-substituted compound 1c
 molecules, could be assigned by interrupted decoupling or                      do occur as a solvent clathrate. Although we have been unable
 quaternary selection experiments.23 In these measurements,                     to obtain diffraction-quality single crystals to solve its X-ray
 spectra are acquired with a 50 µs interruption of the proton                   structure, its thermal properties are analogous to those of the
 decoupler immediately after cross polarization and before the                  benzene clathrates from compounds 1a, 1b, and 1d. As
 acquisition of the FID. Spectra measured in this manner result                 previously reported for 1a,6 the 13C CPMAS NMR spectra of
 in the disappearance of carbon signals that experience a strong                crystals of 1b-1d obtained from CH2Cl2 were identical to those
 (23) Alemany, L. B.; Grant, D. M.; Alger, T. D.; Pugmire, R. J. J. Am. Chem.
                                                                                obtained with benzene-grown crystals heated in situ within the
      Soc. 1983, 105, 6697-6704.                                                NMR probe (Figure 6, right side). The monoamino derivative
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 Scheme 5




 Table 5. Thermal Analysis of Molecular Compasses 1a-1g.                     unit cell and loss of solvent occurs by a first-order phase
           compd                      mp (°C)              decomp. (°C)      transition between 60 and 130 °C (Scheme 5). The solvent-
     1a (-H)                     316 (110-130)a               370            free structures obtained in this manner are spectroscopically and
     1b (-F)                     270 (60-100)a                350            thermally identical to those obtained by crystallization from
     1c (-CN)                    218 (85-130)a                350            mixtures of CH2Cl2 and hexanes. Not surprisingly, volume-
     1d (-NO2)                   229 (110-140)a               370
     1e (-NH2)                   284b                         360
                                                                             filling, close-packing interactions determine the formation of
     1f (2,3-NH2)                283                          290            isomorphous crystal structures with little or no influence by the
     1g (2-NH2-5-NO2)            dec                          360            polar groups.24 In fact, a statistical analysis of crystallographic
    a The temperature ranges in parentheses indicate the desolvation range
                                                                             data by Whitesell et al.25 and a study that considers packing
 for the benzene clathrates determined by DSC and TGA at heating rates of    indices and packing potential energies of crystalline carbonyls
 10 °C/ min. b No clathrate was observed.                                    and nitriles by Gavezzotti26 suggest that dipole-dipole interac-
 1e was the only exception among the monosubstituted molecular               tions have little or no influence on space group symmetry and
 compasses, as the samples obtained from benzene solution have               molecular orientations. However, Whitesell et al. pointed out
 an amorphous appearance and contain no solvent in their crystal             that “this is not to say that local electrostatic interactions are
 structure (Figure 6, top left spectrum).                                    not important” while Gavezzotti noted that “(dipoles) never point
    2.5. Thermal Analysis. As summarized in Table 5, dif-                    directly at each other, and this must be a purely electrostatic
 ferential scanning calorimetry (DSC) and thermogravimetric                  effect, since steric hindrance of the molecules would not prevent
 analyses (TGA) carried out with freshly recrystallized samples              such an arrangement.” Assuming that similar arguments are
 were consistent with the 13C CPMAS results analyzed above.                  valid for polar groups such as those involved in this study, the
 Endothermic peaks corresponding to crystal melting were                     formation of local domains with adjacent dipoles adopting
 observed between 218 and 284 °C for six of the compounds.                   favorable orientations should be considered (Scheme 6). While
 Only the nitroaniline derivative 1g decomposed before melting.              the average X-ray structures are reminiscent of the 2,6-
 Additionally, the DSC thermograms from samples of 1b-1d                     disubstituted-1,4-diethynylphenylenes with their polar group
 grown from benzene showed a broad endothermic peak between                  having 50% occupancy at the two symmetry-related sites
 60 and 140 °C. That such a transition corresponds to the loss               (Scheme 6a), the formation of domains (Schemes 6b and 6c)
 of benzene from the clathrate structure was confirmed by                    with dipoles in adjacent molecules avoiding head-to-head
 thermogravimetric analyses (TGA), which revealed a loss of                  interactions cannot be discounted. While information on dipolar
 mass corresponding to two benzene molecules per unit cell                   correlation between neighboring molecules is not available from
 within the same temperature range. Melting transitions for                  the data reported in this paper, it is expected that crystallographic
 crystals obtained from CH2Cl2, crystals from benzene desolvated             disorder, whether static or dynamic, will have a strong influence
                                                                             on the dielectric and electrooptic properties of molecular
 in situ, and crystals grown from supercooled melts were very
                                                                             compasses and gyroscopes.
 similar. Decomposition temperatures varied from as low as 290
                                                                                As it pertains to the dynamics of 1a-1e, we previosuly
 °C for 1f to as high as 370 °C for 1d. All the monosubstituted
                                                                             showed that benzene-grown crystals of 1a undergo a 2-fold
 molecular compasses 1b-1e have melting points that are lower
                                                                             phenylene flipping motion with a rate constant of 0.13 × 103
 than that of the parent compound 1a, perhaps reflecting a
 disruption to the packing structure caused by the polar sub-                s-1 at 255 K and an estimated activation energy of 12.8 kcal/
 stituent. Compounds 1b and 1e with the smallest substituents                mol determined by variable temperature CPMAS 13C NMR.3,6
 (F and NH2) have the highest melting points and compounds                   Solvent-free crystals of the same compound were shown to have
 1c and 1d with the larger -CN and -NO2 groups, respectively,                a rate constant for rotation of 2.2 × 106 s-1 at 329 K and an
 have melting temperatures that are significantly lower (90-                 activation barrier of 14.6 kcal/mol which were determined by
 100 °C) than that of 1a.                                                    variable temperature quadrupolar echo line-shape 2H NMR
    2.6. Crystallographic Disorder and Rotational Dynamics                   analysis. With that in mind, it is of interest to ask how the
 of Polar Phenylene Rotors. X-ray diffraction data, thermal                  various polar groups in 1b-1e may affect the rotational
 analysis, and 13C CPMAS NMR measurements as a function                      dynamics of their corresponding phenylenes. Although variable
 of temperature show that crystals of the monosubstituted fluoro             temperature CPMAS 13C NMR measurements in search of
 (1b), cyano (1c), nitro (1d), and amino (1e) compounds                      changes that could be assigned to dynamically exchanging
 crystallize in isomorphous packing structures. Crystals grown               (24) Claborn, K.; Kahr, B.; Kaminsky, W. CrystEngComm 2002, 4, 252-256.
 from benzene give rise to clathrate structures in the space group           (25) Whitesell, J. K.; Davies, R. E.; Saunders: L. L.; Wilson, J. R.; Feagins, J.
                                                                                  P. J. Am. Chem. Soc. 1991, 113, 3267-3270.
 P1h with one molecular compass and two solvent molecules per                (26) Gavezzotti, A. J. Phys. Chem. 1990, 94, 4319-4325.

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 Scheme 6




 Scheme 7                                                                         (1c), nitro (1d), amino (1e), diamino (1f), and nitroamino (1g)
                                                                                  susbtituents. While X-ray quality crystals of molecular com-
                                                                                  passes with two polar substituents (1f and 1g) have not been
                                                                                  obtained, samples of the monosubstituted compounds (1b-1d)
                                                                                  crystallized from benzene gave rise to triclinic clathrate
                                                                                  structures in the space group P1h with two solvent molecules
                                                                                  per unit cell, which can be desolvated by a first-order phase
                                                                                  transition between 60 and 130 °C. The solvent-free structures
                                                                                  obtained in this manner were shown to be spectroscopically and
                                                                                  thermally identical to those obtained by crystallization from
                                                                                  mixtures of CH2Cl2 and hexanes. Crystals of 1e were only
                                                                                  formed in the solvent-free P1h modification and crystals of 1c
                                                                                  formed a third polymorph in the monoclinic space group P21/
                                                                                  c. A detailed assignment of 13C NMR signals in solution was
                                                                                  used to assign the signals of the phenylene rotor in the solid
                                                                                  state in an effort to determine whether variable temperature
 nuclei27 gave insufficient resolution to use the method, some                    coalescence analysis may be used to determine the rates of
 qualitative insight on the possible dynamics of the polar                        gyroscopic motion in the solid state. Unfortunately, a strong
 phenylenes may be deduced from the crystallographic data.                        spectral overlap between phenylene and trityl signals makes it
 Noting that the disordered sites are related by a center of                      impossible to apply this method. Nonetheless, 13C CPMAS
 inversion, one may conclude that sites occupied by the polar                     NMR spectra could be used to document the phase transitions
 groups (Y ) F, CN, NO2, NH2) cannot be related by a dynamic                      between the various crystal forms which were also observed
 process. A dynamic interconversion would require molecular                       by DCS and TGA measurements. A qualitative analysis of the
 rotation along the alkyne axis and inversion of the two axially                  crystallographic data helped us formulate interesting questions
 chiral trityl groups in the solid state. A static disorder implies               regarding the formation of domains with locally aligned dipoles
 that, on average, a given molecule can have the polar group in                   and the possible rotational dynamics of the central phenylene
 either one of the two centrosymmetric sites (i.e., S1 in Scheme                  in terms of full rotations or sequential 2-fold flips along an
 7), but not on both. Under these constraints, rotation must be                   asymmetric potential. Studies in progress to address these
 limited to (a) full 360° rotations (S1 f S1) or (b) to two                       questions include the use of dielectric measurements as a
 sequential 180° phenylene flips with the polar group having a                    function of frequency and temperature to determine the rates
 very short residence time at the second site (S2) of a highly                    of dipolar motion in the solid state, molecular modeling, and
 asymmetric rotational potential (i.e., S1 f S2 f S1). Dielectric                 the use of 2H NMR line-shape analyses.
 spectroscopy and molecular modeling now in progress with the
 fluoro-derivative 1b (Y ) F) support the second mechanism                        Experimental Section
 and suggest the potential of variable temperature quadrupolar                       General. IR spectra were obtained on a Perkin-Elmer Paragon 100
 echo 2H NMR as an additional experimental technique to                           FT-IR instrument. The 1H and 13C NMR spectra were acquired on a
 confirm this dynamic process.                                                    Bruker NMR spectrometer at 500 and 125 MHz, respectively. The
    3. Conclusions. Molecular compasses with trityl frameworks                    solvent used in all the cases was CD2Cl2, with TMS as an internal
 and polar phenylene rotors can be obtained in reasonable yields                  standard. The DSC and TGA analyses were recorded on a Perkin-Elmer
 by Pd(0)-coupling reactions of 1,4-dibromophenylenes and                         Pyris Diamond DSC and TG/DTA.
 tritylacetylene. Samples were prepared with fluoro (1b), cyano                      Materials. All the reagents and solvents were purchased from
                                                                                  Aldrich, except 2,5-diiodofluorobenzene, the triethylamine and the
 (27) (a) Lyerla, J. R.; Yannoni, C. S.; Fyfe, C. A. Acc. Chem. Res. 1982, 15,    copper (I) iodide, which were obtained from Matrix Scientific, Fisher,
      208-216. (b) Horii, F.; Kaji, H.; Ishida, H.; Kuwabara, K.; Masuda, K.;     and Acros Organics, respectively. The chemicals were used without
      Tai, T. J. Mol. Struct. 1998, 441, 303-311. (c) Frydman, L.; Olivieri, A.
      C.; Diaz, L. E.; Frydman, B.; Kustanovich, I.; Vega, S. J. Am. Chem. Soc.   further purification, and triethylamine was deoxygenated by sparging
      1989, 111, 7001-7005.                                                       with Ar for at least 2 h before to use.
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     2,5-Bis(3,3,3-triphenylpropynyl)fluorobenzene (1b). Bis(triphen-      MHz, CD2Cl2, TMS): δ 56.5, 56.9, 82.4, 85.8, 96.6, 102.7, 108.4,
 ylphosphine)palladium dichloride (0.024 g, 0.13 mmol), copper iodide      117.1, 121.2, 124.5, 127.2, 127.3, 128.4, 128.5, 129.4, 129.5, 132.3,
 (0.025 g, 0.13 mmol), triphenylphosphine (0.105 g, 0.4 mmol), and         145.5, 145.6, 148.6. IR (KBr): 3491, 3390, 3059, 3031, 2359, 2326,
 2,5-diiodofluorobenzene (0.462 g, 1.3 mmol) were charged in a three-      2221, 1608, 1539, 1484, 1443, 1318, 1286, 1267, 1254, 1175, 1079,
 neck flask provided with a condenser and a magnetic stirrer. The flask    1028, 816, 756, 697, 632 cm-1. MS (70 eV): m/z (%) 625.3 (100,
 was sparged with argon for 15 min after 30 mL of degassed                 M+), 548.2 (30), 358.2 (26), 280.1 (15), 267.1 (14), 185.1 (23), 165.1
 triethylamine was added. The reaction mixture was heated in an oil        (20). HRMS (EI): calcd for C48H35N 625.2769; found 625.2755.
 bath to 85 °C and 3,3,3-triphenylpropyne (0.89 g, 3.32 mmol) previously      3,6-Bis(3,3,3-triphenylpropynyl)-1,2-phenylenediamine (1f). Mo-
 dissolved in 20 mL of degassed triethylamine was added during a period    lecular compass 1f was obtained following the same procedure
 of 1 h. The reaction mixture was heated an additional 18 h under argon.   described above for compound 1b in 22% isolated yield. Analysis: mp
 After cooling to room temperature, the reaction mixture was filtered      ) 283 °C. 1H NMR (500 MHz, CD2Cl2, TMS): δ 3.86 (s, 4 H, NH2),
 and the triethylamine was evaporated. The product was purified by         6.86 (s, 2H, spacer-phenyl), 7.30 (m, 30 H). 13C NMR (125 MHz, CD2-
 column crhomatography (CH2Cl2:benzene:hexanes 1:1:8 by volume)            Cl2, TMS): δ 56.88, 82.82, 102.2, 109.6, 122.1, 127.3, 128.5, 129.4,
 to afford 0.19 g of (23%) 1b as a white solid with moderate solubility.   136.9, 145.6. IR (KBr): 3418, 3340, 3062, 3027, 2353, 2327, 2219,
 Analysis: mp ) 270 °C. 1H NMR (500 MHz, CD2Cl2, TMS): δ 7.28              1616, 1598, 1445, 1207, 1180, 1072, 1031, 888, 803, 767, 752, 723,
 (m, 32 H, trityl unit and protons ortho and para to the F group), 7.46    697, 667, 637 cm-1. MS (70 eV): m/z (%) 640.3 (100, M+), 563.3
 (t, J ) 7.6 Hz, 1H, meta to F). 13C NMR (125 MHz, CD2Cl2, TMS):           (22), 454.1 (67), 373.2 (50), 295.1 (47), 243.1 (30),185.1 (32), 182.0
 δ 56.5, 56.8, 79.0, 84.3 (d, J ) 3.0 Hz), 98.5, 102.6 (d, J ) 3.5),       (47), 165.1 (55). HRMS (EI): calcd for C48H36N2 640.2878; found
 112.3 (d, J ) 16.0 Hz), 118.7 (d, J ) 22.9 Hz), 125.3 (d, J ) 9.5 Hz),    640.2875.
 127.3, 127.4, 127.7 (d, J ) 3.5 Hz), 128.4, 128.5, 129.4, 129.5, 133.5       2,5-Bis(3,3,3-triphenylpropynyl)-4-nitroaniline (1g). Molecular
 (d, J ) 2.0 Hz), 145.2, 145.3, 162.9 (d, J ) 250.8 Hz). IR (KBr):         compass 1g was obtained in two steps. In the first of them was followed
 3084, 3059, 3019, 2367, 2330, 2229, 1595, 1544, 1491, 1442, 1445,         the same procedure described above for compound 1b; however a
 1182, 1117, 1080, 1032, 1002, 874, 832, 754, 720, 698, 639 cm-1.          mixture of molecular compass 1g and 5-(3,3,3-triphenylpropynyl)-2-
 MS (70 eV): m/z (%) 628.2 (40, M+), 551.2 (13), 267.1 (100), 265.1        bromo-4-nitroaniline 2 (the product of a mono-coupling reaction) was
 (55), 252.1 (30), 189.1 (19), 165.1 (72). HRMS (EI): calcd for C48H33F    obtained in a 1:3.5 proportion, then we added 1.5 equiv of 3,3,3-
 628.2566; found 628.2562.                                                 triphenyl-1-propyne to the mixture after a fast filtration by chromato-
     2,5-Bis(3,3,3-triphenylpropynyl)benzonitrile (1c). Molecular com-     graphic column using as eluent the same mixture of solvent used before.
 pass 1c was obtained following the same procedure described above         The heating was continued until reaction completion (10 h); the total
 for compound 1b in 10% isolated yield. Analysis: mp ) 218 °C. 1H          yield after purification in this case was 12.3%. 1H NMR (500 MHz,
 NMR (500 MHz, CD2Cl2, TMS): δ 7.31 (m, 30 H, trityl unit), 7.58           CD2Cl2, TMS): δ 4.77 (s, 2H, NH2), 6.88 (1, 1H, ortho to NH2), 7.30
 (d, J ) 8.2 Hz, 1H, meta to CN), 7.67 (dd, J ) 8.2, 1.5 Hz, 1H, para      (m, 30 H, trityl unit), 8.25 (s, 1H, ortho to NO2). 13C NMR (125 MHz,
 to CN), 7.80 (d, J ) 1.5 Hz, 1H, ortho to CN). 13C NMR (125 MHz,          CD2Cl2, TMS): δ 56.9, 57.0, 80.1, 82.2, 103.6, 104.3, 107.6, 118.7,
 CD2Cl2, TMS): δ 56.6, 56.9, 82.0, 83.4, 99.9, 103.9, 115.8, 117.5 (CN),   121.1, 127.4, 127.5, 128.5, 128.6, 129.3, 129.5, 130.3, 139.3, 145.0,
 124.3, 126.7, 127.4, 127.5, 128.5, 129.4, 129.5, 132.9, 135.5, 135.9,     145.1, 152.3. IR (KBr): 3486, 3384, 3058, 3027, 2221, 1614, 1538,
 144.8, 145.0. IR (KBr): 3060, 3030, 2229, 1732, 1594, 1488, 1445,         1514, 1506, 1488, 1445, 1312, 1256, 1183, 1100, 1032, 854, 757, 726,
 1185, 1079, 1031, 1002, 908, 891, 842, 777, 758, 733, 662, 639 cm-1.      697, 628 cm-1. MS (70 eV): m/z (%) 670.3 (47, M+), 625.3 (20), 565.2
 MS (70 eV): m/z (%) 635 (100, M+), 558 (18), 544 (10), 456 (6), 368       (20), 488.2 (16), 357.1 (18), 243.1 (19), 165.1 (37), 124.0 (100); 117.0
 (8), 317 (10), 293 (27), 243 (24), 165 (165), 131 (70). HRMS (EI):        (79) HRMS (MALDI): calcd for C48H34N2O2 670.2620; found 670.2623.
 calcd for C49H33N 635.2613; found 635.2596.                                  5-(3,3,3-triphenylpropynyl)-2-bromo-4-nitroaniline 2. 1H NMR
     2,5-Bis(3,3,3-triphenylpropynyl)nitrobenzene (1d). Molecular com-     (500 MHz, CDCl3, TMS): δ 4.57 (s, 2H, NH2), 6.77 (1, 1H, ortho to
 pass 1d was obtained following the same procedure described above         NH2), 7.26 (m, 18 H, trityl unit), 8.25 (s, 1H, ortho to NO2). 13C NMR
 for compound 1b in 40.2% isolated yield. Analysis: mp ) 229 °C. 1H        (125 MHz, CDCl3, TMS): δ 56.6, 80.8, 103.4, 106.6, 118.9, 120.4,
 NMR (500 MHz, CD2Cl2, TMS): δ 7.31 (m, 30 H, trityl unit), 7.65           127.0, 128.1, 129.2, 130.3, 139.3, 144.6, 148.4. IR (KBr): 3478, 3390,
 (d, J ) 8.2 Hz, 1H, meta to NO2), 7.69 (dd, J ) 8.2, 1.5 Hz, 1H, para     3059, 3023, 2219, 1608, 1554, 1504, 1488, 1446, 1311, 1247, 1184,
 to NO2), 8.18 (d, J ) 1.5 Hz, 1H, ortho to NO2). 13C NMR (125 MHz,        1116, 1032, 891, 850, 755, 638 cm-1.
 CD2Cl2, TMS): δ 56.6, 57.0, 80.9, 83.3, 100.1, 105.3, 118.5, 124.6,
 127.4, 127.5, 127.8, 128.5, 128.6, 129.4, 129.5, 135.3, 135.8, 144.9,       Acknowledgment. This work was supported by NSF grants
 145.0, 149.7. IR (KBr): 3054, 3030, 2322, 2231, 1599, 1540, 1519,         DMR9988439, CHE9871332 (X-ray), DMR9975975 (Solid
 1504, 1487, 1445, 1360, 1261, 1180, 1079, 1031, 1002, 894, 838, 807,      State NMR), CHE9974928 (Avance 500 solution NMR) and
 780, 759, 733, 702, 659, 639 cm-1. MS (70 eV): m/z (%) 655.2 (7,          DGE0114443 (IGERT). ZJD thanks CONACYT Mexico and
 M+), 639.2 (17), 611.3 (53), 505.2 (34), 467.0 (17), 379.0 (63), 262.1    the UC-Mexus program for a Postdoctoral Fellowship.
 (45), 243.1 (36), 185.1 (79), 165.1 (100), 149.0 (26). HRMS (EI): calcd
 for C48H33NO2 655.2511; found 655.2498.                                     Supporting Information Available: Spectroscopic data 1H
     2,5-Bis(3,3,3-triphenylpropynyl)aniline (1e). Molecular compass       and 13C NMR data of all compounds including HMBC spectra.
 1e was obtained following the same procedure described above for          X-ray diffraction data for 1b-1e (CIF files) and packing
 compound 1b in 26% isolated yield. Analysis: mp ) 284 °C. 1H NMR          diagram of 1e. This material is available free of charge via the
 (500 MHz, CD2Cl2, TMS): δ 4.17 (s, 2H, NH2), 6.84 (dd, J ) 7.6, 1.5
                                                                           Internet at http://pubs.acs.org.
 Hz, 1H, para to NH2), 6.86 (d, J ) 0.9 Hz, 1H, ortho to NH2), 7.30
 (m, 31H, trityl unit and the hydrogen meta to NH2). 13C NMR (125          JA035274B




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